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                                            CASE No. 25-2028



                      In THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


                                  ASHLEY M. GJQVIK, an z'ndz'vz'duaZ,
                                              P!az'nt   AppeZZant

                                                        v.
                                        APPLE INC ., 0 corporation,
                                             Defendant-Appellee.


                               On Appeal from the United States District Court
                                     for the Northern District of California
                                              No. 3:23-CV-04597
                                    The Honorable ]udge Edward M. Chen



                             APPELLANT'S EXCERPTS oF RECQRD
                               VQLUME I (BAsis oF APPEAL)



                                                                    Ashley M. Gjuvik, _ID
                                                                    In Propria Personal
                                                                    2108 N. St. Ste. 4553
                                                                    Sacramento, CA, 95816
                                                                    (408) 883-4428
                                                                    legal@ashleygjovik.com


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                4                                   UNITED STATES DISTRICT COURT

               5                                   NORTHERN DISTRICT OF CALIFORNIA

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               7      ASHLEY M GJOV1K,                                     Case NO. 23-cv-04597-EMC
                8                     Plaintiff,
                                                                           ORDER DENYING PLAINTIFF'S
               9               v.                                          MOTION FOR PARTIAL FINAL
                                                                           JUDGMENT
               10     APPLE INC,
               11                     Defendant.                           Docket NO. 189
               12

               13
       8       14           Pending before the Court is Ms. Gjovik's motion for partial final judgment pursuant to
               15   Federal Rule of Civil Procedure 54(b). Having considered the papers submitted, the Court finds
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        Q      16   the matter suitable for resolution without oral argument. The hearing on the motion is therefore
               17   VACATED. Ms. Gjovik's motion for relief is DENIED .
        Z'     18           Rule 54(b) provides as follows:
               19                   When an action presents more than one claim for relief ... or when
                                    multiple parties are involved, the court may direct entry of a final
               20                   judgment as to one or more, but fewer than all, claims or parties
                                    only if the court expressly determines that there is no just reason for
               21                   delay. Otherwise, any order or other decision, however designated,
                                    that adjudicates fewer than all the claims or the rights and liabilities
               22                   of fewer than all the parties does not end the action as to any of the
                                    claims or parties and may be revised at any time before the entry of
               23                   a judgment adjudicating all the claims and all the parties' rights and
                                    liabilities.
               24

               25   Fed. R. Civ. P. 54(b).
               26           The Supreme Court has instructed that,
               27                   in deciding whether there are no just reasons to delay ... , a district
                                    court must take into account judicial administrative interests as well
               28                   as the equities involved. Consideration of the former is necessary to

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                                   ensure that application of the Rule effectively "preserves the history
              1                    federal policy against piecemeal appeals."
               2   Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 (1980) (emphasis added). Thus, "if the

              3    unadjudicated claims are closely related to those [already] decided, the district court should

               4   generally refuse to enter a judgment under Rule 54(b)" but, if "the claims are sufficiently distinct

              5    so that duplicative appellate review will be avoided, the court of appeals will generally find that

               6   entry of a Rule 54(b) judgment was not an abuse of discretion." Moore's Fed. Prac. Civ. §

              7    54.23[l][b], see also Curtiss-Wright, 466 U.S. at 10 (indicating that a court should consider the

               8   "interrelationship of the claims so as to prevent piecemeal appeals in cases which should be

              9    reviewed only as single units") .

              10            In the instant case, Ms. Gjovik asks that the Court enter a partial final judgment on all

              11   claims that the Court has dismissed with prejudice and/or all claims for which the Court has

              12   denied her leave to amend. See Docket Nos. 112, 179 (orders filed on 10/1/2024 and 2/27/2025).

              13   Included among these claims are claims related to alleged environmentally unsafe conditions ,
        cu
        u     14   either at an Apple office or at Ms. Gjovik's former residence (close to an Apple factory).1 Ms.
              15   Gjovik's main contentions in her motion are as follows:
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              16               (1) allowing an early appeal on these already-decided claims does not raise the

              17                   prospect of duplicative appellate review because the claims are factually and
        Z'    18                   legally distinct from her retaliation claims that survived Apple's l2(b)(6)
              19                   challenges, see Mot. at 7 (contending that Apple has also characterized the claims

              20                   as distinct from the retaliation claims),

              21               (2) the claims should be adjudicated by the Ninth Circuit now since they affect the

              22                   public interest (e.g., because they concern environmental safety), see Met. at 17,

              23                   and

              24               (3) Ms. Gjovik has a strong interest in having the claims adjudicated by the Ninth

              25                   Circuit new because, otherwise, she would not be able to tell the full narrative of

              26                   what transpired between her and Apple at trial. See Mot. at 10 (arguing that "[a]n

              27

              28   1 Other claims include: violation of RICO, violation of SOX, violation of the Dodd-Frank Act,
                   violation of the Bane Civil Rights Act, and violation of the Ralph Civil Rights Act.
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              1                   appellate ruling restoring these claims would allow the jury to consider, in one

               2                  proceeding, whether Apple engaged in dangerous and unlawful conduct, concealed

              3                   its wrongdoing, and then retaliated against an employee who came close to

               4                  uncovering it"), Mot. at 16 (arguing that "[t]he surviving retaliation claims cannot

              5                   fill the evidentiary or narrative gap left by the dismissed tort and statutory claims"

               6                  as "[t]he jury will not hear the details of Plaintiff" s toxic exposures, emotional

              7                   trauma, or Apple's concealment unless those claims are reinstated [by the Ninth

               8                  Circuit]").

              9            The Court has considered Ms. Gjovik's main contentions as well as the other contentions
              10   in her papers. It concludes that entry of a partial final judgment under Rule 54(b) is not

              11   appropriate for a number of reasons, including the following.
              12           First, as Apple correctly points out, several of the already-decided claims do involve

              13   allegations of retaliation, and thus they are not distinct from the retaliation claims that the Court is

              14   allowing to proceed. See, e.g., Opp'n at 10-12.
              15          Second, entry of a partial final judgment does not require that factual and legal issues
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       Q      16   between adjudicated and unadjudicated claims be identical, similarity is sufficient. See Morrison-
              17   Knudsen Co. v. Archer, 655 F.2d 962, 965 (9th Cir. 1981) (asking whether "the appellate court

              18   will be required to address legal or factual issues that are similar to those contained in the claims

              19   still pending before the trial court[,] [a] similarity of legal or factual issues will weigh heavily
              20   against entry of judgment under [Rule 54(b)]") (emphasis added). Here, there are at the very least

              21   similar factual issues. For example, for the retaliation claim brought under California Labor Code

              22   § ll02.5(b), Ms. Gjovik maintains that Apple retaliated against her because she complained about,
              23   inter alia, environmental safety violations. Although Ms. Gjovik will net have to prove that

              24   Apple actually violated an environmental safety law for this retaliation claim, she will still have to
              25   show that she reasonably believed there was such a violation. See Killgore v. SpecPro Pro. Servs.,
              26   LLC, 51 F.4th 973, 988 (9th Cir. 2022). Typically, a reasonable belief has a factual basis of some

              27   kind. Thus, there will be similar factual issues raised in both the claims already adjudicated and

              28   the unadjudicated § 1102.5 retaliation claim.
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              1           Third, allowing an appeal of the adjudicated claims now does give rise to the threat of

               2   duplicative appeals. Ms. Gjovik suggests that duplicative appeals could be avoided if the Ninth
              3    Circuit were to rule in her favor before the trial on her retaliation claims. But this assumes that the

               4   Ninth Circuit would rule in her favor and that it would do so prior to the trial on the retaliation

              5    claims. Neither assumption is a guarantee - especially the latter since Ms. Gjovik has not asked

               6   for a stay of proceedings on the retaliation claims pending appeal (which the Court would not be

              7    inclined to grant if sought). And if she were to seek such a stay, that would, if anything,

               8   underscore that there is factual overlap among her various claims since that would be the likely

              9    basis for any stay request.
              10          Fourth, that the claims at issue include claims related to environmental safety does not, in

              11   and of itself, weigh in favor of "expedited" appellate review through Rule 54(b). Certainly, Ms.
              12   Gjovik has not cited any authority to support this proposition.
              13          Accordingly, the Court hereby denies Ms. Gjovik's Rule 54(b) motion. The Court shall
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       u      14   not enter a partial final judgment on claims that have been dismissed or otherwise not permitted to

              15   proceed. The Court also denies Ms. Gjovik's alternative request for leave to amend.
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              17          This order disposes of Docket NO. 189.
       Z'     18
              19          IT IS SO ORDERED.

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              21   Dated: April 15, 2025
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              24                                                          'or
                                                                      Unite    rates District Judge
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               4                                   UNITED STATES DISTRICT COURT

              5                                   NORTHERN DISTRICT OF CALIFORNIA

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              7      ASHLEY M GJOVIK,                                   Case NO. 3:23-cv-04597-EMC (KAW)
               8                     Plaintiff,                         ORDER DENYING PLAINTIFF'S
                                                                        MOTION FOR LEAVE TO FILE A
              9               v.                                        MOTION FOR RECONSIDERATION
              10     APPLE INC,                                          [Discovery Letter #5]
              11                     Defendant.                          Re: Dkt. No. 171
              12
              13          On February 11, 2025, Plaintiff filed four discovery letter briefs. (Dkt. Nos. 162-165.) On
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              14   February 20, 2025, the Court terminated the filings on the grounds that the Court does not
              15   entertain unilateral discovery letters. (Dkt. No. 170.) Plaintiff was advised that "the parties are
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       Q      16   required to meet and confer and file joint discovery letters to address pending discovery disputes
              17   in accordance with the Court's Standing Order." Id. at 1 (citing Judge Westmore's General
              18   Standing Order 9191 13- 14).
              19          On February 20, 2025, Plaintiff filed a motion for reconsideration of the Court's order
              20   terminating the discovery letters.1 (Pl.'s Mot., Dkt. No. 171.) Specifically, Plaintiff requested
              21   "reconsideration of her request for a Judge- supervised meet and confer telephone conference, as
              22   prescribed by the Honorable Judge Chen last year, due to the open and ongoing discovery disputes
              23   between the parties." Id. at 3.2
              24          On February 27, 2025, Defendant filed an opposition and explained that Plaintiff filed her
              25
              26   1 Plaintiff did not follow the proper procedure. Before filing a motion for reconsideration, a party
                   is required to obtain leave of court. See Civil L.R. 7-9(a). Thus, the Court will construe this as a
              27   motion for leave to file a motion for reconsideration.
                   2 The Court notes that Plaintiff attached more than 60 pages of exhibits even though the Court's
              28   standing order limits discovery letter exhibits to 12 pages. (Judge Westmore's Standing Order 91
                   14(b)(ii).)
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              1    request for reconsideration without asking Apple to meet and confer in accordance with the
              2    Court's Standing Order. (Opp'n, Dkt. No. 178 at 1.) Defendant further represented that it remains
              3    willing to meet and confer in accordance with the Court's standing order. Id.

               4           Accordingly, Plaintiff" s motion for leave to file a motion for reconsideration regarding her

              5    request for a judge-supervised meet and confer telephone conference is DENIED. At this

               6   juncture, the Court finds no basis to depart from the procedures set forth in the standing order,

              7    which requires that the parties meet and confer in person or via video conference. (Judge

               8   Westmore's General Standing Order 91 13.) If Plaintiff is concerned about the possibility of

              9    Defendant making "unlawful threats and coercive statements" during the meet and confer or the

              10   potential that the discussions will be misrepresented, the parties can meet via video conference and

              11   record the meet and confer session. (See Dkt. No. 171 at 2.) The parties are advised to limit their

              12   discussions to the relevant discovery device(s) at issue. This meet and confer process is not the

              13   appropriate venue to air general grievances.
       <3     14           Finally, the parties are directed to meet and confer regarding the Northern District's model

              15   stipulated protective order (available at https://cand.uscourts.gov/forms/model-protective-orders/).
        W
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       Q      16   If the parties are unable to agree, the Court is inclined to adopt the model order for standard

              17   litigation.
       Z'     18           IT IS SO ORDERED.
              19   Dated: March 11, 2025                                      r


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                                                                         Unite l States Magistrate Judge

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               4                                  UNITED STATES DISTRICT COURT

              5                                  NORTHERN DISTRICT OF CALIFORNIA

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              7      ASHLEY M GJOV1K,                                  Case NO. 23-cv-04597-EMC
               8                    Plaintiff,
                                                                       ORDER GRANTING IN PART AND
              9               v.                                       DENYING IN PART DEFENDANT'S
                                                                       MOTION TO DISMISS; AND
              10     APPLE INC,                                        DENYING PLAINTIFF'S MOTION TO
                                                                       AMEND
              11                    Defendant.

              12                                                        Docket Nos. 145 and 155
              13
       8      14          Plaintiff Ashley Gjovik, proceeding pro se,1 is a former employee of Defendant Apple, Inc.
              15   She started to work for Apple in February 2015 and was ultimately terminated in September 2021 .
        W
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       Q      16   About two years after she was fired, she initiated this lawsuit. In the operative fifth amended
              17   complaint ("5AC"), Ms. Gjovik asserts seven different claims against Apple, all predicated on
              18   state law. For the most part, the claims fall into two basic categories: (1) Apple engaged in
              19   environmentally unsafe conduct that harmed Ms. Gjovik and (2) Apple retaliated against Ms.
              20   Gjovik - including by terminating her from employment - because she complained about certain
              21   company conduct, including but not limited to environmentally unsafe conduct.

              22          Now pending before the Court is Apple's motion to dismiss portions of the 5AC. Having
              23   considered the parties' briefs and accompanying submissions, as well as the oral argument
              24   presented at the hearing on February 21, 2025.2 the Court hereby GRANTS in part and DENIES
              25

              26
                   1 Ms. Gjovik appears to have a J.D. from Santa Clara University.
              27
                   2 After the hearing was held, a declaration was submitted by a third party, Cher Scarlett. See
              28   Docket No. 186 (Scarlett Decl.). The Court does not consider the declaration because pending
                   before it is a l2(b)(6) motion.
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              1    in part the motion to dismiss .

               2                       I.      FACTUAL & PROCEDURAL BACKGROUND
              3           The AC is largely consistent with the prior pleadings. That is, as before, the main
               4   categories of misconduct by Apple as alleged in the SAC are as follows :

              5                     (1) During her employment with Apple, Ms. Gjovik lived in an
                                       apartment near an Apple factory (known as the ARIA factory) and
               6                       became ill because the factory released toxic substances into the
                                       environment.
              7
                                    (2) Ms. Gjovik's office at Apple (known as Stewart 1) was located on
               8                        a contaminated site subject to EPA regulation, i.e., a Superfund
                                       site, and she became ill because of Apple's actions/omissions
              9                        related to the site.
              10                    (3) Apple made employees, including Ms. Gjovik, participate in
                                        studies related to Apple products that were invasive to their
              11                        privacy.
              12                    (4) Apple retaliated against Ms. Gjovik for making complaints about
                                        harassment and environmental safety. Ms. Gjovik's complaints
              13                       included internal complaints, complaints to governmental
                                       agencies, complaints to the press, and complaints made in social
       8      14                       media. The retaliation by Apple included but was not limited to
                                       the termination of Ms. Gjovik from employment.
              15
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       Q      16   Docket NO. 73 (Order at 2).
              17          Based on, inter alia, these factual allegations, Ms. Gjovik asserts the following causes of
              18   action in the AC:
              19              (1)      Wrongful termination in violation of public policy .

              20              (2)      Violation of the California Whistleblower Act. See, e.g., Cal. Lab. Code §

              21                       1 l02.5(b) (providing that an employer "shall not retaliate against an employee

              22                       for disclosing information ... to [inter alia] a government or law enforcement
              23                       agency [or] to a person with authority over the employee ... if the employee
              24                       has reasonable cause to believe that the information discloses a violation of a

              25                       state or federal statute, or a violation of or noncompliance with a local, state, or

              26                       federal rule or regulation").

              27              (3)      Violation of California Labor Code § 6310. See, e.g., id. § 63l0(a) (providing

              28                       that "[n]o person shall discharge or in any manner discriminate against any
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                 1                       employee because the employee has [e.g.] [m]ade any oral or written complaint
                  2                      to the [Division of Occupational Safety and Health] [or] other governmental

                 3                       agencies having statutory responsibility for or assisting the division with
                  4                      reference to employee safety or health").

                 5               (4)     Violation of California Labor Code § 98.6. See id. § 98.6(a) (providing that

                  6                      "[a] person shall not discharge an employee or in any manner discriminate,

                 7                       retaliate, or take any adverse action against any employee .. . because the

                  8                      employee » .. engaged in any conduct delineated in this chapter .. . or because

                 9                       the employee . .. has filed a bona fide complaint or claim .. . under or relating

                 10                      to their rights that are under the jurisdiction of the Labor Commissioner . » » or

                 11                      because of the exercise by the employee . .. on behalf of themselves or others

           cos   12                      of any rights afforded them") .
      'S
      062        13              (5)     Creation and maintenance of a private nuisance at the ARIA factory .
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     .2 u        14              (6)     Intentional infliction of emotional distress - fear of cancer.
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     Q O         15              (7)     Intentional infliction of emotional distress - "traditional."
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     C7 Q        16           Apple has challenged Counts 5-7 above (i. e., the non-retaliation claims) in their entirety. It
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     -»-4        17   also has moved to dismiss part of two retaliation claims - i.e., the § 1102.5 claim (Count 2) and
     Q     5-1
     D zO        18   the § 98.6 claim (Count 4). Apple has not moved to dismiss in whole or in part the other two

                 19   retaliation claims (Counts l and 3, respectively, termination in violation of public policy and
                 20   violation of § 6310) .
                 21                                        II.        DISCUSSION

                 22   A.     Legal Standard

                 23          Federal Rule of Civil Procedure 8(a)(2) requires a complaint to include "a short and plain

                 24   statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). A
                 25   complaint that fails to meet this standard may be dismissed pursuant to Federal Rule of Civil

                 26   Procedure l2(b)(6). See Fed. R. Civ. P. l2(b)(6). To overcome a Rule l2(b)(6) motion to dismiss
                 27   after the Supreme Court's decisions in Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Bell Atlantic

                 28   Corp. v. Twombly, 550 U.S. 544 (2007), a plaintiff"s "factual allegations [in the complaint] 'must .
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                1    .. suggest that the claim has at least a plausible chance of success."' Levitt v. Yelp! Inc., 765 F.3d

                 2   1123, 1135 (9th Cir. 2014). The court "accept[s] factual allegations in the complaint as true and

                3    construe[s] the pleadings in the light most favorable to the nonmoving party." Manzarek v. St.
                 4   Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). But "allegations in a

                5    complaint ... may not simply recite the elements of a cause of action [and] must contain sufficient
                 6   allegations of underlying facts to give fair notice and to enable the opposing party to defend itself

                7    effectively." Levitt, 765 F.3d at 1135 (internal quotation marks omitted). "A claim has facial

                 8   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

                9    inference that the defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678. "The

                10   plausibility standard is not akin to a probability requirement, but it asks for more than a sheer

                11   possibility that a defendant has acted unlawfully." Id. (internal quotation marks omitted) .

          cos   12   B.     Untimely and Oversized Opposition
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     o <2       13          As an initial matter, the Court takes note that Ms. Gjovik initially filed an opposition at
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     .2 u       14   Docket No. 149 that was 26 pages in length (i.e., only one page over the 25-page limit). However,
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     on
        _2      15   approximately seven hours later, she filed a corrected version of the brief at Docket No. 150, that
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     C7 Q       16   corrected opposition is 36 pages in length. She claims that this brief is her "Final 2.0" brief
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      G) G)
     .4II 3     17   "[r]evised with legal citations & missing sections." Docket No. 150 (Opp'n). The corrected
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          z     18   opposition was not timely filed (about seven hours late) .

                19          Because Ms. Gjovik filed an untimely and oversized opposition, the Court could well

                20   strike her brief - notwithstanding her pro se status. See, e.g., Swanson v. U.S. Forest Serv., 87

                21   F.3d 339, 343, 345 (9th Cir. 1996) (holding that district court did not abuse its discretion in

                22   striking portions of a brief that violated page limits). Taldng this course of action would not be

                23   unwarranted given that Ms. Gjovik has, in the past, on more than one occasion failed to comply

                24   with deadlines and/or page limits .

                25          Although the Court could fairly take that course of action, it shall not at this time, instead,

                26   it shall, in the interest of justice, consider the corrected opposition and address Apple's motion to

                27   dismiss on the merits. Ms. Gjovik is forewarned, however, that, in the future, she must comply

                28   with all deadlines, page limits, and/or other rules or orders, just as any litigant before this Court
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              1    must. The Court has already given Ms. Gjovik substantial leeway in the past and will no longer
               2   excuse her compliance with the rules.
              3    c.      Environmental Safety Claims
               4           Ms. Gjovik has two environmental safety claims: (1) private nuisance (Count 5) and (2)

              5    intentional infliction of emotional distress ("IIED") based on "fear of cancer" (Count 6). Both
               6   claims are based on an Apple semiconductor fabrication factory (located at 3250 Scott Blvd.)

              7    allegedly releasing toxic chemicals into the environment which affected Ms. Gjovik because she

               8   lived in an apartment nearby (located at 3255 Scott Blvd.). The factory is also known as the

              9    ARIA factory .

              10           In its most recent order, the Court held that the environmental safety claims were time

              11   barred based on the face of the then-operative pleading, but it gave Ms. Gjovik leave to amend to

              12   try to plead around the statute-of-limitations bar (specifically, through the delayed discovery rule) .

              13   The Court also held that, with respect to the IIED claim, Ms. Gjovik failed to state a claim for
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       u      14   relief, however, it gave her leave to amend. See Docket No. 112 (Order at 31) (indicating that Ms.

              15   Gj ovik would have to "allege that Apple directed its conduct at her specifically or with knowledge
        W
       -v-4
       Q      16   of her presence specifically, and that its conduct was calculated to cause her severe emotional

              17   distress").
       Z'     18           1.       Statute of Limitations
              19           In its motion to dismiss, Apple renews its argument that the environmental safety claims

              20   are time barred. Although the statute of limitations is an affirmative defense, it can be raised in a
              21   l2(b)(6) motion if it is apparent from the face of the complaint. See Rivera v. Peri & Sons Farms,
              22   Inc., 735 F.3d 892, 902 (9th Cir. 2013).
              23           As alleged in the AC, Ms. Gjovik sustained injury as a result of the ARIA factory while
              24   she lived in the nearby apartment from February 2020 through October 2020. See SAC 91 12. Ms.

              25   Gjovik, however, did not file this lawsuit until September 2023, i. e., some three years later. This

              26   is, on its face, problematic given that Ms. Gjovik's claims for nuisance and IIED have a two-year

              27   statute of limitations. See Cal. Code Civ. Proc. § 340.8(a) ("In any civil action for injury or illness

              28   based upon exposure to a hazardous material or toxic substance, the time for commencement of
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(21 of 182), Page 21 of 182
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              1    the action shall be no later than either two years from the date of injury, or two years after the

               2   plaintiff becomes aware of, or reasonably should have become aware of, (1) an injury, (2) the

              3    physical cause of the injury, and (3) sufficient facts to put a reasonable person on inquiry notice

               4   that the injury was caused or contributed to by the wrongful act of another, whichever occurs

              5    later.").

               6           Ms. Gjovik argues, however, that she is not time barred under § 340.8 because she did not

              7    become aware of, and reasonably should not have become aware of, the cause of her injury - i.e. ,

               8   the ARIA factory - until February 2023. See SAC 91269 (asserting that the statute of limitations

              9    "should be tolled until February 2023, the date when Plaintiff first discovered the nature of

              10   Apple's hazardous activities at 3250 Scott"). As alleged in the 5AC, February 2023 was when
              11   Ms. Gjovik discovered that the Apple factory had "permits for semiconductor fabrication

              12   equipment" for the ARIA factory. 5AC 91259. Ms. Gjovik obtained these documents "after filing
              13   multiple Public Records Act requests about various Apple buildings." 5AC 91259, see also RJN,
        cu
       u      14   Ex. 2 (tweet from Ms. Gjovik, dated 2/21/2023) (stating that "I just received Public Records

              15   results on the 3250 building permits & its [sic] a doozy[,] Apple registered the building in 2015
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       Q      16   for haz waste storage & generation").

              17           Ms. Gjovik does not dispute that, well before February 2023, she knew Apple had a

              18   factory close to her apartment. In fact, she admits that she knew the factory "was registered as a

              19   hazardous waste generator," 5AC 91262, and that she voiced concern about the factory to Apple's

              20   Environmental Health & Safety and Legal Departments in 2020 and 2021. See SAC 91265.3

              21   However, Ms. Gjovik maintains that, until she knew specifically that semiconductor fabrication

              22   was occurring at the factory, she did not know and should not have reasonably known that her

              23   injuries were caused by the factory as opposed to a different cause. See, e.g., 5AC9191 259, 26 l

              24   (alleging that "knowledge of the semiconductor operations at the facility" was critical to Ms.

              25   Gjovik "connect[ing] Apple's hazardous manufacturing activities at 3250 Scott to her 2020

              26

              27   3 See also SAC 9125 (indicating that, in OI' about December 2020, "Plaintiff ... notified Apple
                   EH&S and environmental legal about what occurred to her near 3250 Scott"), 5AC 1136 (alleging
              28   that, in or about September 2020, "[t]he plaintiff notified several Apple executives of her findings
                   and activities" with respect to air monitor testing in her apartment next to the Apple factory).
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              1    illness"), SAC 91268 (alleging that, "[u]pon learning of the semiconductor fabrication at 3250

               2   Scott, Plaintiff immediately identified the facility's toxic emissions as the plausible cause of her
              3    severe health problems"). According to Ms. Gjovik, the fact that she knew the factory was a

               4   hazardous waste generator is not important because (l) Apple did not warn her that the factory

              5    posed a danger after she raised concerns about it to EH&S and Legal, see SAC 91265, (2)

               6   "[r]ecords on the EPA's Toxics Release Inventory (TRI) and other federal and state databases

              7    showed no significant toxic chemical releases from 3250 Scott," 5AC 91261, and (3) "[t]he

               8   region's history of industrial activity and the current presence of research and development

              9    facilities that generate hazardous waste did not raise any alarms." 5AC 91262. Ms. Gjovik also

              10   claims that Apple engaged in action that concealed semiconductor fabrication was occurring at the

              11   factory. See, e.g., SAC 91263 (alleging that Apple pressured government agencies such as "the fire

              12   department and EPA to avoid documenting or discussing its activities"), 5AC 91267 (alleging that

              13   Apple used "misleading permits and improper classifications that obscured the facility's true
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       u      14   nature"). Finally, she emphasizes that government agencies "investigated the area and found no
              15   records that would indicate a direct link to her health issues," SAC 91263 - i. e., if the government
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       Q      16   found no problem, she could not have reasonably been expected to find one either.

              17          In response, Apple argues that Ms. Gjovik's attempt to rely on the delayed discovery rule
              18   fails because, at bottom, the information she discovered in February 2023 - in particular, the

              19   permits for the ARIA factory showing that it engaged in semiconductor fabrication was publicly

              20   available at the time she was injured in 2020, and Ms. Gjovik has failed to show why she could

              21   not have found that publicly available information until February 2023 .

              22          2.      Delayed Discovery Rule
              23          Before delving into the merits of the parties' dispute, the Court first addresses Ms.
              24   Gjovik's contention that the Court is applying the wrong discovery rule. According to Ms.
              25   Gjovik, although she has asserted two state law claims, federal law on delayed discovery applies.

              26   Ms. Gjovik further argues that, under federal law on delayed discovery, the appropriate standard is

              27   not what she knew or should have known but rather what a reasonable person in her position
              28   knew or should have known (i.e., an objective inquiry, not a subjective one) .
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                1            Ms. Gjovik is correct that federal law on delayed discovery applies. In O 'Connor v.
                 2   Boeing North America, 311 F.3d 1139 (9th Cir. 2002), the plaintiffs sued two companies alleging

                3    that substances released from their facilities caused the plaintiffs to suffer illnesses. The plaintiffs

                 4   brought tort claims under California law. California law had a limitations period of one year. The
                5    issue was whether the delayed discovery rule allowed the plaintiffs to get around the time bar.

                 6           The Ninth Circuit held that a CERCLA provision, 42 U.S.C. § 9658, applied to the claims

                7    even though the plaintiffs were asserting only state law claims "without an accompanying

                 8   CERCLA action." Id. at 1149. Section 9658 provided:

                9                    In the case of any action brought under State law for personal injury
                                     ... which [is] caused or contributed to by exposure to any hazardous
                10                   substance, or pollutant or contaminant, released into the
                                     environment from a facility, if the applicable limitations period for
                11                   such action (as specified in the State statute of limitations or under
                                     common law) provides a commencement date which is earlier than
          cos   12                   the federally required commencement date, such period shall
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     'S   E                          commence at the federally required commencement date in lieu of
     o <2       13                   the date specified in such State statute.
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     .2 u       14   Id. at 1146 (quoting § 9658(a)(l), emphasis added). Thus, in the case under consideration, "§
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     on
        _2      15   9658 preempts California's commencement date if that date is earlier than the federally required
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     C7 Q       16   commencement date.994 Id., see also id. at 1143-44 (noting that § 9658 "retains the state statute of
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      G) G)
     .4II 3     17   limitations[] and establishes a federal standard that gevems when delayed discovery of a
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          z     18   plaintiff" s claims will toll the statute of limitations[,] [t]his federal standard trumps a less generous

                19   state rule that would start the limitations period earlier").

                20           The Ninth Circuit went on to evaluate whether the accrual date was different under state

                21   and federal law. "Under both federal and California law, the discovery rule provides that a
                22   limitations period does not commence until a plaintiff discovers, or reasonably could have

                23   discovered his claim," i.e., "through investigation of sources open to her." Id. at 1147. But under
                24   California law, "a plaintiff discovers a claim when the plaintiff 'suspects or should suspect that her

                25   injury was caused by wrongdoing." Id. In contrast, federal law "requires more than suspicion
                26

                27
                     4 In its reply brief, Apple argues that O 'Connor is not applicable because Ms. Gjovik's "claim is
                28   for nuisance and is not brought under CERCLA." Reply at 4 n.4. However, that argument does
                     net square with what the Ninth Circuit held in O 'Connor.
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                 1    alone", discovery turns on when the plaintiff "knows or reasonably should have known of that
                  2   cause." Id. at 1148. Because federal law on delayed discovery was more generous to the plaintiff,
                 3    the Ninth Circuit held that federal law, and not state law, applied.

                  4           Based on O 'Connor, Ms. Gjovik is correct that the Court should not have relied on state
                 5    law for delayed discovery in its prior order. See, e.g., Docket No. 112 (Order at 27) (noting that,

                  6   under California's delayed discovery rule, "'a cause of action accrues ... when the plaintiff has
                 7    reason to suspect an injury and some wrongful cause, unless the plaintiff pleads and proves that a

                  8   reasonable investigation at that time would not have revealed a factual basis for that particular

                 9    cause of action[,] [i]n that case, the statute of limitations .. will be tolled until such time as a

                 10   reasonable investigation would have revealed its factual basis"'). To be clear, though, neither
                 11   party raised § 9658 at the time of the prior hearing.

           cos   12           Ms. Gjovik also argues that, under federal law on delayed discovery, the issue is "not
     <4 '*
     'S E
     o <2        13   whether Plaintiff herself should have discovered the source of the emissions but rather whether a
     u<4 C:O
     .2 u        14   reasonable person in Plaintiff' s position would have been able to identify the source." Opp'n
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     .2 O <4
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          O      15   at13, see also Opp'n at 13 ("Plaintiff"s claims in this case are not simply based on subjective
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         on
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                 16   awareness, rather, they are grounded in the objective standard of a reasonable person."). Here,
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     -»-4 <4     17   Ms. Gjovik is not entirely correct. As noted above, the delayed discovery rule under federal law
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          z      18   turns on when the plaintiff "knows or reasonably should have known" the existence and cause of

                 19   her injury, O 'Connor, 311 F.3d at 1148 (emphasis added). In O 'Connor, the Ninth Circuit stated

                 20   that

                 21                  [a] two-part analysis determines whether Plaintiffs reasonably
                                     should have known of their claim.... First, we consider whether a
                 22                  reasonable person in Plaintiffs' situation would have been expected
                                     to inquire about the cause of his or her injury. Second, if the
                 23                  plaintiff was on inquiry notice, "we must next determine whether [an
                                     inquiry] would have disclosed the nature and cause of plaintiffs
                 24                  injury so as to put him on notice of his claim." The plaintiff will be
                                     charged with knowledge of facts that he would have discovered
                 25                  through inquiry .
                 26   O 'Connor, 311 F.3d at 1150. While the first inquiry evaluates whether a reasonable person in a

                 27   plaintiff" s situation would have been expected to inquire about the cause of his or her injury, the

                 28   second inquiry does not use the same benchmark. "The second prong of the test for application of
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                1    the discovery rule is whether a reasonable inquiry would have put [a] Plaintiff[] on notice of their
                 2   claim." Id. at 1155.
                3           3.      "Reasonably Should Have Known"
                 4           Because Ms. Gjovik has claimed that she did not actually know the cause of her injuries
                5    until February 2023, the critical question in the instant case is when she reasonably should have

                 6   known of that cause. As noted above, O 'Connor establishes a two-part analysis.

                7           In the instant case, Ms. Gjovik does not make any argument that, at the first prong, a

                 8   reasonable person in her situation would not have been expected to inquire about the cause of her

                9    injuries. This is likely because Ms. Gjovik did, at or about the time she was suffering her injuries,
                10   start to make inquiries about the cause thereof. Cf. Wood v. Santa Barbara Chamber of
                11   Commerce, Inc., 705 F.2d 1515, 1521 (9th Cir. 1983) (noting that plaintiff suspected copyright

          cos   12   infringement and this suspicion "placed upon [him] a duty to investigate further into possible
     <4 '*
     'S  E
     o <2       13   infringements of his copyright"), see also Oracle Am., Inc. v. Hewlett Packard Enter. Co., 97 l
     u<4 C:O
     .2 u       14   F.3d 1042, 1048 n.5 (9th Cir. 2020) (stating that O'Connor did not discuss Wood, which "provides
      * 44-4
     4-2
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     on
        _2      15   that suspicion of infringement triggers a duty to investigate"). Thus, the question here is whether,
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     <9
     C7 Q       16   at the second prong, "a reasonable inquiry would have put [Ms. Gjovik] on notice of [her] claim."
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      G) G)
     .4II 3     17   Id. at 1155, see also id. at 1155-56 (noting that this step "focuses on whether, if the Plaintiffs had
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          z     18   inquired about the cause of their illnesses, the result of that inquiry would have provided Plaintiffs

                19   with knowledge of the connection between the injury and its cause"). This inquiry does bear

                20   similarity to the California delayed discovery rule. See Docket No. 112 (Order at 27) (noting that,

                21   under California's delayed discovery rule, a plaintiff must "'plead[] and prove[] that a reasonable
                22   investigation at that time would not have revealed a factual basis for that particular cause of

                23   action[,] [i]n that case, the statute of limitations ... will be tolled until such time as a reasonable

                24   investigation would have revealed its factual basis"').
                25           4.      Permits and Other Publicly Available Documents

                26           As to whether a reasonable inquiry would have put Ms. Gjovik on notice of her claims, the

                27   Court must bear in mind what Ms. Gjovik has already alleged in her SAC. According to Ms.

                28   Gjovik, what actually put her on notice was the discovery (in February 2023) of permits for the
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                1    Apple factory which showed it was engaged in semiconductor fabrication. Thus, Apple makes a
                 2   fair contention that, if a reasonable inquiry would have led Ms. Gjovik to the permits before

                3    February 2023, then her claim she could net have reasonably known about the semiconductor

                 4   fabrication until February 2023 is not tenable.
                5             Apple has asked the Court to take judicial notice of the fact that the permits for the ARIA

                 6   factory are publicly available on the website for the City of Santa Clara (https://aca-

                7    prod.accela.com/santaclara/Default.aspx (last visited 1/28/2025)).
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                 8                                                                  RENEW APP 02f01J19 ALT TOOL INSTALL!
                        0     01/02/2018   aLo2o1e-4s;4      Building Perms         Phase 23- Demolition and installation of
                                                                                    tool installlSEm,AFm, and RTA). Oven.
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                                                                                    bonder, and vector tester. 'ARIA'
                9       3     -            BLDZOU-49104      Building Permit                                                   3250 scol'r BL SANTA CLARA CA 95054   Fll\ll.d


                10      I:]   -            E LDz°x7-49 UI!   Building Permit
                                                                                    PHASE 19 HF Vapor Cod hook up
                                                                                    Installation tool \
                                                                                                                               3250 SCOTT BL SANTA CLUIA CA 95054    Flmle¢

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                11
                     See RJN, Ex. 4B (ECF Page 23) (website results search, showing permits from December 2017
          cos   12
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     'S  E           that refer to semiconductor fabrication). Notably, these are the same permits that Ms. Gjovik
     o <2       13
     u<4 C:O         tweeted about in February 2023 when she announced her discovery of the cause of her injuries.
     .2 u       14
      * 44-4
     4-2
      9 O            See RJN, Ex. 1 (ECF Pages 2-3) (tweet, dated 2/21/2023). Apple has also asked the Court to take
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     on
        _2      15
     G) 33           judicial notice of "historical pages that show the publicly available City of Santa Clara permit
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     C7 Q       16
     'U  Q
         5-4         website as it existed back in 2020." RJN at 6 (noting that "Exhibits 5A-5B show what the City of
      G) G)
     .4II 3     17
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          O          Santa Clara's permit center website looked like back in 2020, while Exhibits 4A-4G show what
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                     the City's permit center website looks like presently", the historical "'Smart Permit Search' link
                19
                     [was] preserved by the Internet Archive WayBack Machine on November 11, 2020").
                20
                              In addition to the permits, Apple points out that Ms. Gjovik mentions in the SAC a "2019
                21
                     gas leak report" that "confirmed [her] belief that Apple's activities at the facility caused her
                22
                     illness." 5AC 11260. That gas leak report "mentioned phosphine an indicator of Apple's toxic
                23
                     emissions at 3250 Scott." SAC ii 260. The gas leak report appears to have come from Santa Clara
                24
                     City Fire Department records for the factory. See AC 9123 (alleging that the records included
                25
                     "chemical spill reports" from 2019-2022 and reflected "eight confirmed leaks/spills: leaks of
                26
                     phosphine and silane on June l 2019, a phosphine leak on October 21 2019, a tetraethyl
                27
                     orthosilicate leak on July 17 2020, a significant phosphine leak on April 30 2021, a 5% fluorine
                28
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                 1    gas leak on April 18 2022, a hexafluorobutadiene leak on May 29 2022, and leaks of two unnamed
                  2   toxic gases on September 20 2022 and December 21 2022"). Apple asks the Court to take judicial

                 3    notice that the gas leak report is publicly available through the Santa Clara Fire Department

                  4   website. See RJN, EX. 3 (incident report, dated 6/2019) (ECF Page 15) ("E99 and H99 responded

                 5    to a gas leak .... ERT was on scene .... The alarm was for .5 parts per billion that was going
                  6   through their scrubbers. The chemicals were Silane and Phosephine [sic]."). The face of the
                 7    document also indicates that the report was publicly accessible as of 2020, the document reflects

                  8   an "upload date" of February 18, 2020. See RJN, Ex. 3 (ECF Page II).
                 9           Finally, Apple notes that, in the 5AC, Ms. Gjovik refers to allegedly "difficult-to-find
                 10   agency filings" - specifically, that Apple made with the Bay Area Air Quality Management Board.
                 11   According to Ms. Gjovik, the filings reflect that, "in at least 2019-2021, 3250 Scott exhausted

           cos   12   reportable amounts of mercury, arsenic, carbon monoxide, and formaldehyde into the ambient air
      'S
      062        13   around the factory." SAC 1]25. Apple asks the Court to take judicial notice of the fact that this
     u<4   :
           CO
     .2 u        14   information was publicly available on the Bay Area Air Quality Management District
      9* 44-4
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          O
     Q O         15   ("BAAQMD" ) website specifically, "the BAAQMD 2018 emissions data was publicly available
     on 'C
     G) <4
      <9
     C7 Q        16   online [back] in August 2021, and shows that 3250 Scott emitted the same substances Plaintiff
     'U Q 5-4
     3 G)3
     -»-4        17   alleges she saw in the 2019-2021 permits that allegedly put her on notice of potential exposure."
     Q     5-1
     D zO        18   Mot. at 13, see also RJN, Ex. 6A (BAAMQ website) (ECP Page 46) (reflecting that "Toxic Air

                 19   Containment Inventory for 2018 - Sorted by County, by City, and by Facility Name" was posted
                 20   on 8/24/2021), RJN, Ex. B (Toxic Air Containment Inventory for 2018) (ECF Pages 52, 170)

                 21   (reflecting that 3250 Scott produced certain levels of "Diesel Engine Exhaust Particulate Matter"

                 22   which includes, e.g., formaldehyde, arsenic, and mercury).
                 23          In her opposition brief, Ms. Gjovik states she opposes Apple's request for judicial notice,

                 24   but she did not provide any argument as to why. Nor did she file a brief in opposition to the
                 25   request for judicial notice concurrently with her opposition to the motion to dismiss. Instead, Ms.

                 26   Gjovik did not file an opposition to the request for judicial notice until some ten days after the

                 27   brief was due. See Docket No. 154-2 (opposition to RJN). While the Court, in the interest of
                 28   justice, is considering Ms. Gjovik's substantive opposition to the motion to dismiss in spite of its
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                1    untimeliness, it will not consider Ms. Gjovil<'s untimely opposition to the request for judicial
                 2   notice. There is absolutely no reason why this opposition could not have been filed at the time she

                3    filed her opposition to the motion to dismiss. Certainly, there is no justification for filing the
                 4   opposition ten days late.

                5            The Court, therefore, deems Ms. Gjovik's failure to timely oppose the request for judicial

                 6   notice a waiver of any argument challenging the request for judicial notice. In any event, the
                7    Court independently finds that it may take judicial notice of the documents submitted by Apple

                 8   (i. e., the Santa Clara building permits, a Santa Clara Fire Department gas leak report, and a

                9    BAAMQD publication) pursuant to Federal Rule of Evidence 20l(b).5 See, e.g., Organic
                10   Cannabis Found., LLC v. Comm 'r, 962 F.3d 1082, 1096 (9th Cir. 2020) (taking judicial notice that

                11   the U.S. Postal Service has reserved a certain zip code for P.O. Boxes in Santa Rosa because

          cos   12   "judicial notice may be taken of official information that is posted on a government website and
     <4 '*
     'S  E
     o <2       13   that is not subject to reasonable dispute") (internal quotation marks omitted), United States SBA v.
     u<4 C:O
     .2 u       14   Bensal, 853 F.3d 992, 1003 & n.3 (9th Cir. 2017) (indicating that a court may take judicial notice
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15   of information "'made publicly available by government entities"', here, that information was
     G) 33
     <9
     C7 Q       16   from a government website that "[t]he SBA requires personal guarantees from individuals who
     'U   Q
          5-4
      G) G)
     .4II 3     17   own at least 20% of or hold significant management positions in any business seeldng a direct
      Q   5-1
          O
     D
          z     18   loan or guarantee"), Daniels-Hall v. Nat'l Educ. Ass'n, 629 F.3d 992, 998-99 (9th Cir. 2010)

                19   ("take[ing] into consideration the list of approved 403(b) vendors displayed publicly on the

                20   respective web sites of the South Kitsap and El Dorado School Districts" because "it was made

                21   publicly available by government entities (the school districts), and neither party disputes the

                22   authenticity of the web sites or the accuracy of the information displayed therein"), United States

                23   v. Basher, 629 F.3d 1161, 1165 n.2 (9th Cir. 2011) (taldng judicial notice of information in the

                24   Bureau of Prisons Inmate Locator Service because "[w]e take judicial notice of this information

                25   that is available to the public").

                26

                27   5 See Fed. R. Evid. 20l(b) (providing that a court may take judicial notice of a "fact that is not
                     subject to reasonable dispute because it ... can be accurately and readily determined from sources
                28   whose accuracy cannot reasonably be questioned"). Apple also argues that the Court could
                     consider the documents based on the incorporation-by-reference doctrine.
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                 1            Under the above authorities, the Court may also take judicial notice of the dates the

                  2   documents were publicly available. As noted above, the face of the gas leak report indicates that

                 3    the report was publicly accessible as of 2020: the document reflects an "upload date" of February

                  4   18, 2020. See RJN, Ex. 3 (ECF Page II). Similarly, the BAAMQ website reflects that the "Toxic
                 5    Air Containment Inventory for 2018 - Sorted by County, by City, and by Facility Name" was

                  6   posted on August 24, 2021. See RJN, Ex. 6A (BAAMQ website) (ECF Page 46).

                 7           The closest call concerns the date that the building permits were available, this is because

                  8   Apple is relying on the Internet Archive's WayBack Machine to show what the Santa Clara permit

                 9    center website looked like back in 2020. "'The Wayback Machine is an online digital archive of
                 10   web pages. It is run by the Internet Archive, a nonprofit library in San Francisco, California."'
                 11   Valve Corp. v. Ironburg Inventions Ltd., 8 F.4th 1364, 1374 (Fed. Cir. 2021). District courts in

           cos   12   this circuit have routinely taken judicial notice of content from the Wayback Machine. See
      'S
      062        13   Pa rziale v. HP, Inc., No. 5:19-cv-05363-EJD, 2020 U.S. Dist. LEXIS 179738, at *8 (ND. Cal.
     u<4   :
           CO
     .2 u        14   Sept. 29, 2020) (stating that "'[d]istrict courts in this circuit have routinely taken judicial notice of
      9* 44-4
     4-2
          O
     Q O         15   content from the Internet Archive's Wayback Machine pursuant to this rule"', at issue in the case
     on 'C
     G) <4
      <9
     C7 Q        16   was a "historical snapshot of the online store page for [a product], as archived on the Wayback
     'U Q 5-4
     3 G)3
     -»-4        17   Machine"). This Court has done so on a prior occasion and was affirmed. See Steinberg v.
     Q     5-1
     D zO        18   Icelandic Provisions, Inc., No. 21-CV-05568-EMC, 2022 U.S. Dist. LEXIS 13478, at *4 n.l (N.D.

                 19   Cal. Jan. 25, 2022), (granting judicial notice of fact from website as it existed on a given date,

                 20   preserved by the WayBack Machine), ajf'd, No. 22-15287, 2023 U.S. App. LEXIS 14431 (9th Cir.

                 21   June 9, 2023).

                 22          The Ninth Circuit does not appear to have explicitly weighed in on the issue of whether

                 23   content from the Wayback Machine may be judicially noticed. However, the Federal Circuit has
                 24   held that judicial notice is appropriate, at least for purposes of establishing when a web reference

                 25   was first made available to the public. See Valve Corp. v. Ironburg Inventions Ltd., 8 F.4th 1364,

                 26   1374 (Fed. Cir. 2021) (noting that patent "[e]xaminers use The Wayback [M]achine as a source of

                 27   information to determine when a Web reference was first made available to the public") (internal

                 28   quotation marks omitted). The Federal Circuit stated as follows:
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                1                      District courts have taken judicial notice of the contents of
                                       webpages available through the Wayback Machine "as facts that can
                 2                     be accurately and readily determined from sources whose accuracy
                                       cannot reasonably be questioned." Erickson v. Neh. Mach. Co., No.
                3                      15-CV-01147-JD, 2015 U.S. Dist. LEXIS 87417, 2015 WL
                                       4089849, at *1 n.1 (N.D. Cal. July 6, 2015) (comparing "copies of
                 4                     current versions" of websites with versions available on the
                                       Wayback Machine to determine "that the websites were
                5                      substantively identical during the relevant timeframe"), see also
                                       Pohl v. MH Sub 1, LLC, 332 F.R.D. 713, 716 (N.D. Fla. 2019)
                 6                     (collecting cases), UL LLC v. Space Chariot Inc., 250 F. Supp. 3d
                                       596, 603-04 & n.2 (CD. Cal. 2017) (determining when websites
                7                      began advertising a certification mark and collecting cases). We
                                       agree.
                 8

                9    Id. at 1374-75.
                10             On the other hand, the Fifth Circuit reached a different conclusion in Weinhojer v. David

                11   Sharing, Inc., 23 F.4th 579 (5th Cir. 2022). There, the court noted that, "[b]eyond the context of

          cos   12   judicial notice, our sister circuits have allowed district courts to rely on archived webpages where
     <4 '*
     'S  E
     o <2       13   someone with personal knowledge of the reliability of the archive service has been authenticated
     u<4 C:O
     .2 u       14   pursuant to Rule 901 .  79
                                                  Id. at 584 (citing Second, Seventh, and Third Circuit decision). It then
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15   stated:
     G) 33
     <9
     C7 Q       16                     This reliance on personal knowledge indicates that exhibits derived
     'U   Q
          5-4                          from these sources are not inherently or self-evidently reliable in the
      G) G)
     .4II 3     17                     same way as documents designated as self-authenticating by Rule
      Q   5-1
          O                            902.
     D
          z     18
                19
                                       Our sister circuits' decisions that the Wayback Machine is not self-
                20                     authenticating are persuasive in the context of judicial notice. In
                                       sum, the district court erred in taking judicial notice of the terms
                21                     because a private internet archive falls short of being a source whose
                                       accuracy cannot reasonably be questioned as required by Rule 201.
                22

                23   Id.

                24             The Fifth Circuit, however, acknowledged that the Federal Circuit had reached a different

                25   result in Valve. But it distinguished Valve on the following basis:
                26                     At issue [in Valve] was whether an exhibit was authenticated as
                                       identical to the document viewed by the patent examiner and
                27                     whether the exhibit could be prior art.... [T]he Federal Circuit held
                                       that judicial notice of the Wayback Machine could be used to
                28                     establish that an otherwise authenticated exhibit was publicly
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                                  accessible on the webpage's archive date as determined by a patent
              1                   examiner who was "trained and required to determine publication
                                  dates." Here [in Wein/1o]§'er], the Wayback Machine content
               2                  containing the auction terms has not been otherwise authenticated.
              3    Id.

               4          Even if the Court were to follow the more restrictive view of the Fifth Circuit, the instant

              5    case is more analogous to Valve which the Fifth Circuit essentially deemed distinguishable. In the
               6   case at bar, the building permits themselves are judicially noticeable and thus they are

              7    "authenticated", the limited issue is whether the Court may take judicial notice of information

               8   obtained from the Wayback Machine to show that the permits were available to the public on a

              9    particular date. That was essentially the issue in Valve, and the Federal Circuit held (and the Fifth
              10   Circuit did not disagree) that judicial notice was proper for that purpose.6

              11          Accordingly, the Court takes judicial notice of not only the documents at issue but also the

              12   date the documents were publicly available.7
              13          Because the Court takes judicial notice of the information requested by Apple, Ms.
        cu
       u      14   Gjovik's position that she could not have reasonably known that ARIA was a semiconductor

              15   fabrication factory until February 2023 lacks merit. Given that Ms. Gjovik started investigating
        v-4
              16   causes of her injuries in at least September 2020, see, e.g., SAC919135-36 (alleging that, "[i]n

              17   September 2020, Plaintiff hired an industrial hygienist to evaluate the indoor air at her apartment"

              18   and that, the same month, she "set up more air monitors to observe the levels of volatile organic

              19   compounds in her apartment"), it is implausible that she could not have found the documents at

              20   issue which were publicly available in 2020 and/or 2021 - until some two to three years later.
              21   This is especially true since Ms. Gjovik has actually alleged in the SAC that she knew the ARIA

              22   factory "was registered as a hazardous waste generator." SAC 91262. Reasonable further inquiry

              23   would have led to the discovery of the nature of the ARIA manufacturing activities.

              24

              25
                   6 The Court also notes that, given Santa Clara's permit center website was operational back in
              26   2020, there is nothing to indicate that the building permits for the ARIA factory were not available
                   at that time, including for the year 2017 which reflected semiconductor fabrication.
              27
                   7 Even if Wayback Machine information is not judicially noticeable, that affects only the building
              28   permits. The dates that the gas leak report and BAAMQ document were available is reflected on
                   the face of the report and/or BAAMQ website.
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              1           Ms. Gjovik's remaining arguments in her opposition brief are not compelling. For
               2   example:
              3               (1) Ms. Gjovik asserts that Apple concealed information which made discovery of the

               4                 semiconductor fabrication at the factory difficult. The problem with this argument

              5                  is that, as noted above, the building permits - which she claims were the basis of

               6                 her discovery of the semiconductor fabrication     were all publicly available before
              7                  February 2023 .

               8              (2) According to Ms. Gjovik, it is reasonable that she did net discover the
              9                  semiconductor fabrication until February 2023 because government agencies who

              10                 were also investigating were never able to pinpoint the cause of her injuries. See

              11                 SAC 11263 ("Government agencies, including the EPA, had also investigated the

              12                 area and found no records that would indicate a direct link to her health issues.

              13                 They, too, could not identify a clear cause, which further obscured Plaintiffs ability
       8      14                 to connect the dots before discovering Apple's involvement in February 2023.").
              15                 The problem for Ms. Gjovik is that, once again, the building permits reflecting that
        v-4
              16                 there was semiconductor fabrication at the factory were publicly available. In
              17                 addition, the allegations made in 91263 are vague. While government agencies may
       Z'     18                 have, as alleged, investigated Apple after Ms. Gjovik complained, that is not an

              19                 allegation that the agencies were investigating what the cause of Ms. Gjovik's
              20                 medical issues were. There are also no allegations that government agencies found,
              21                 e.g., illegal toxic air emissions and tried to locate the source of the emissions but

              22                 were not able to do so. The agencies simply may have found no such emissions .

              23                 Furthermore, as Apple points out in its reply brief, Ms. Gjovik "does not allege in

              24                 her SAC that any government agency has ever concluded that the 'source of the
              25                 emissions' was 3250 Scott (despite having equal access to the same publicly
              26                 available documents that Plaintiff relies upon to support her nuisance claim)."

              27                 Reply at 4 (emphasis in original) .
              28              (3) Finally, Ms. Gjovik seems to suggest that she has a different theory to get around
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                1                   any limitations bar - i.e., a continuing violations theory. See Opp'n at 17-18
                 2                  (arguing that, because "both parties agree that Plaintiff" s Tamney claims [wrongful

                3                   termination in violation of public policy] are based on Defendant's unlawful
                 4                  retaliation ... , Plaintiff" s claims also satisfy the requirements for tolling due to
                5                   continuing violations"). But this argument does not make sense. The issue here is
                 6                  whether the environmentally unsafe claims are time barred, not any retaliation

                7                   claim. And to the extent Ms. Gjovik is trying to argue continuing violations for her
                 8                  nuisance and IIED claims, she fails to take into account that she moved out of the

                9                   apartment at issue in October 2020. Thus, even if the ARIA factory continued to
                10                  emit pollutants thereafter, she would not have standing to challenge such

                11                  subsequent conduct. The Court's prior order already recognized these points. See

          cos   12                  Docket No. 112 (Order at 29 n. 11) ("To the extent Ms. Gjovik asserts that there is
     <4 '*
     'S  E
     o <2       13                  no time-bar problem because the ARIA factory is a continuing nuisance, that
     u<4 C:O
     .2 u       14                  argument lacks merit. Ms. Gjovik moved out of her apartment near the ARIA
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15                  factory in October 2020."),
     G) 33
     <9
     C7 Q       16          5.      Summary
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          5-4
      G) G)
     .4II 3     17          For the foregoing reasons, the Court holds that, based on judicially noticeable and other
      Q   5-1
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          z     18   facts, Ms. Gjovik's claims for nuisance and IIED (fear of cancer) are time barred.8 The Court
                19   dismisses with prejudice because it previously gave Ms. Gjovik an opportunity to address the time

                20   bar but she failed to do so on amendment.
                21   D.     IIED Claim - "Traditional"
                22          In Count 7, Ms. Gjovik has a separate claim for IIED based on post-termination conduct by

                23   Apple. According to Ms. Gjovik, Apple engaged in various kinds of misconduct, including but

                24   not limited to the following:

                25                   Mailing Ms. Gjovik her personal belongings but intentionally damaging the

                26                   belongings and covering them in glass shards. See SAC 91296.

                27

                28   8 Because the Court is dismissing the IIED claim based on the time bar, it need net address
                     Apple's additional arguments challenging the claim.
                                                                     18
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                1                       Bugging and surveilling her. See, e.g., AC 9191296, 298, 300 (alleging that, when

                 2                      Apple mailed her personal belongings, it put a "hidden listening device" into a

                3                       statute, also alleging that Apple installed "some sort of electronic equipment" in

                 4                      her fake fig tree and hacked her network) .

                5                       Breaking into her residence on multiple occasions (both when she lived in

                 6                      California and when she lived in Massachusetts). See SAC 9191299, 302-05 .

                7                       Harassing her online, including through social media - e.g., "falsely accusing [her]
                 8                      of dishonesty and criminal conduct," making "disparaging remarks" about her,

                9                       calling her names, and even "suggest[ing] that [she] should be executed." SAC W

                10                      308, 310, 312, 316, 320.

                11            Apple moves to dismiss the claim, primarily for two reasons: (1) some of the conduct

          cos   12   alleged by Ms. Gjovik is, as a matter of law, not outrageous, and (2) some of the conduct is not
     'S
     062        13   sufficiently tied to Apple and, even if it were (e.g., misconduct was committed by an Apple
     u    :
     <4   CO
     .2 u       14   employee), there is not a basis to hold Apple accountable (e.g., no respondeat superior liability).
      * 44-4
     4-2
      9 O
     Q O        15            1.        Outrageousness
     on
     G)
          'C
           <4
     <9
     C7 Q       16            Apple's arguments have merit. For example, simply claiming that Ms. Gjovik was
     'U   Q
          5-4
      G) G)
     .4II 3     17   dishonest is net outrageous as a matter of law. See Docket No. 112 (Order at 35) (stating that
      Q   5-1
          O
     D
          z     18   "[b]eing called, e.g., a liar is, as a matter of law, not outrageous conduct sufficient to support a

                19   claim for IIED"). Similarly, the kind of insulting comments identified by Ms. Gjovik in much of
                20   the SAC is not outrageous. See SAC 11316 (alleging that "Apple's agents have publicly [and]

                21   repeatedly called Plaintiff a liar, predator, bitch, cunt, toxic, attention-seeking, [etc.]"), King v.

                22   Facebook, Inc., 572 F. Supp. 3d 776, 786 (ND. Cal. 2021) (noting that "[l]iability for IIED does
                23   not extend to mere insults, indignities, threats, annoyances, petty oppressions, or other

                24   trivialities") ,

                25            In one paragraph, Ms. Gjovik alleges that "an Apple Global Security Crisis Manager,

                26   Vicki, call[ed] Plaintiff on October 2, 2024, to harass Plaintiff about Plaintiff" s struggle to litigate

                27   against Apple's army of attorneys," SAC 11342, but without more specific allegations about what

                28   the manager said or did that was allegedly harassing, the alleged conduct cannot be said to be
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              1    outrageous.

               2             In several paragraphs, Ms. Gjovik asserts that Apple's attorneys representing Apple in the

              3    NLRB proceedings she initiated against the company are "implicated in the harassment," see SAC

               4   9191347-48, but the alleged conduct is either not outrageous, see, e.g., SAC 91347 (alleging that the

              5    attorneys' asked for production of "the defamatory paper trail created by Appleseed"), or not fairly

               6   attributable to the attorneys. See 5AC 91348 (alleging that the attorneys "used fake social media

              7    accounts to attack [Ms. Gjovik]" but providing no factual basis for that conclusory claim).

               8             With respect to Ms. Gjovik's allegation that her personal belongings were damaged and

              9    covered in glass shards when Apple mailed them to her, the conduct cannot be deemed outrageous

              10   when there are no factual allegations to support the claim that the conduct was intentional. The

              11   mere fact that the belongings were damaged and covered in glass shards is not enough by itself to

              12   give rise to a reasonable inference of intentional (as opposed to negligent) conduct by Apple.

              13             2.     Liability on the Part of Apple
       8      14             Even if some alleged misconduct is or plausibly could be characterized as outrageous in

              15   nature, it is not sufficiently connected to Apple as a factual matter or there is net a sufficient legal
        W
       -v-4
       Q      16   basis to hold Apple liable.

              17             For example, as a factual matter, the claims that Apple was responsible for the

              18   bugging/surveillance and breaking into her home are entirely speculative. In the AC, Ms. Gjovik
              19   asserts that "[t]here is no one else except Apple that Plaintiff could plausibly attribute responsibly

              20   for the things that occurred to her since 2020. No one else would have the motive or resources to

              21   do these things, and the harassment was perfectly timed with her conflict with Apple." 5AC 11

              22   295. But again, this is nothing more than speculation.

              23             In some instances, Ms. Gjovik has alleged that misconduct was engaged in by an Apple

              24   employee - e.g., the online harassment. But here, Ms. Gjovik has failed to explain how Apple can
              25   be held legally liable for such conduct. For example, Ms. Gjovik seems to suggest that Apple
              26   actively directed the online harassment, see Opp'n at 21, 23, but no concrete facts are alleged to

              27   support such. There are no specific allegations that the alleged conduct was done at Apple's

              28   behest.
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              1           To the extent Ms. Gjovik relies on respondeat superior as a basis for Apple's liability, the
               2   Court has previously explained that such liability "'should apply only to the type of injuries that as
              3    a practical matter are sure to occur in the conduct of the employer's enterprise. The employment,
               4   in other words, must be such as predictably to create the risk employees will commit intentional

              5    torts of the type for which liability is sought."' Docket No. 112 (Order at 37). In the 5AC, Ms.
               6   Gjovik suggests that the employees' misconduct "was an outgrowth of Apple's corporate culture,
              7    which emphasized silencing internal dissent at all costs." 5AC 11350. However, Ms. Gjovik has

               8   failed to cite any authority indicating that corporate culture could satisfy the requirement that the

              9    challenged conduct be "engendered by the employment." Docket No. 112 (Order at 37) (emphasis

              10   added), see also Lisa M. v. Henry Mayo Nev hall Mem. Hosp., 12 Cal. 4th 291, 297-99 (1995)

              11   (stating that an employer will not be held liable for an "intentional tort that did not have a causal

              12   nexus to the employee's work", e.g., "California courts have ... asked whether the tort was, in a
              13   general way, foreseeable from the employee's duties" or whether "the risk of tortious injury [was]
        cu
       u      14   inherent in the working environment or typical of or broadly incidental to the enterprise [the

              15   employer] has undertaken") (internal quotation marks omitted), Alma W v. Oakland Uni]9ed Sch.
        W
       -v-4
       Q      16   Dist., 123 Cal. App. 3d 133, 142-43 (1981) (stating that "[t]he test is not whether it is foreseeable

              17   that one or more employees might at some time act in such a way as to give rise to civil liability,

              18   but rather, whether the employee's act is foreseeable in light of the duties the employee is hired to

              19   perform") (emphasis in original). The SAC does not contain specific allegations establishing the
              20   requisite causal nexus.
              21          Ms. Gjovik also suggests that Apple could be held liable because it benefitted from the

              22   misconduct (i.e., its corporate goals were furthered), see Opp'n at 23, and/or because it failed to

              23   intervene despite knowledge of employee misconduct. See 5AC W 346, 349, Opp'n at 26.
              24   However, she fails to explain how this could satisfy the level of intent required for an intentional

              25   tort such as IIED. See generally Christensen, 54 Cal. 3d at 903 (stating that one element of an
              26   IIED claim is extreme and outrageous conduct by the defendant with the intention of causing, or

              27   reckless disregard of the probability of causing, emotional distress). Nor does it establish the
              28   required nexus for respondeat superior.
                                                                     21
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              1           Finally, to the extent Ms. Gjovik tries to hold Apple liable for the acts of "Joanna
               2   Appleseed" (i.e., Cher Scarlett), see Opp'n at 28-29, a former colleague who once supported but

              3    no longer supports Mr. Gjovik, the Court noted in a previous order that Ms. Gjovik was relying on

               4   conduct taken after Ms. Scarlett was no longer an Apple employee. See Docket No. 73 (Order at

              5    44). "That being the case, Ms. Gjovik [could not] argue respondeat superior as a basis to hold

               6   Apple liable. And the [then-operative pleading did] not contain any concrete allegations

              7    indicating that, post-employment, Ms. Scarlett was part of some kind of conspiracy with Apple."

               8   Docket No. 73 (Order at 44). The AC does not address these problems. For example, nowhere
              9    in the SAC does Ms. Gjovik clearly point to any alleged misconduct by Ms. Scarlett while she was

              10   still an employee of Apple, nor has Ms. Gjovik alleged any concrete facts suggesting that, when

              11   Ms. Scarlett left Apple, it was some kind of ruse.
              12          The Court, therefore, dismisses the IIED claim based on post-termination conduct, and

              13   with prejudice.
       8      14   E.     Retaliation Claims

              15          In the motion to dismiss, Apple also challenges in part two of the retaliation claims
        W
       -v-4
       Q      16   specifically, the § 1102.5 claim (Count 2) and the § 98.6 claim (Count 4),

              17          1.      Section 1102.5 Claim
       Z'     18          Section 1102.5 is part of the California Whistleblower Act. It provides, in essence, that an

              19   employer shall not retaliate against an employee for disclosing information to the government, or

              20   to a person with authority over the employee, if the employee has reasonable cause to believe that

              21   the information discloses a violation of the law. See Cal. Lab. Code § 1102.5.
              22          In its prior motion to dismiss, Apple argued that, to the extent Ms. Gjovik sought civil

              23   penalties for a violation of § 1102.5, there was a time bar. For civil penalties, there is a one-year

              24   statute of limitations. Since Ms. Gjovik was fired in September 2021, she had to bring suit by

              25   September 2022, however, she did not file suit until September 2023. The Court agreed with

              26   Apple that, as a facial matter, there was a time bar. But it noted that there might be a basis for

              27   equitable tolling under Elkins v. Derby, 12 Cal. 3d 410 (1974) .
              28                  The California Supreme Court has held that, "whenever the
                                                                     22
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                                    exhaustion of administrative remedies is a prerequisite to the
                1                   initiation of a civil action, the running of the limitations period is
                                    toiled during the time consumed by the administrative proceeding."
                 2                  Elkins v. Derby, 12 Cal. 3d 410, 414 (1974). It has also held that,
                                    "regardless of whether the exhaustion of one remedy is a
                3                   prerequisite to the pursuit of another, if the defendant is not
                                    prejudiced thereby, the running of the limitations period is tolled
                 4                  '[w]hen an injured person has several legal remedies and,
                                    reasonably and in good faith, pursues one."' Id., see also id. at 418
                5                   (noting that "this and other courts as well as legislatures have
                                    liberally applied tolling rules or their functional equivalents to
                 6                  situations in which the plaintiff has satisfied the notification purpose
                                    of a limitations statute").
                7

                 8   Docket NO. 112 (Order at 12-13).
                9           The Court therefore dismissed the claim for civil penalties for a violation of § 1102.5 but

                10   gave Ms. Gjovik leave to amend to plead Elkins tolling - i.e., tolling for the period in which she
                11   was pursuing legal remedies in a different forum (e.g., with an administrative agency). See also

          cos   12   Docket No. 112 (Order at 13) (noting that, for Elkins tolling, a plaintiff has to prove "three
     <4 '*
     'S  E
     o <2       13   elements: timely notice, and lack of prejudice, to the defendant, and reasonable and good faith
     u<4 C:O
     .2 u       14   conduct on the part of the plaintiff') (internal quotation marks omitted).
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15          In the pending motion to dismiss, Apple argues that Ms. Gjovik has failed to plead Elkins
     G) 33
     <9
     C7 Q       16   tolling and thus the claim for civil penalties should be dismissed, this time with prejudice. In
     'U   Q
          5-4
      G) G)
     .4II 3     17   evaluating this argument, the Court must first consider whether the AC contains allegations that
      Q   5-1
          O
     D
          z     18   Ms. Gjovik pursued legal remedies in a different forum to address the alleged retaliation against

                19   her (i. e., for disclosing violations of the law). There are such allegations. For example, Ms.

                20   Gjovik alleges that she filed complaints with (1) EPA, California EPA, and the U.S. Department

                21   of Labor, see 5AC 91230, (2) the NLRB, see 5AC 91230, (3) the California Department of Labor

                22   and the U.S. Department of Labor, see SAC 9191230-31, and (4) the U.S. Department of Justice, the

                23   U.S. EEOC, and California DFEH. See SAC ii 233. Although not entirely clear, the complaints

                24   seemed to have included complaints that she was being retaliated against for disclosing violations

                25   of the law.

                26          Although Ms. Gjovik has made reference to various agencies with whom she was pursuing

                27   legal remedies, she expressly asserts equitable tolling based on a filing(s) made with one agency

                28   only, i.e., the California Department of Labor/Department of Industrial Relations:
                                                                       23
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                1                   For California Labor Code §§ 98.6 and 1102.5, any issues with
                                    statute of limitations related to the claims or remedies (i.e.,
                 2                  penalties/fines) are equitably tolled by Plaintiffs timely complaints
                                    sitting in the California Department of Labor queue for years before
                3                   Plaintiff kicked the claims out into this lawsuit. This lawsuit
                                    replaced the California Department of Labor DIR case Ashley
                 4                  Gjovik v Apple Inc, RCI-CM-842830. Plaintiff filed the first claim
                                    on August 29 2021, before Apple terminal[ed] her employment.
                5

                 6   SAC 91205, see also Opp'n at 29 ("Plaintiff filed a complaint with the California Department of

                7    Industrial Relations (DIR) in August 2021, which tolled the statute of limitations for [the §

                 8   ll02.5] claim. The DIR complaint sufficiently put Defendant on notice of Plaintiff" s retaliation
                9    claims, which involved reporting workplace safety violations and environmental hazards.").

                10   Given that Ms. Gjovik is limiting herself to the DIR complaint(s), the Court need not consider

                11   other complaints she made to different agencies for purposes of Elkins tolling.

          cos   12          Ms. Gjovik's allegation above about the DIR complaint(s) is, admittedly, a bit vague.
     'S
     062        13   Although she explicitly refers to one specific complaint (RCI-CM-842830) - made before Apple
     u    :
     <4   CO
     .2 u       14   terminated her employment - she also indicates that she made more than one complaint (e. g. ,
      * 44-4
     4-2
      9 O
     Q O        15   mentioning "timely complaints" and "the first claim"). Given that Ms. Gjovik is pro se, the Court
     on
     G)
          'C
           <4
     <9
     C7 Q       16   does not limit her to solely the one specific complaint identified above. This is especially true
     'U   Q
          5-4
      G) G)
     .4II 3     17   since, in a prior filing made with the Court, located at Docket No. 35-5, Ms. Gjovik provides not
      Q   5-1
          O
     D
          z     18   just the DIR complaint made before she was fired but also the DIR complaint made after she was

                19   fired. The latter complaint has the case number RCI-CM-846638 and was filed on September 29,

                20   2021. The Court will consider both DIR complaints .
                21          Consideration of both of these DIR complaints is important because one of Apple's

                22   arguments is that the first DIR complaint, taken alone, did not give Apple "timely notice" as

                23   required by Elkins. "The timely notice requirement essentially means that the first claim [where
                24   legal remedies were being pursued] must have been filed within the statutory period.

                25   Furthermore[,] the filing of the first claim must alert the defendant in the second claim [i. e., the
                26   lawsuit under consideration] of the need to begin investigating the facts which form the basis for

                27   the second claim." Hopkins v. Kedzierski, 225 Cal. App. 4th 736, 747 (2014) (internal quotation
                28   marks omitted, emphasis added). According to Apple,
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                1                   the August 2021 DIR Complaint did not put Apple on notice to
                                    investigate the facts that form her Section 1102.5 claim. The August
                 2                  2021 DIR Complaint contains a general allegation that Plaintiff was
                                    retaliated against for "rais[ing] concerns about work place safety"
                3                   (see Dkt. 35-5 at 5-7) but does not reference retaliation for
                                    complaining about the myriad alleged violations of the law on which
                 4                  Plaintiffs Section 1102.5 claim relies.
                5    Mot. at 16.

                 6          As noted above, the Court considers whether the timely notice requirement was made

                7    based on both DIR complaints, and not just the first. Below is information about the two

                 8   complaints .

                9                   In the first DIR complaint (RCI-CM-824830), filed in August 2021, Ms. Gjovik

                10                  described the factual basis for her retaliation complaint as follows: "I raised

                11                  concerns about work place safety and was told to stop speaking about my concerns.

          cos   12                  Then I was threatened, harassed, intimidated, suspended, & constructively
     <4 '*
     'S  E
     o <2       13                  terminated." Docket No. 35-5 (ECF Page 6).
     u<4 C:O
     .2 u       14                  In the second DIR complaint (RCI-CM-846638), filed in September 2021, Ms.
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15                  Gjovik described the retaliation as follows:
     G) 33
     <9
     C7 Q       16                  3/17: Raised concerns abt safety at my Superfund office,
     'U   Q
          5-4                       3/22: Told to stop sharing concerns,
      G) G)
     .4II 3     17                  3/29: Reported intimidation to [Employee Relations] & then ER
      Q   5-1
          O                         retaliated,
     D
          z     18                  Apr.: Constructive termination (HWE) by Sr Dir,
                                    Apr.-Jun: Still raising concerns abt safety & also abt sexism &
                19                  retaliation,
                                    July: ER launches 2nd investigation I actually req,
                20                  8/3: Taking pies of safety issues,
                                    8/4: ER suspends me & pressures me to stop organizing with other
                21                  employees,
                                    9/9: Terminated
                22                  9/10: NLRB affidavit abt Apple.
                23   Docket NO. 35-5 (ECF Page 9).

                24          As indicated by the above, the second DIR complaint is more speci]9c and more expansive

                25   than the first, suggesting retaliation for raising concerns about environmental safety specifically

                26   (given the reference to "Superfund") and sex discrimination and for engaging in employee
                27   organization. Given the two DIR complaints, the Court- with certain exceptions - rejects Apple's
                28   contention that the subject matter of the DIR complaint is not fairly coextensive with the subject
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                1    matter of the § 1102.5 claim asserted in this lawsuit. The § 1102.5 claim, as pled in the SAC,
                 2   covers:

                3                   Retaliation related to environmental safety .
                 4                     o 42 U.S.C. §§ 9610, 7622. See Ac 'II 230 & n.45. Section 9610 is an anti-

                5                          retaliation provision in CERCLA: "No person shall fire or in any other way
                 6                         discriminate against, or cause to be fired or discriminated against, any

                7                          employee ... by reason of the fact that such employee or representative has
                 8                         provided information to a State or to the Federal Government, filed,
                9                          instituted, or caused to be filed or instituted any proceeding under this Act,

                10                         or has testified or is about to testify in any proceeding resulting from the
                11                         administration or enforcement of the provisions of this Act." 42 U.S.C. §

          cos   12                         96l0(a). Section 7622 is an anti-retaliation provision in the Clean Air Act:
     <4 '*
     'S  E
     o <2       13                         "No employer may discharge any employee or otherwise discriminate
     u<4 C:O
     .2 u       14                         against any employee with respect to his compensation, terms, conditions,
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15                         or privileges of employment because the employee ..        (1) commenced,
     G) 33
     <9
     C7 Q       16                         caused to be wmmenced, or is about to commence or cause to be
     'U   Q
          5-4
      G) G)
     .4II 3     17                         commenced a proceeding under this Act or a proceeding fer the
      Q   5-1
          O
     D
          z     18                         administration or enforcement of any requirement imposed under this Act

                19                         or under any applicable implementation plan ...." 42 U.S.C. § 7622(a).
                20                     o 29 U.S.C. § 660. Section 660 includes an anti-retaliation provision as part

                21                         of OSHA: "No personal shall discharge or in any manner discriminate
                22                         against any employee because such employee has filed any complaint or
                23                         instituted or caused to be instituted any proceeding under or related to this

                24                         Act or has testified or is about to testify in any such proceeding or because

                25                         of the exercise by such employee on behalf of himself or others of any
                26                         rights afforded by this Act." 29 U.s.c. § 660(c)(l).
                27                     o 8 Cal. Code Reg. § 5194. See SAC 91230. This section requires, inter alia,

                28                         "all employers to provide information to their employees about the
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                 1                         hazardous chemicals to which they may be exposed, by means of a hazard
                  2                        communication program, labels and other forms of warning, safety data

                 3                         sheets, and information and training." 8 Cal. Code Reg. § 5 l94(b)(l). With
                  4                        respect to information and training, the regulation states: "Employers shall
                 5                         provide employees with effective information and training on hazardous

                  6                        chemicals in their work area at the time of their initial assignment, and

                 7                         whenever a new chemical hazard is introduced into their work area." 8 Cal.
                  8                        Code Reg. § 5194(h)(1). This includes informing employees of the right

                 9                         "[a]gainst discharge or other discrimination due to the employee's exercise

                 10                        of the rights afforded pursuant to the provisions of the Hazardous

                 11                        Substances Information and Training Act." Id. § 5194(h)(2)(G)(3).

           cos   12                 Retaliation related to employee organization.
      'S
      062        13                    o NLRA § 8(8)(1)~ See SAC 91230. Title 29 U.S.C. § 158(a)(1) provides that
     u<4   :
           CO
     .2 u        14                        "[i]t shall be an unfair labor practice for an employer - (1) to interfere with,
      9* 44-4
     4-2
          O
     Q O         15                        restrain, or coerce employees in the exercise of the rights guaranteed in
     on 'C
     G) <4
      <9
     C7 Q        16                        section 7." 29 U.S.C. § 158(a)(1). Section 157 in turn provides:
     'U Q 5-4
     3 G)3
     -»-4        17                        "Employees shall have the right to self-organization, to form, join, or assist
     Q     5-1
     D zO        18                        labor organizations, to bargain collectively through representatives of their

                 19                        own choosing, and to engage in other concerted activities for the purpose of

                 20                        collective bargaining or other mutual aid or protection       " Id. § 157.
                 21                 Retaliation related to sex discrimination.
                 22                    o 42 U.S.C. § 2000e and California Government Code § 12920. See SAC 91

                 23                        233. Related employment discrimination statutes contain anti-retaliation
                 24                        provisions. See 42 U.S.C. § 2000e-2(a)(l) ("It shall be an unlawful
                 25                        employment practice for an employer - (1) to fail or refuse to hire or to
                 26                        discharge any individual, or otherwise to discriminate against any
                 27                        individual with respect to his compensation, terms, conditions, or privileges

                 28                        of employment, because of such individual's ... sex ...."), Cal. Gov. Code
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                1                           § 12940(h) ("It is an unlawful employment practice ... (h) For any
                 2                          employer ... to discharge, expel, or otherwise discriminate against any
                3                           person because the person has opposed any practices forbidden under this

                 4                          part or because the person has filed a complaint, testified, or assisted in any

                5                           proceeding under this part.").
                 6          To be sure, in the DIR complaints, Ms. Gjovik did not mention the above laws specifically.

                7    But the "timely notice" requirement in Elkins focuses on whether the factual basis of the first
                 8   claim and second claim are reasonably coextensive. See Hopkins, 225 Cal. App. 4th at 747
                9    (stating that "the filing of the first claim must alert the defendant in the second claim of the need to

                10   begin investigating the facts which form the basis for the second claim") (emphasis added).9 The
                11   DIR complaints give sufficient notice of alleged retaliation based workplace environmental safety

          cos   12   and discrimination concerns expressed by Ms. Gjovik.
     <4 '*
     'S  E
     o <2       13          Notice on other matters is more problematic :
     u<4 C:O
     .2 u       14              (l) Section 1102.5 provides that an employer cannot retaliate because an employee
      * 44-4
     4-2
      9 O
     Q
     on
        _2      15                  discloses to the government or to a person with authority over the employee what
     G) 33
     <9
     C7 Q       16                  the employee reasonably believes to be a law violation. Although the DIR
     'U   Q
          5-4
      G) G)
     .4II 3     17                  complaints suggested that she was retaliated against for presenting concerns about
      Q   5-1
          O
     D
          z     18                  environmental safety and sex discrimination, she claimed she was retaliated
                19                  against for engaging in employee organization - not for disclosing information
                20                  about a law violation related to employee organization.
                21              (2) Ms. Gjovik's § 1102.5 claim includes an allegation that complained to Apple
                22

                23   9 In this regard, an analogy to Title VII can be made. See Syd for v. Fairfax Cry., Va., 681 F.3d
                     591, 594 (4th Cir. 2012) ("[A]n 'administrative charge of discrimination does net strictly limit a
                24   Title VII suit which may follow.' Instead, so long as 'a plaintiffs claims in her judicial complaint
                     are reasonably related to her EEOC charge and can be expected to follow from a reasonable
                25   administrative investigation,' she 'may advance such claims in her subsequent civil suit."'),
                     Freeman v. Oakland Uni]9ed Sch. Dist., 291 F.3d 632, 636 (9th Cir. 2002) ("Although allegations
                26   of discrimination not included in a plaintiffs EEOC charge generally may not be considered by a
                     federal court, subject matter jurisdiction extends over all allegations of discrimination that either
                27   'fell within the scope of the EEOC's actual investigation or an EEOC investigation which can
                     reasonably be expected to grow out of the charge of discrimination."').
                28

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              1                   management about violations of the California Constitution's right to privacy. See
               2                  SAC 91232 (also alleging that she "shared concerns with a report for an advocacy

              3                   article in August 2021 ... and made complaints on social media in August-
               4                  September 2021"). However, neither DIR complaint seems to mention anything
              5                   about privacy rights, let alone retaliation for complaining about a violation of

               6                  privacy rights .
              7           Taking into account all of the above, the Court concludes that, in part, there is not a time

               8   bar for civil penalties under § 1102.5 (at least for purposes of l2(b)(6)). However, there is a time
              9    bar to the extent civil penalties are sought for retaliation based on complaints made about violation

              10   of privacy rights. That was a subject matter not pursued with the DIR. In addition, even though
              11   the DIR complaints did reference retaliation for engaging in employee organization, § 1102.5 only
              12   bars retaliation for disclosing information about law violations. Section 1102.5 concerns
              13   disclosures only. In short, the § 1102.5 claim for civil penalties as pled is not time barred for
        cu
       u      14   alleged retaliation based on disclosing information about law violations related to workplace

              15   environmental safety and sex discrimination, but is barred for alleged retaliation for organizing
        W
       -v-4
       Q      16   Apple employees and violation of her privacy rights .
              17          2.      Section 98.6 Claim
       Z'     18          California Labor Code § 98.6 provides that

              19                  [a] person shall not discharge an employee or in any manner
                                  discriminate, retaliate, or take any adverse action against any
              20                  employee ... because the employee ... engaged in any conduct
                                  delineated in this chapter ... or because the employee ... has filed a
              21                  bona fide complaint or claim ... under or relating to their rights that
                                  are under the jurisdiction of the Labor Commissioner ... or because
              22                  of the exercise by the employee ... on behalf of themselves or
                                  others of any rights afforded them.
              23
                   Cal. Lab. Code § 98.6(a).
              24
                          In the SAC, Ms. Gjovik alleges that Apple violated § 98.6 by retaliating against her for
              25
                   filing her DIR complaint in August 2021. See SAC 91239. She also alleges that Apple violated §
              26
                   986 because it retaliated against her for exercising her rights as provided for in California Labor
              27
                   Code §§ 232, 232.5, and § 96(k>. See SAC 9191243-55.
              28
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                 1               Under § 232(c), "[n]o employer may ... (c) Discharge, formally discipline, or
                  2              otherwise discriminate against an employee who discloses the amount of his or her

                 3               wages." Cal. Lab. Code § 232(c).
                  4              Under § 232.5(c), "[n]o employer may .. . (c) Discharge, formally discipline, or
                 5               otherwise discriminate against an employee who discloses information about the

                  6              employer's working conditions." Id. § 232.5(c).
                 7               Under § 96(k), "[t]he Labor Commissioner ... shall, upon the filing of a claim therefor
                  8              by an employee .. . with the Labor Commissioner, take assignments of .. . (k) Claims
                 9               for loss of wages as the result of demotion, suspension, or discharge from employment

                 10              for lawful conduct occurring during nonworking hours away from the employer's
                                           79
                 11              premises » Id. § 96(k). The SAC indicates that the "lawful conduct occurring during

           cos   12              nonworking hours away from the employer's premises" included Ms. Gjovik
      'S
      062        13              "complaining on social media and to the press" about (1) "unlawful and unethical
     u<4   :
           CO
     .2 u        14              surveillance and invasions of privacy by Apple", (2) "the environmental crimes she
      9* 44-4
     4-2
          O
     Q O         15              witnessed" and suffered in her apartment and office, and (3) Apple's intimidation and
     on 'C
     G) <4
      <9
     C7 Q        16              threats based on her advocacy for crime victim's rights (with Ms. Gjovik also being a
     'U Q 5-4
     3 G)3
     -»-4        17              victim of Apple's crimes). SAC W 252-54.
     Q     5-1
     D zO        18                  a.         Civil Penalties
                 19          For the § 98.6 claim, Apple launches two arguments. The first argument is that, similar to

                 20   above, any claim fer civil penalties is subject to a one-year statute of limitations and thus there is a

                 21   time bar. Apple asserts that Elkins tolling does not apply because the subject matter of the DIR

                 22   complaint in August 2021 does not match the subject matter of the § 98.6 claim.

                 23          Apple's argument has partial merit. First, neither DIR complaint (i. e. , the one in August

                 24   2021 or the one in September 2021) contends that Ms. Gjovik was retaliated against for malting

                 25   the August 2021 complaint. Indeed, it would have been impossible for Ms. Gjovik to contend in

                 26   the August 2021 DIR complaint that she was retaliated against for making that complaint.

                 27          Second, neither DIR complaint mentions "unlawful and unethical surveillance and
                 28   invasions of privacy by Apple" or intimidation and threats based on her advocacy for crime
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              1    victim's rights. SAC W 252, 254.
               2           However, the DIR complaints do mention retaliation because Ms. Gjovik engaged in

              3    employee organization (which Apple plausibly would have known was related to wages) and had

               4   made complaints about environmental safety.
              5           Therefore, the Court grants in part and denies in part the motion to dismiss the claim for

               6   civil penalties for a violation of § 98.6. In short, the § 98.6 claim for civil penalties as pled is not

              7    time barred for alleged retaliation related to employee organization and complaints about

               8   environmental safety but is barred for alleged retaliation related to the August 2021 complaint,

              9    privacy violations, and advocacy for crime victim's rights.

              10                     b.    Section 232 and 232.5 Violations - Apple's Knowledge of Ms. Gjovik's
              11                           Conduct
              12           Apple's second challenge to the § 98.6 claim focuses on Ms. Gjovik's assertion that Apple
              13   retaliated against because she was exercising her rights under §§ 232 and 232.5 (e.g., engaging
        cu
       u      14   with other employees about wages paid by Apple). See SAC9191243-44 (alleging that, in July and

              15   August 2021, Ms. Gjovik participated in a pay survey among coworkers on Slack (where she
        W
       -v-4
       Q      16   suggested that a question should be included about gender) and that, in August 2021, she "openly

              17   discussed her wages on social media and encouraged her coworkers to do the same"). In its prior

              18   order, the Court noted that, for this part of the § 98.6 claim to be viable, there had to be allegations

              19   that Apple knew Ms. Gjovik was engaging in this activity. Without such knowledge, it could not

              20   retaliate against her for engaging in the activity. See Docket No. 112 (Order at 22) ("The §§ 232

              21   and 232.5 claims - to the extent based on disclosure of wages - shall be dismissed but with leave
              22   to amend (i.e., so that Ms. Gjovik can allege knowledge on the part of Apple of the wage

              23   disclosure).").
              24           In the motion to dismiss, Apple argues that Ms. Gjovik has still failed to allege knowledge

              25   on the part of the company of either her participation in pay surveys on Slack or her discussion of

              26   wages on social media. See Mot. at 18 (arguing that Ms. Gjovik "does not allege that Apple (and

              27   certainly not anyone at Apple who would have been in a position to control the terms or conditions

              28   of her employment) krlew about those alleged social media posts"). Ms. Gjovik's opposition brief
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                                                                                                         ERVI 46
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                   Case 3=2£€&6h%¥%c05/9é88%%n95%*W¢83u1058%%7 °I>'a8g%32 of 34




              1    is not particularly helpful in evaluating Apple's argument. The 5AC, however, does contain some
               2   allegations that suggest knowledge on the part of Apple. For example:
              3                 • The timing of events suggest Apple krlew about Ms. Gjovik's activity. In August
               4                    2021, "the day after she shared a post on Slack referencing Apple's policies on
              5                     employees' right to speak freely about wages, hours, and working conditions,"
               6                    Apple placed her on leave. SAC 91245 .

              7                     Apple knew about the survey because it shut the survey down. See AC 91246.
               8                    Presumably, Ms. Gjovik is suggesting that, if Apple knew about the survey, it can

              9                     reasonably be inferred it knew who participated in and/or was involved with the

              10                    survey »
              11                    Apple's shutting down the survey garnered press attention. Presumably, Ms.
              12                    Gjovik is suggesting that, given the publicity ever the survey and its shutdown,
              13                    Apple was likely to know who participated in and/or was involved with the survey.
       8      14             For purposes of l2(b)(6), Ms. Gjovik has alleged enough to support knowledge
              15   particularly based on the first and second bullet points above.
        v-4
              16   F.        Outside Scope of the Amendment
              17             As discussed above, the Court has granted in part Apple's motion to dismiss. Specifically,

       Z'     18   it has:
              19                (l) dismissed the environmental safety claims (private nuisance and IIED based on fear
              20                    of cancer) based on the statute of limitations,
              21                (2) dismissed the IIED claim based on post-termination conduct because the alleged

              22                    misconduct is not outrageous as a matter of law and/or because there is no

              23                    sufficient factual connection to Apple or a legal basis to hold Apple liable, and

              24                (3) dismissed in part the claims for civil penalties for violations of § 1102.5 and § 98.6

              25                    based on the statute of limitations .
              26   The only issue remaining is whether Ms. Gjovik has as claimed by Apple made amendments
              27   outside the scope permitted by the Court.
              28             To the extent Apple argues Ms. Gjovik has made amendments outside the scope related to
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                                                                                                        ERVI 47
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                  Case 3=2£€&6h%¥%c05/9é88%%n95%*W¢83u1058%%8 °I>'a8g%33 of 34




             1    her environmental safety claims or her IIED claim based on post-termination conduct, that
              2   argument is moot. Those claims are dismissed for the reasons stated above.
             3           Apple, however, still contends that Ms. Gjovik made amendments outside the scope

              4   permitted for the § 1102.5 and § 98.6 claims. Here, the only amendment that is problematic is the

             5    following: for the § 98.6 claim related to wage disclosures, Ms. Gjovik alleges in 91246 that she

              6   "shared information and commented on Twitter about an earlier U.S. Department of Justice

             7    lawsuit against Apple for illegal wage-fixing practices." 5AC 11246. That factual allegation is
              8   stricken as wage fixing is a subject matter not implicated in any previous complaint.

             9           The other amendments complained about by Apple, however, present a closer call - e. g.,

             10   new allegations about alleged adverse actions. See Mot. at 6. Although the Court recognizes
             11   Apple's concern i. e., that discovery is dictated by the parameters of the complaint - it is hard to
             12   say that these factual allegations are necessarily improper in this case because, even if not made in
             13   a prior complaint, they are still related to allegations that Ms. Gjovik did make in her prior
        cu
       u     14   complaints. The Court will not dismiss those allegations and shall rely on the good faith of the

             15   parties and/or the rulings of the discovery judge to determine the permissible scope of discovery.

             16   G.     Motion to Amend (Docket No. 155)

             17          Now that the Court has resolved the motion to dismiss, it turns to Ms. Gjovik's motion to

             18   amend. The Court previously stayed briefing and a hearing on the motion to amend so that it

             19   could address first the motion to dismiss.

             20          The Court has reviewed the motion to amend. Ms. Gjovik seeks to:

             21                  Add claims that the Court previously dismissed with leave to amend but Ms.

             22                  Gjovik did not amend. This includes: the RICO claim, the Bane Act claim, the
             23                  Ralph Act claim, and the claim for nuisance per se.

             24                  Replead claims that the Court previously dismissed with prejudice because she

             25                  purportedly has new support. This includes: the claim for ultrahazardous activity

             26                  and the part of the § 1102.5 claim related to privacy.

             27                  Add new facts about the Gobbler application (related to privacy). She indicates

             28                  this will strengthen one of her IIED claims because Apple has engaged in "revenge
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                                                                                                     ERVI 48
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                   Case 3=2£€&6h%¥%c05/9é88%%n95%*W¢83u1058%%9 °I>'a8g%34 of 34




              1                     porn."
               2                    "Revise" her vicarious liability theory.
              3    At the hearing, the Court stated that it was not inclined to allow any further amendment because

               4   Ms. Gjovik is already on her SAC and the pleadings in this case need to be settled SO that the

              5    litigation can proceed. Nothing in Ms. Gjovik's motion to amend alters the Court's initial views.
               6   Ms. Gjovik has had ample multiple opportunities to plead her claims. No further amendment shall

              7    be allowed absent Court order. Accordingly, the Court hereby DENIES the motion for leave to

               8   amend .

              9                                           III.      CONCLUSION
              10             For the foregoing reasons, the motion to dismiss is granted in part and denied in part.

              11   Based on the Court's rulings, Ms. Gjovik's case is essentially a retaliation case (Counts l, 2, 3,
              12   and 4). Apple did not challenge Counts l and 3. Counts 2 and 4 have been limited with respect to
              13   civil penalties - i. e., the claims for civil penalties are partially time barred.
       8      14           This order disposes of Docket Nos. 145 and 155.

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              16             IT IS S0 ORDERED.
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              18   Dated: February 27, 2025

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              21                                                        Unite'offrates District Judge
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             4                                   UNITED STATES DISTRICT COURT

            5                                   NORTHERN DISTRICT OF CALIFORNIA

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            7      ASHLEY M GJOV1K,                                   Case NO. 23-cv-04597-EMC
             8                     Plaintiff,
                                                                      ORDER DENYING PLAINTIFF'S
            9               v.                                        MOTION TO DISQUALIFY
            10     APPLE INC,
                                                                      Docket Nos. 156
            11                     Defendant.
            12
            13
       8    14          Currently pending before the Court is Ms. Gjovik's motion to disqualify defense counsel,

            15   the Orrick law firm. Having considered the papers submitted, the Court finds the matter suitable

       5    16   for disposition on the papers. The hearing on the motion is therefore VACATED. Ms. Gjovik's

            17   motion to disqualify is DENIED .

       Z'   18                                         1.       DISCUSSION

            19   A.     Legal Standard

            20                   "The right to disqualify counsel is a discretionary exercise of the
                                 trial court's inherent powers." Under the Civil Local Rules of the
            21                   Northern District of California, all attorneys who practice in the
                                 Northern District must comply with the standards of professional
            22                   conduct required of members of the State Bar of California. Thus,
                                 motions to disqualify counsel are decided under state law.... Under
            23                   California law, the issue of disqualification "ultimately involves a
                                 conflict between the clients' right to counsel of their choice and the
            24                   need to maintain ethical standards of professional responsibility."
            25   Del Campo v. Mealing, C 01-21151 JW, 2011 U.S. Dist. LEXIS 158019, at *6-8 (N.D. Cal. Sept.

            26   29, 2011). In considering a motion to disqualify, a court must bear in mind "'the preservation of

            27   public trust in the scrupulous administration of justice and the integrity of the bar."' Id. at *8. On

            28   the other hand, a court must also take into account that motions to disqualify are often tactically

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              1    motivated, thus, in and of themselves, they can be a threat to the integrity of the judicial process

               2   they purport to protect. See Visa U.S.A., Inc. v. First Data Corp., 241 F. Supp. 2d 1100, 1103-

              3    1104 (N.D. Cal. 2003). For this reason, motions to disqualify are often considered a drastic

               4   measure, are disfavored, and are subject to close scrutiny. See id.

              5    B.     Basis for Disqualification

               6          In her motion, Ms. Gjovik identifies multiple grounds on which to disqualify Orrick. They
              7    include the following: (1) Orrick has repeatedly harassed her online, (2) Orrick is a fact witness

               8   because its harassment was part of Apple's retaliation against her, (3) Orrick is also a fact witness

              9    because Apple knowingly misrepresented to Ms. Gjovik that there were no other complaints

              10   lodged against one of her supervisors but Orrick knew this was not true based on its representation

              11   of Apple in a different lawsuit, (3) Orrick has either conspired with or coerced Cher Scarlett,

              12   another former Apple employee, to harass Ms. Gjovik (e.g., when Ms. Scarlett filed a restraining

              13   order suit against Ms. Gjovik), (4) Orrick advised Apple on her termination and further has
        cu
       u      14   concealed that Ms. Scarlett played a role in the retaliation against and/or termination of Ms.

              15   Gjovik, (5) Orrick has engaged in additional conduct that has obstructed discovery (e.g., through
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       -v-4
       Q      16   blanket assertions of privilege), (6) Orrick lacks competence in environmental and privacy law

              17   and is improperly trying to dismiss her environmental and privacy claims, and (7) there was a data

              18   breach at Orrick that may have compromised Ms. Gjovik's private information.

              19          None of the grounds, whether considered individually or collectively, warrants

              20   disqualification. For example, it is sheer speculation on the part of Ms. Gjovik that Orrick has

              21   been part of the online harassment and/or that Orrick has conspired with or coerced Ms. Scarlett.

              22   See, e.g., Mot. at 5-7 (arguing that Orrick must have been part of the online harassment because

              23   online attacks increased after Orrick first made an appearance in her whistleblower retaliation case

              24   with the U.S. Department of Labor and after Orrick suffered legal setbacks in other employment

              25   cases where they represented Apple), Mot. at 6, 11 (suggesting that Orrick and Ms. Scarlett were

              26   colluding because Orrick obtained a copy of Ms. Scarlett's restraining order against Ms. Gjovik

              27   "on the same day [it] filed Apple's position statement with the Department of Labor" and because

              28   Orrick used an email from Ms. Scarlett to justify Ms. Gjovik's termination).
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             1           To the extent Ms. Gjovik argues that Orlick has engaged in discovery misconduct (e.g.,
              2   concealing the role of Ms. Scarlett and making blanket assertions of privilege), that is a matter that

             3    should first be raised in the first instance with the magistrate judge presiding over discovery

              4   matters. There has been no finding by the magistrate judge assigned to handle discovery in this

             5    case that Orrick has engaged in abusive conduct in the handling of discovery.1
              6          Ms. Gjovik's contention that Orlick is a fact witness lacks merit. As noted above, her
             7    assertion that Orlick has been part of the harassment against her is entirely unfounded. As for

              8   Apple's allegedly false statement that no complaints had ever been made against one of her
             9    supervisors, that is something that Ms. Gjovik should be able to prove, if untrue, through an Apple

             10   employee, not its counsel. Furthermore, as Orrick points out, the fact that it purportedly learned

             11   information through its representation of Apple does not make it a fact witness.

             12          Finally, Ms. Gjovik's arguments of Orrick incompetence and a data breach at the firm as a

             13   basis for disqualification have no support.
       8     14                                        II.      CONCLUSION
             15          For the foregoing reasons, the motion to disqualify is denied.
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             16          This order disposes of Docket No. 156.
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       Z'    18          IT IS S0 ORDERED.
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             20   Dated: February 24, 2025
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             23                                                         offrates District Judge
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             27
                  1 At the time Ms. Gjovik filed her motion to disqualify, she had net filed any motion for relief with
             28   the magistrate judge. Ms. Gjovik did net file any motions with the magistrate judge until some ten
                  days later.
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                                               OFFICE OF THE CLERK
                                           UNITED STATES DISTRICT COURT
                                              Northern District of California

                                                      CIVIL MINUTES

            Date: February 21, 2025                 Time: 9:16-9:52                 Judge: EDW ARD M. CHEN
                                                    36 minutes

            Case No.: 3:23-cv-04597-EMC             Case Name: Gjovik V. Apple Inc.

            Pro Se Plaintiff: Ashley Gjovik
            Attorney for Defendant: Melinda Riechert

            Deputy Clerk: Vicky Ayala                               Court Reporter: Beth Krupa

                                                       PROCEEDINGS

            Motion to Dismiss Portions of Plaintiff' s 5th Amended Complaint. - Held.
            Further Case Management Conference - Not held.


                                                         SUMMARY

            Parties stated appearances (Plaintiff appeared via Zoom) Oral argument presented. Matter taken under
            submission.




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             4                                    UNITED STATES DISTRICT COURT

             5                                   NORTHERN DISTRICT OF CALIFORNIA

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             7      ASHLEY M GJOVIK,                                      Case NO. 3:23-cv-04597-EMC (KAW)
             8                      Plaintiff,                            ORDER TERMINATING PLAINTIFF'S
                                                                          UNILATERAL DISCOVERY LETTERS
             9               v.
                                                                          Re: Dkt. Nos. 162-165
             10     APPLE INC,
             11                     Defendant.

             12
             13           On February 11, 2025, Plaintiff filed four discovery letter briefs. (Dkt. Nos. 162-165.) The
       go
       u     14   undersigned, however, does net entertain unilateral discovery letters. Instead, the parties are

             15   required to meet and confer and file joint discovery letters to address pending discovery disputes
       v-4
             16   in accordance with the Court's Standing Order. (Judge Westmore's General Standing Order 1191 13-

             17   14, http://cand.uscourts. gov/kaworders.)

       Z'    18           Accordingly, Plaintiff" s four unilateral discovery letters are TERMINATED, and the

             19   parties are ordered to meet and confer to resolve all pending disputes without court intervention.

             20   If those efforts fail to fully resolve all issues of contention, the parties shall jointly write and file a
             21   letter outlining any remaining disputes consistent with the Court's Standing Order.
             22           This resolves Dkt. Nos. 162, 163, 164, and 165.
             23           IT IS SO ORDERED.
             24   Dated: February 19, 2025
             25
                                                                             <M (U141344
                                                                           ;*'A pls A. WES-TMORE
             26                                                            United States Magistrate Judge

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               4                                   UNITED STATES DISTRICT COURT

              5                                   NORTHERN DISTRICT OF CALIFORNIA

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              7      ASHLEY M GJOVIK,                                    Case NO. 23-cv-04597-EMC
               8                     Plaintiff,
                                                                         ORDER GRANTING DEFENDANT'S
              9               v.                                         ADMINISTRATIVE MOTION TO
                                                                         STAY; AND DENYING PLAINTIFF'S
              10     APPLE INC,                                          ADMINISTRATIVE MOTION TO
                                                                         STAY
              11                     Defendant.
              12                                                         Docket Nos. 158-59
              13
       <3     14          Currently pending before the Court are two administrative motions, one filed by Apple and
              15   one filed by Ms. Gjovik. In its motion, Apple asks the Court to stay briefing and the hearing on
        W
       -v-4
       Q      16   Ms. Gjovik's recently filed motion to amend until after the Court resolves Apple's motion to
              17   dismiss (which is fully briefed and set to be heard on February 21, 2025).1 In her motion, Ms.
              18   Gjovik asks the Court to stay the hearing on Apple's motion to dismiss until after the Court
              19   resolves her recently filed motion to amend, as well as her recently filed motion to disqualify
              20   defense cQunsel.2
              21           Having considered the papers submitted, the Court hereby GRANTS Apple's motion and
              22   DENIES Ms. Gjovik's. There is no principled reason to defer the hearing on Apple's motion to
              23   dismiss and to entertain Ms. Gjovik's motion to amend first. Indeed, it makes sense to defer
              24   hearing on the motion to amend because how the Court rules on the motion to dismiss may inform
              25

              26
                   1 Apple originally noticed the motion for a hearing on February 13 but the Court sua sponte
              27   rescheduled the hearing for February 21.

              28   2 To be clear, in its motion for relief, Apple does not ask for a stay for the motion to disqualify,
                   only fer the motion to amend.
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             1    the motion to amend. Ms. Gjovik is not prejudiced by this sequencing. To the extent there may
              2   be some overlap in issues between the motion to dismiss and the motion to amend, Ms. Gjovik

             3    could (and should) have flagged those issues in her opposition to the motion to dismiss which she

              4   filed on January 21 and 22, 2025, i.e., only 9-10 days before she filed her motion to amend.

             5           As for Ms. Gjovik's request that her motion to disqualify be heard before the motion to
              6   dismiss, there is no need to do so. In her motion to disqualify, Ms. Gjovik contends, inter alia,
             7    that defense counsel is a fact witness and that defense counsel has conducted itself inappropriately

              8   in discovery. These have no impact on the motion to dismiss which focuses on the allegations

             9    made in the operative fifth amended complaint ("5AC").

             10          Accordingly, the Court grants Apple's motion to stay but denies Ms. Gjovik's. The motion
             11   to dismiss shall proceed for a hearing on February 21, 2025. The briefing schedule and hearing
             12   date for the motion to amend is temporarily VACATED. The briefing schedule and hearing date
             13   for the motion to disqualify remains as is.
       <3    14          This order disposes of Docket Nos. 158 and 159.

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             16          IT IS S0 ORDERED.
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             18   Dated: February 5, 2025

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                                                                   EDW'Z__,_, -.-. CHEN
             21                                                    United States District Judge
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              4                                     UNITED STATES DISTRICT COURT

              5                                    NORTHERN DISTRICT OF CALIFORNIA

              6
              7      ASHLEY M GJOV1K,                                    Case NO. 23-cv-04597-EMC
              8                       Plaintiff,
                                                                         ORDER DENYING PLAINTIFF'S
              9                 v.                                       MOTION TO STAY
              10     APPLE INC,
                                                                         Docket No. 117
              11                      Defendant.

              12
              13
       8      14             Currently pending before the Court is Plaintiff" s motion to stay proceedings pending her
              15   appeal of an interlocutory order issued by this Court. The motion to stay is DENIED. The Ninth
        W
       -v-4
       Q      16   Circuit has dismissed Plaintiff's appeal for lack of jurisdiction. See Docket No. 124 (Order at l)
              17   (stating that the "order challenged in the appeal is not final or appealable"). Although Plaintiff has
              18   moved for reconsideration of the Ninth Circuit's dismissal order, to date, she has not received any
              19   relief.
              20
              21             IT IS SO ORDERED.
              22
              23   Dated: December 4, 2024

              24
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              26                                                      Unite'ofrates District Judge
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              28

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              4                                  UNITED STATES DISTRICT COURT

             5                                  NORTHERN DISTRICT OF CALIFORNIA

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             7      ASHLEY M GJOV1K,                                  Case NO. 23-cv-04597-EMC
              8                    Plaintiff,
                                                                      ORDER DENYING PLAINTIFF'S
             9              v.                                        MOTION FOR LEAVE TO FILE
                                                                      MOTION FOR RECONSIDERATION
             10     APPLE INC,
             11                    Defendant.                         Docket NO. 139
             12

             13
       8     14          Previously, the Court denied Apple's motion for involuntary dismissal, however, it also

             15   sanctioned Ms. Gjovik by striking her fifth amended complaint ("5AC") for failure to comply with

       5     16   Court orders. The Court gave Ms. Gjovik leave to file a new SAC so long as it complied with the

             17   Court's orders. Now pending before the Court is Ms. Gjovik's motion for leave to file a motion to

       z(J   18   reconsider.

             19          The motion for leave is DENIED. Ms. Gjovik has failed to establish that she should be

             20   given leave pursuant to Civil Local Rule 7-9(b).

             21          Furthermore, even if the Court were to permit Ms. Gjovik to file her proposed motion to

             22   reconsider, it is not persuasive on the merits. For example, Ms. Gjovik argues that her formatting

             23   changes were not made in bad faith because Civil Local Rule 3-4(c) applies only to manual filings,

             24   not electronic filings. At best, Ms. Gjovik's argument has merit with respect to her failure to use

             25   numbered lines.l See Civ. L.R. 3-4(c)(l) ("Papers presented for manual filing must be on 8% inch

             26   by II inch white paper with numbered lines ...."). However, the requirement of no more than 28

             27

             28   1 To be clear, the Court did not take issue with Ms. Gjovik's failure to use numbered lines per se.
                  The problem was that Ms. Gjovik narrowed margins by dropping the use of numbered lines.
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                  1    lines per page is not so restricted. See Civ. L.R. 3-4(c)(2) ("Text must appear on one side only and
                   2   must be double-spaced with no more than 28 lines per page .. ."). Furthermore, under Ms.
                  3    Gjovik's position, page limits would be meaningless because formatting requirements in the Civil

                   4   Local Rules could be entirely ignored for electronic filings. Cf. Wilson v. Citizens Ins. Co. of Am.,

                  5    No. 1:13-CV-470, 2014 U.s. Dist. LEXIS 148277, at *2-3 (M.D.N.C. Oct. 17, 2014) (taking note

                   6   of Local Rule imposing formatting requirements - e.g., spacing, font size, number of lines of text,
                  7    "[t]he purposes of these requirements are obvious: to allow the Court to read the brief without

                   8   undue eye strain or format distractions and to insure that litigants do not avoid page limits through

                  9    creative but inappropriate font variation or spacing").
                  10          The Court also notes that Ms. Gjovik's repeated complaints about a page limit on her

                  11   pleading fall flat. It is not uncommon for courts to impose page limits, even for pleadings. See,
                  12   e.g., Sullivan v. Graham, No. 23-3153, 2024 U.S. App. LEXIS 11968, at *9 (loth Cir. May 17,
     <4 .3
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    u<4 :
                  13   2024) (in case where pro se plaintiff claimed, e.g., conspiracy and fraud involving forty
            CO
    .2 u          14   defendants, rejecting plaintiff" s challenge to imposition of 50-page limit on his amended
     * 44-4
     4-2
     on
    -v-4
         O
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         O        15   complaint), Lewis v. Fla. Dep 't of Corr., 739 Fed. Appx. 585, 585-86 (l lth Cir. 2018) (rejecting
    on
    G)     33
    <4      on
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    U)
           Q      16   plaintiff" s contention that Local Rule limiting pro se civil rights complaints to 25 pages was
    'U
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     G)     G)
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    -»-4   35-1   17   unconstitutional as applied in his case), Lamon v. Ellis, 584 Fed. Appx. 514, 515 (9th Cir. 2014)
     Q
    D       O
           z      18   (in pro se § 1983 case, holding that "district court's page limitation was consistent with Federal

                  19   Rule of Civil Procedure 8(a)(2)"), Bittaker v. Rushen, No. 92-15375, 1992 U.S. App. LEXIS
                  20   28517, at *2-4 (9th Cir. Oct. 29, 1992) (in pro se case, affirming involuntary dismissal because
                  21   plaintiff" s pleading exceeded the 40-page limit imposed by the district court and failed to comply

                  22   with Rule 8), Martinez v. Parks, No. 1:21-cv-1496-ADA-CDB (PC), 2023 U.S. Dist. LEXIS
                  23   88558, at *1 (E.D. Cal. May 19, 2023) (in pro se § 1983 case, reaffirming decision to limit
                  24   plaintiff to a 25-page complaint), see also E.D. Tex. L.R. CV-3 (imposing 30-page limit on habeas
                  25   petitions in non-death penalty cases and 100-page limit in death penalty cases), of Blakely v.

                  26   Wells, 209 Fed. Appx. 18, 20 (2d Cir. 2006) (holding that lower court "acted within the bounds of

                  27   permissible discretion in dismissing the second amended complaint for noncompliance with Rule

                  28   8(a), "[t]he pleading, which spanned 57 pages and contained 597 numbered paragraphs, was far
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                                                                                                          ERVI 65
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              1    from short or plain"). As the Court has stated before, nothing about this case suggests that Ms.

               2   Gjovik should not be able to file a pleading in compliance with Rule 8 even if limited to 75 pages.

              3           Finally, the Court acknowledges that Ms. Gjovik has refiled a SAC which, as a facial

               4   matter, is 75 pages. See Docket No. 138 (SAC). Ms. Gjovik indicates that this complaint is

              5    largely the same as the stricken 5AC, "most changes were merely abbreviations and slight

               6   rewording." Docket No. 139-1 (Prop. Mot. at 2). The Court has not fully examined the new 5AC
                                                                                                                         79
              7    but notes that abbreviations include using: "Pl." instead of "Gjovik", "&" instead of "and", "en.
               8   instead of "environmental", "gov." instead of "government", "discrim." instead of
              9    "discrimination", and "admin." instead of "administrative." Although the Court is not prejudging
              10   the matter, it advises Ms. Gjovik that it will not look favorably on the use of abbreviations if so

              11   extensive as to constitute an attempt to effect an end-run around page limitations. See, e.g.,

              12   Doubleday Acquisitions LLC v. As, No. l:2l-cv-03749-SCJ, 2022 U.S. Dist. LEXIS 238573, at

              13   *15 (N.D. Ga. July l, 2022) (ordering that "the parties shall use the default double spacing of
        cu
       u      14   Word or another word processing program and shall not use exact spacing or other technical

              15   workarounds to avoid the letter and spirit of this District's formatting requirements and page
        W
       -v-4
       Q      16   limitations") (emphasis added). Thus, the Court reiterates for Ms. Gjovik's benefit that she has
              17   until November 26, 2024, to file a 5AC that complies with the Court's orders.
       Z'     18          This order disposes of Docket No. 139.

              19
              20          IT IS S0 ORDERED.
              21
              22   Dated: November 20, 2024
              23

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              25                                                     Unite'sorates District Judge
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                                                                                                      ERVI 66
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               4                                   UNITED STATES DISTRICT COURT

              5                                   NORTHERN DISTRICT OF CALIFORNIA

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              7      ASHLEY M GJOV1K,                                   Case NO. 23-cv-04597-EMC
               8                     Plaintiff,
                                                                        ORDER DENYING DEFENDANT'S
              9                v.                                       MOTION TO DISMISS; AND FINDING
                                                                        DEFENDANT'S MOTION TO
              10     APPLE INC,                                         SHORTEN TIME MOOT
              11                     Defendant.
                                                                        Docket Nos. 131-32
              12

              13
       8      14            Currently pending before the Court is Apple's motion for an involuntary dismissal
              15   pursuant to Federal Rule of Civil Procedure 4l(b). Rule 4l(b) provides that, "[if] the plaintiff fails
        W
       -v-4
       Q      16   to prosecute or to complete with these rules or a court order, a defendant may move to dismiss the

              17   action or any claim against it." Fed. R. Civ. P. 4l(b) (also providing that a dismissal under
       Z'     18   "subdivision (b) ... operates as an adjudication on the merits" "[u]nless the dismissal order states
              19   otherwise"). Apple argues that involuntary dismissal is appropriate because Ms. Gjovik has failed
              20   to comply with this Court's orders - specifically, (l) she failed to timely file her fifth amended
              21   complaint ("5AC") and (2) the length of the 5AC exceeds 75 pages, which is the limit that the
              22   Court placed on the amended pleading. See Docket No. 112 (Order at 41), Docket No. 123 (Order
              23   at 3).

              24            The Court agrees with Apple that Ms. Gjovik has failed to comply with its orders. First,
              25   the SAC was due on November 5, 2024. See Docket No. 123 (Order at l-2). Ms. Gjovik had five
              26   weeks to file the pleading. Initially, the Court gave her four weeks to amend but, subsequently,
              27   gave her an extension of one additional week.

              28            During those five weeks, Ms. Gjovik made several filings with this Court as well as with

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                 1    the Ninth Circuit. See, e.g., Docket Nos. 115, 117 (motions filed with this Court), Docket Nos.
                  2   114, 125 (filings made with the Ninth Circuit). However, she did not file her SAC on November

                 3    5, nor did she ask this Court for an extension of time beyond November 5.

                  4           Instead, on November 6, 2024, at about 10:00 a.m., Ms. Gjovik filed a notice, in which she

                 5    (1) "apologize[d] fer the delay" in filing the SAC, (2) attributed the delay to PTSD and anxiety

                  6   symptoms1, and (3) "committed to filing the SAC by midnight." Docket No. 127 (notice).
                 7    Although Ms. Gjovik did not file the SAC by midnight as promised, she did file the pleading at

                  8   about 7:30 a.m. See Docket No. 128 (SAC). Thus, altogether, the SAC was untimely filed by
                 9    more than a day .

                 10           Second, the SAC is not limited to 75 pages in length as previously ordered by the Court.

                 11   To be sure, as a facial matter, the pleading appears to be only 74 pages. However, as Apple points

           cos   12   out, Ms. Gjovik manipulated the formatting on the pleading to achieve this result - i. e., she
     'S
     062         13   circumvented the page limit by including 31 lines of text per page (instead of 28 as required by
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    .2 u         14   Civil Local Rule 3-4(c)(2)) and narrowing page margins (i. e., by omitting numbered lines, which
     9* 44-4
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         O
    Q O          15   is the practice in this District and which is consistent with Civil Local Rule 3-4(c)(l)). Apple
    on 'C
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    C7 Q         16   estimates that, without manipulation, the SAC would be approximately 80 pages of text. See Mot.
    'U Q 5-4
    3 G)3
    -»-4         17   at 4.
     Q     5-1
    D zO         18           In her papers, Ms. Gjovik does not dispute that her SAC has more lines of text per page

                 19   than permitted, nor does she dispute that the margins were narrowed (including through the

                 20   sacrifice of the use of numbered lines). She argues, however, that any formatting changes were

                 21   not done in bad faith to evade page limits. See Opp'n at 4. The Court rejects this argument and
                 22   finds that the formatting changes were intentionally made and in bad faith. Ms. Gjovik claims that

                 23   she began to make new formatting changes beginning in July 2024 - i.e., well before the Court

                 24   allowed her to file a SAC. See Opp'n at 4 (claiming to be "following the Typography for Lawyers
                 25

                 26
                      1 See Docket No. 127 (notice) (referring to (a) "PTSD and anxiety symptoms, which have
                 27   worsened significantly while having to remove critical parts of my lawsuit [which] represent
                      events in my life which previously caused my severe emotion[al] distress when they occurred
                 28   originally" and (b) "PTSD symptoms due [to] the requirement of publicly detailing my IIED
                      claims while being harassed by the Defendant and certain non-parties about those events").
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                1    guidebook and typeface"). But even if Ms. Gjovik made some formatting changes starting in July
                 2   2024, see Opp'n at 5-6 (providing examples), those changes did not include 31 lines of text per

                3    page. Furthermore, in instances in which she did not use numbered lines, the margins did not

                 4   appear to be narrowed as they have been with the Ac.2
                5            The question for the Court, however, is whether Ms. Gjovik's violations of its orders

                 6   warrant a dismissal. To be clear, Apple asks only for an involuntary dismissal of claims that the
                7    Court allowed Ms. Gjovik to amend in her SAC. See Mot. at 4 (arguing that "[t]he Court should

                 8   dismiss the 5AC with prejudice, leaving only the claims not dismissed in the 4AC"). The Court
                9    holds that this relief is not appropriate.

                10           The fact that Ms. Gjovik filed her complaint late is of less consequence, particularly as Ms.

                11   Gjovik notified the Court on November 6, 2024, that she intended to file the SAC and then did so

          cos   12   the following day.3 See Applied Underwriters, Inc. v. Liehtenegger, 913 F.3d 884, 890 (9th Cir.
     'S
     062        13   2019) (stating that, "'[w]hen a district court dismisses an action because the plaintiff has not filed
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    .2 u        14   an amended complaint after being given leave to do so and has not notified the court of his
     * 44-4
    4-2
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    Q O         15   intention not to file an amended complaint, we may deem the dismissal to be for failure to comply
     on
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    C7 Q        16   with a court order based on Federal Rule of Civil Procedure 4l(b)"') (emphasis added). The more
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    .4II 3      17   problematic conduct by Ms. Gjovik was her failure to comply with the Court's limit on page
     Q    5-1
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          z     18   length for her amended pleading.

                19           In assessing whether to dismiss under Rule 4l(b), a court typically considers the following
                20   five factors: "'(l) the public's interest in expeditious resolution of litigation, (2) the court's need to
                21   manage its docket, (3) the risk of prejudice to the defendants, (4) the public policy favoring

                22   disposition of cases on their merits, and (5) the availability of less drastic alternatives."' Id. (also
                23

                24   2 Ms. Gjovik criticizes Apple for engaging in improper formatting conduct in other cases. Those
                     other cases are irrelevant. Ms. Gjovik has not pointed to any improper formatting conduct by
                25   Apple in this case.

                26   3 To be clear, the Court does not condone the untimely filing, especially as it had already given her
                     a one-week extension to file the AC. See Docket No. 123 (Order at 2). Ms. Gjovik risks being
                27   sanctioned if she continues to make late filings. While a filing that is not unduly late may not be
                     so prejudicial to the opposing party as to warrant severe sanctions, a pattern or practice of late
                28   filings is a different matter. Apple suggests that Ms. Gjovik has already engaged in such a pattern
                     or practice. See Reply at l. However, Ms. Gjovik is now on notice that there are consequences.
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             1    referred to as the Yourish factors). Although some of these factors may weigh in Apple's favor,
              2   the Court concludes that, overall, the dismissal sought by Apple is too extreme a sanction - at least

             3    at this juncture of the proceedings. That being said, a sanction of some kind is warranted.

              4   Specifically, the Court sanctions Ms. Gjovik by striking the SAC at Docket No. 128 from the

             5    record. The Court shall permit Ms. Gjovik to file a new AC by November 26, 2024, that
              6   pleading must comply with the Court's prior orders regarding the scope of the permitted

             7    amendment and is still subject to the 75-page limit. If Ms. Gjovik does not timely file the 5AC
              8   and/or files a pleading that subverts the 75-page limit imposed by the Court, she risks the

             9    imposition of a more severe sanction - including the severest sanction of dismissal. After Ms.

             10   Gjovik files the new SAC, Apple shall then until January 7, 2024, to file its response to the
             11   amended pleading.
             12          Accordingly, for the reasons stated above, the Court DENIES Apple's motion for
             13   involuntary dismissal. However, this ruling does not preclude Apple from moving for such relief
       8     14   in the future, if and when appropriate. In light of the Court's ruling herein, Apple's motion for
             15   shortened time is moot.
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             16          This order disposes of Docket Nos. 131 and 132.

             17
       Z'    18          IT IS S0 ORDERED.
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             20   Dated: November 19, 2024

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                                                                                  v____      1-.Ill-_
                                                                                  District Judge
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             4                                   UNITED STATES DISTRICT COURT

             5                                  NORTHERN DISTRICT OF CALIFORNIA

             6

             7      ASHLEY M GJOV1K,                                    Case NO. 23-cv-04597-EMC
             8                     Plaintiff,
                                                                        ORDER DENYING PLAINTIFF'S
             9                v.                                        MOTION FOR EXTENSION
            10      APPLE INC,
                                                                        Docket No. 115
            11                     Defendant.

            12

            13
       8    14           Now pending before the Court is Plaintiff" s motion for an extension of time. Plaintiff asks

            15    that she be given more time to file an amended complaint. The current deadline for that filing is

       5    16    October 29, 2024. See Docket No. 112 (Order at 41). She argues that an extension is appropriate

            17    because she has appealed the Court's most recent 12(b)(6) order, see Docket No. 113 (notice of

            18    appeal), and the Ninth Circuit is likely to rule in her favor. She also notes that she has filed a

            19    motion to stay proceedings altogether in this Court pending her appeal before the Ninth Circuit.

            20           Having considered the parties' briefs as well as all other evidence of record, the Court

            21    hereby DENIES Plaintiffs motion. The motion is denied because, even though Plaintiff has an

            22    appeal pending before the Ninth Circuit, it is unlikely that the Ninth Circuit has jurisdiction over

            23    the appeal. "The courts of appeals .. shall have jurisdiction of appeals from all#al decisions of

            24    the district courts of the United States .. " 28 U.S.C. § 1291 (emphasis added). "[A] final

            25    decision 'ends the litigation on the merits and leaves nothing for the court to do but execute the

            26    judgment." Hall v. Hall, 584 U.S. 59, 64 (2018) (adding that "[t]he archetypal final decision is

            27    'one[ ] that trigger[s] the entry of judgment"'), see also Moore's Fed. Prac. - Civ. § 202.02

            28    (noting that courts have construed the term "final decisions" to mean final judgments), United

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              1    States v. Allahyari, 99 F.4th 486, 491 (9th Cir. 2024) (stating that finality must be given a practical

               2   construction and "a judgment will be deemed final 'if it fully adjudicates the issues and clearly

              3    evinces the district court's intention that it be that court's final act in the matter"'). Here, the
               4   Court's l2(b)(6) order did not end the case in its entirety as there are still claims remaining in the
              5    case that have not been dismissed as well as claims that the Court has allowed Plaintiff to amend.

               6   of. Fed. R. Civ. P. 54(b) ("[A]ny order or other decision . .. that adjudicates fewer than all the

              7    claims or the rights and liabilities of fewer than all the parties does not end the action as to any of

               8   the claims or parties and may be revised at any time before the entry of a judgment adjudicating all

              9    the claims and all the parties' rights and liabilities.").

              10           Furthermore, although 28 U.S.C. § 1292 allows for appeals of interlocutory orders in some

              11   instances, such appeals are very limited in nature. See, e.g., Carson v. Am. Brands, 450 U.S. 79,

              12   84 (1981) (stating that, "[f]or an interlocutory order to be immediately appealable under § 1292

              13   (a)(1), however, a litigant must show more than that the order has the practical effect of refusing
       8      14   an injunction[,] [b]ecause § 1292 (a)(1) was intended to carve out only a limited exception to the

              15   final-judgment rule, we have construed the statute narrowly to ensure that appeal as of right under
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       -v-4
       Q      16   § 1292 (a)(1) will be available only in circumstances where an appeal will further the statutory

              17   purpose of '[permitting] litigants to effectually challenge interlocutory orders of serious, perhaps

              18   irreparable, consequence"').

              19           Because it is unlikely that Plaintiff" s appeal is proper, an extension of time for Plaintiff to

              20   file an amended complaint is delay that is unwarranted. However, to ensure that there is no

              21   prejudice to Plaintiff (e.g., if she were waiting for this Court's decision), the Court shall give

              22   Plaintiff one additional week to file her amended pleading, and, correspondingly, Defendant shall
              23   have one additional week to file a response to the amendment. More time is not warranted given

              24   that the Court already gave Plaintiff four weeks to amend and Plaintiff could have moved for relief

              25   earlier. In this regard, the Court notes that Plaintiff filed her notice of appeal the same day that the

              26   Court issued its order. At or about that time, Plaintiff could have asked for an extension of time.

              27   Instead, she waited for another three weeks - and when her amendment was due only a week later

              28   - to seek relief.
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              1           Plaintiff has, in the alternative, asked for leave to file a 200-page amended complaint. The
               2   Court has limited Plaintiff to 75 pages. Plaintiff asserts that a pleading of 200 pages is necessary

              3    for two reasons: "to l) retain the claims dismissed with prejudice for the sake of preserving error

               4   for later appeal, and to 2) ensure adequate pleading of claims that were given leave to amend."

              5    Mot. at 2. This alternative request for relief is also denied. As Defendant points out, she does not
               6   need to replead dismissed claims in order to preserve them for appeal. See Lacey v. Maricopa

              7    Cnty., 693 F.3d 896, 928 (9th Cir. 2012) (en bane) ("For claims dismissed with prejudice and

               8   without leave to amend, we will not require that they be repled in a subsequent amended

              9    complaint to preserve them for appeal."), Najarian Holdings LLC v. Corevest Am. Fin. Lender

              10   LLC, No. 20-cv-00799-PJH, 2020 U.S. Dist. LEXIS 188667, at *24 (ND. Cal. Oct. 9. 2020)

              11   ("The Ninth Circuit does not require plaintiffs to replead claims that were dismissed with

              12   prejudice in an amended complaint in order to preserve them for appeal."). Moreover, as this

              13   Court has previously noted, this is not the kind of case that warrants a pleading of that length.
        cu
       u      14   Although there is a long history between Plaintiff and Defendant, the gist of her claims is that

              15   Defendant has engaged in conduct detrimental to environmental safety and that Defendant
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       -v-4
       Q      16   retaliated against her when she complained about this conduct as well as other conduct by the

              17   company. Federal Rule of Civil Procedure 8 simply requires:
       Z'     18   ///

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                1                   (1)      a short and plain statement of the grounds for the court's
                                             jurisdiction, unless the court already has jurisdiction and the
                 2                           claim needs no new jurisdictional support,
                3                   (2)      a short and plain statement of the claim showing that the
                                             pleader is entitled to relief, and
                 4
                                    (3)      a demand for the relief sought, which may include relief in
                5                            the alternative or different types of relief.
                 6   Fed. R. Civ. P. 8(a).
                7           This order disposes of Docket No. 115.

                 8
                9           IT IS S0 ORDERED.
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                11   Dated: October 25, 2024

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                14                                                      United States District Judge
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               4                                   UNITED STATES DISTRICT COURT

              5                                   NORTHERN DISTRICT OF CALIFORNIA

               6

              7      ASHLEY M GJOVIK,                                    Case NO. 23-cv-04597-EMC
               8                     Plaintiff,
                                                                         ORDER GRANTING IN PART AND
              9               v.                                         DENYING IN PART DEFENDANT'S
                                                                         MOTION TO DISMISS; DENYING
              10     APPLE INC,                                          DEFENDANT'S MOTION TO STRIKE;
                                     Defendant.                          AND GRANTING PLAINTIFF'S
              11                                                         MOTION TO STRIKE
              12                                                         Docket Nos. 78-79, 101
              13
       <3     14          Plaintiff Ashley Gjovik, proceeding pro se,1 is a former employee of Defendant Apple, Inc.
              15   She started to work for Apple in February 2015 and was ultimately terminated on September 9,
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       -v-4
       Q      16   2021. On September 7, 2023, about two years after she was fired, she initiated this lawsuit. In the
              17   operative fourth amended complaint ("4AC"), Ms. Gjovik asserts thirteen different claims against
              18   Apple, all predicated on state law. For the most part, the claims fall into two basic categories: (1)
              19   Apple engaged in environmentally unsafe conduct that banned Ms. Gjovik and (2) Apple
              20   retaliated against Ms. Gjovik - including by terminating her from employment - because she
              21   complained about certain company conduct, including but not limited to environmentally unsafe
              22   conduct.

              23          Now pending before the Court are three motions: (l) a motion to dismiss filed by Apple,
              24   targeted at eleven of the thirteen claims (either in whole or in part), (2) a motion to strike filed by
              25   Apple, and (3) a motion to strike filed by Ms. Gjovik. Having considered the parties' briefs and
              26   accompanying submissions, the Court hereby GRANTS in part and DENIES in part Apple's
              27

              28   1 Ms. Gjovik appears to have a J.D. from Santa Clara University.

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                   1    motion to dismiss, DENIES Apple's motion strike, and GRANTS Ms. Gjovik's motion to strike.
                    2                        I.       FACTUAL & PROCEDURAL BACKGROUND
                   3           The factual allegations in the 4AC largely replicate the factual allegations in the prior third

                    4   amended complaint ("TAC"). As the Court stated in its prior order, the main categories of alleged
                   5    misconduct by Apple are as follows :
                    6                    (1) During her employment with Apple, Ms. Gjovik lived in an
                                             apartment near an Apple factory (known as the ARIA factory) and
                   7                         became ill because the factory released toxic substances into the
                                             environment.
                    8
                                         (2) Ms. Gjovik's office at Apple (known as Stewart 1) was located on
                   9                         a contaminated site subject to EPA regulation, i. e., a Superfund
                                             site, and she became ill because of Apple's actions/omissions
                   10                        related to the site.
                   11                    (3) Apple made employees, including Ms. Gjovik, participate in
                                             studies related to Apple products that were invasive to their
            cos    12                        privacy.
      'S
     062           13                    (4) Apple retaliated against Ms. Gjovik for making complaints about
     u
     '5 :                                    harassment and environmental safety. Ms. Gjovik's complaints
     ': u
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                   14                        included internal complaints, complaints to governmental
     9O                                      agencies, complaints to the press, and complaints made in social
     Q O           15                        media. The retaliation by Apple included but was not limited to
     on <4
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     <4                                      the termination of Ms. Gjovik from employment.
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                   17   Docket No. 73 (Order at 2).
      Q      5-1
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            z      18          Based on, inter alia, the above allegations, Ms. Gjovik asserts the following causes of
                   19   action in the 4AC:
                   20              (1)       Wrongful termination in violation of public policy.
                   21              (2)       Violation of the California Whistleblower Act. See, e.g., Cal. Lab. Code §
                   22                        ll02.5(b) (providing that an employer "shall not retaliate against an employee
                   23                        for disclosing information ... to [inter alia] a government or law enforcement
                   24                        agency [or] to a person with authority over the employee ... if the employee
                   25                        has reasonable cause to believe that the information discloses a violation of a

                   26                        state or federal statute, or a violation of or noncompliance with a local, state, or

                   27                        federal rule or regulation") .

                   28              (3)       Violation of California Labor Code § 6310. See, e.g., id. § 63l0(a) (providing
                                                                              2
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                   1                 that "[n]o person shall discharge or in any manner discriminate against any
                    2                employee because the employee has [e.g.] [m]ade any oral or written complaint

                   3                 to the [Division of Occupational Safety and Health] [or] other governmental

                    4                agencies having statutory responsibility for or assisting the division with
                   5                 reference to employee safety or health").
                    6          (4)   Violation of California Labor Code § 6399.7. See id. § 6399.7 (providing, inter
                   7                 alia, that "[n]o person shall discharge or in any manner discriminate against,
                    8                any employee because such employee has filed any complaint ... under or
                   9                 related to the provisions of this chapter [i. e., the Hazardous Substances

                   10                Information and Training Act]").
                   11          (5)   Violation of California Labor Code § 98.6. See id. § 98.6(a) (providing that

            cos    12                "[a] person shall not discharge an employee or in any manner discriminate,
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     062           13                retaliate, or take any adverse action against any employee .. . because the
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                   14                employee » .. engaged in any conduct delineated in this chapter .. . or because
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                   15                the employee .. . has filed a bona fide complaint or claim    .. . under or relating
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            5      16                to their rights that are under the jurisdiction of the Labor Commissioner . » » or
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                   17                because of the exercise by the employee .. on behalf of themselves or others
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            z      18                of any rights afforded them").
                   19          (6)   Violation of California Labor Code §§ 232, 2325, 1101, and 1102. See id. §
                   20                232 (providing, inter alia, that an employer may not "[r]equire, as a condition
                   21                of employment, that an employee refrain from disclosing the amount of his or

                   22                her wages"), id. § 232.5 (providing, inter alia, that an employer may not
                   23                "[r]equire, as a condition of employment, that an employee refrain from
                   24                disclosing information about the employer's working conditions"), id. § llol
                   25                (providing, inter alia, that an employer shall not "make, adopt, or enforce any
                   26                rule, regulation or policy .. . [c]ontrolling or directing, or tending to control or
                   27                direct the political activities or affiliations of employees"), id. § 1102
                   28                (providing that "[n]o employer shall coerce or influence .. . his employees
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             1                       through or by means of threat of discharge or loss of employment to adopt or
              2                      follow or refrain from adopting or following any particular course or line of

             3                       political action or political activity").
              4              (7)     Violation of California Labor Code § 96(k). See id. § 96(k) (providing that the
             5                       Labor Commissioner "shall, upon the filing of a claim therefor by an employee,

              6                      ... take assignments of .. . [c]1aims for loss of wages as the result of demotion,
             7                       suspension, or discharge from employment for lawful conduct occurring during

              8                      nonworking hours away from the employer's premises").
             9               (8)     Breach of the implied covenant of good faith and fair dealing.
             10              (9)     Violation of California Business & Professions Code § 17200.
             11              (10)    Intentional infliction of emotional distress "traditional."
             12              (11)    Creation and maintenance of a private nuisance at the ARIA factory .

             13              (12)    Strict liability for ultrahazardous activities at the ARIA factory .
       <3    14              (13)    Intentional infliction of emotional distress - fear of cancer.
             15          Apple has challenged all of the above claims, either in whole or in part, except for the first
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             16   and third causes of action.
             17                                         II.       DISCUSSION
       Z'    18   A.     Legal Standard

             19          Federal Rule of Civil Procedure 8(a)(2) requires a complaint to include "a short and plain

             20   statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). A
             21   complaint that fails to meet this standard may be dismissed pursuant to Federal Rule of Civil

             22   Procedure l2(b)(6). See Fed. R. Civ. P. l2(b)(6). To overcome a Rule l2(b)(6) motion to dismiss
             23   after the Supreme Court's decisions in Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Bell Atlantic
             24   Corp. v. Twombly, 550 U.S. 544 (2007), a plaintiff's "factual allegations [in the complaint] 'must .

             25   .. suggest that the claim has at least a plausible chance of success."' Levitt v. Yelp! Inc., 765 F.3d
             26   1123, 1135 (9th Cir. 2014). The court "accept[s] factual allegations in the complaint as true and

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                 1    construe[s] the pleadings in the light most favorable to the nonmoving party.792 Manzarek v. St.

                  2   Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). But "allegations in a

                 3    complaint ... may not simply recite the elements of a cause of action [and] must contain sufficient
                  4   allegations of underlying facts to give fair notice and to enable the opposing party to defend itself

                 5    effectively." Levitt, 765 F.3d at 1135 (internal quotation marks omitted). "A claim has facial

                  6   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

                 7    inference that the defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678. "The

                  8   plausibility standard is not akin to a probability requirement, but it asks for more than a sheer

                 9    possibility that a defendant has acted unlawfully." Id. (internal quotation marks omitted) .

                 10   B.     Rule l2(g)(2)
                 11          Before the Court considers the specific arguments made by Apple in its motion, and Ms .

           cos   12   Gjovik's responses thereto, it notes that there is a procedural matter that affects several, although
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       062       13   not all, claims. Specifically, in the pending motion to dismiss, which targets the 4AC, Apple
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                 14   makes arguments that it could have made in its prior motion to dismiss the TAC but did not.
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                      2 On a motion to dismiss, a court generally limits its review to the four corners of the complaint.
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     U)    5     16   See Van Buskin v. Con, 284 F.3d 977, 980 (9th Cir. 2002) ("Ordinarily, a court may look only at
     -is   E          the face of the complaint to decide a motion to dismiss."), Lee v. City of Los Angeles, 250 F.3d
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                      668, 688 (9th Cir. 2001) ("[W]hen the legal sufficiency of a complaint's allegations is tested by a
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           z     18   motion under Rule l2(b)(6), 'review is limited to the complaint."'). Accordingly, the Court does
                      not consider the declaration filed by Cher Scarlett at Docket No. 99 (and grants Ms. Gjovik's
                 19   motion to strike the same). For the same reasons, the Court does not consider the bulk of the
                      Gjovik Declaration, including Exhibits D-F thereto.
                 20
                              Exhibits A-C attached to the Gjovik Declaration are documents that Ms. Gjovik created for
                 21   the asserted purpose of helping the Court understand the history of her claims. They are more in
                      the nature of attorney argument and theoretically could be considered. The Court, however,
                 22   largely finds the exhibits unhelpful. Moreover, the exhibits arguably reflect an attempt on the part
                      of Ms. Gjovik to get around the page limits on briefing.
                 23
                               Finally, a court may take judicial notice of documents, if appropriate, on a l2(b)(6)
                 24   motion. See Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018) (noting that
                      a court may "consider materials outside a complaint" at the l2(b)(6) phase if it can, e.g., take
                 25   judicial notice of materials). Ms. Gjovik has filed a request for judicial notice ("RJN") implicating
                      fifteen documents. They include a report issued by the EPA on the ARIA factory (Exhibit A), an
                 26   article on hazardous production gases (Exhibit C), and chemical safety cards for gases (Exhibit E) .
                      It is questionable whether all of the documents can be judicially noticed (e.g., the articles).
                 27   However, the bigger problem for Ms. Gjovik is that she has failed to explain how the RJN is
                      relevant to the arguments made in her opposition brief. To be clear, the opposition does contain
                 28   references to the RJN but those references are not followed by any concrete explanation of how
                      the documents at issue are relevant. Thus, at the end of the day, the RJN is largely unhelpful, too.
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                 1    Notably, this includes challenges to claims pled in the 4AC that Apple did not challenge when
                  2   pled in the prior TAC (e. g. , the claim that the ARIA factory constituted a private nuisance and the

                 3    claim that Apple violated certain protections provided by California Labor Code §§ 232 and

                  4   232.5).
                 5              Ms. Gjovik argues that any of these arguments that could have been made, but were net,

                  6   should be entirely disregarded. In support, she cites Federal Rule of Civil Procedure l2(g)(2) .

                 7    That rule provides as follows: "Except as provided in Rule l2(h)(2) or (3), a party that makes a

                  8   motion under this rule must not make another motion under this rule raising a defense or objection

                 9    that was available to the party but omitted from its earlier motion." Fed. R. Civ. P. l2(g)(2). The
                 10   exception identified in Rule l2(h)(2) provides: "[f]ailure to state a claim upon which relief can be

                 11   granted ... may be raised: (A) in any pleading allowed or ordered under Rule 7(a), (B) by a

           cos   12   motion under Rule l2(c), or at trial." Fed. R. Civ. P. l2(h)(2).
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       062       13             As a facial matter, Rule l2(g)(2) does lend support to Ms. Gjovik's position. However, in
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                 14   In re Apple iPhone Antitrust Litigation, 846 F.3d 313 (9th Cir. 2017), the Ninth Circuit explained
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     Q O         15   that the rule is not as unforgiving as it might appear at first blush:
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     U)    5     16                    We read Rule l2(g)(2) in light of the general policy of the Federal
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                                       Rules of Civil Procedure, expressed in Rule l. That rule directs that
     -»-4 3      17                    the Federal Rules "be construed, administered, and employed by the
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           O                           court and the parties to secure the just, speedy, and inexpensive
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           z     18                    determination of every action and proceeding." Denying late led
                                       Rule ]2(b)(6) motions and relegating defendants to the three
                 19                    procedural avenues specied in Rule I2(h)(2) can produce
                                       unnecessary and costly delays, contrary to the direction of Rule I.
                 20

                 21   Id. (emphasis added). Accordingly, "'[a]lthough Rule l2(g) technically prohibits successive
                 22   motions to dismiss that raise arguments that could have been made in a prior motion ... courts
                 23   faced with a successive motion often exercise their discretion to consider the new arguments in the

                 24   interests of judicial economy."' Id. at 319.

                 25             Here, the Court shall, in the exercise of its discretion, consider Apple's new arguments. If
                 26   the Court were to reject consideration of the arguments through the l2(b)(6) vehicle, Apple would

                 27   no doubt raise the same arguments through a l2(c) motion. As a matter of judicial economy, it
                 28   makes more sense to address the arguments sooner rather than later. Furthermore, there is no
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              1    indication that Apple's new arguments are being made for purposes of delay or some other
               2   "strategically abusive purpose." Id. at 319-20. Rather, Apple is trying to streamline this case
              3    which, quite frankly, Ms. Gjovik has made unwieldy. Furthermore, Apple's arguments are made
               4   in good faith as reflected by the fact that the Court finds merit to Apple's motion to dismiss.
              5    C.     Ms. Gjovik's Claims
               6          Ms. Gjovik's 4AC continues to be a sprawling pleading with many claims. She has also
              7    made her pleading messier by choosing to restructure some of her claims - in particular, her

               8   retaliation claims. For example, in the TAC, she asserted a claim for violation of California Labor

              9    Code § 98.6 which was predicated on protections provided in §§ 96(k), 232, and 232.5. See TAC,

              10   Count 9. However, in the 4AC, she now splits that claim up into three claims: a violation of §

              11   98.6, a violation of §§ 232 and 232.5 (as well as §§ llol and ll02), and a violation off 96(k).
              12   See 4AC (Counts 5-7).

              13          As a result of the above, Apple's motion to dismiss can be difficult to follow. The Court
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       u      14   has attempted to provide some clarity by grouping Ms. Gjovik's claims for analysis. The first
              15   group (addressed in Part HD) consists of her retaliation claims. The second group (addressed in
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       Q      16   Part II.E) consists of her claims asserting injury as a result of environmentally unsafe conditions.

              17   These two groups seem to contain the most important claims being made by Ms. Gjovik. Finally,
              18   the last group (addressed in Part II.F) consists of her remaining claims.
              19   D.     Retaliation Claims
              20          The retaliation claims are in Counts 1-7. In the motion to dismiss, Apple challenges all of

              21   the claims, either in whole or part, except for Count l (termination in violation of public policy)
              22   and Count 3 (violation of California Labor Code § 6310).
              23          1.      Count 2 - Claim for Violation of § 1102.5
              24          In Count 2, Ms. Gjovik asserts a violation of the California Whistleblower Act. See Cal.
              25   Lab. Code § 1102.5. Section 1102.5 provides in relevant part that an employer
              26                  shall not retaliate against an employee for disclosing information ...
                                  to [inter alia] a government or law enforcement agency [or] to a
              27                  person with authority over the employee ... if the employee has
                                  reasonable cause to believe that the information discloses a violation
              28                  of a state or federal statute, or a violation of or noncompliance with
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                                  a local, state, or federal rule or regulation.
              1
               2   Id. § 1102.5(b).

              3           In the prior TAC, Ms. Gjovik included a § 1102.5 claim. In its order addressing the TAC,

               4   the Court noted that, for the § 1102.5 claim, Ms. Gjovik made two main allegations - specifically,

              5    that Apple retaliated after she complained to various government agencies about (1) the Gobbler

               6   application and (2) environmental and safety violations. On (1), the Court held that Ms. Gjovik

              7    sufficiently alleged that the Gobbler application violated the right to privacy protected by the

               8   California Constitution, however, she failed to allege to whom she made complaints about the

              9    Gobbler application. On (2), Apple argued that Ms. Gjovik failed to specify which environmental
              10   or safety statutes/regulations were allegedly violated. The Court did not decide whether the failure
              11   to cite specific provisions deprived Apple of the right to fair notice about the scope of Ms.

              12   Gjovik's claims. This was because, "[a]t the hearing, Ms. Gjovik indicated that she had a list of
              13   provisions at hand, and, as the Court is already giving Ms. Gjovik leave to amend other claims,
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       u      14   she may supplement this claim by including the specific provisions in the amended pleading."

              15   Docket No. 73 (Order at 35-36).
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              16          In the 4AC, Ms. Gjovik now alleges that Apple retaliated against her after she made

              17   complaints to, inter alia:

       Z'     18              (l) Apple management, the EPA, California EPA, and the California Air Resource
              19                  Board about violations of CERCLA, RCRA, and/or the Clean Air Act,

              20              (2) the Santa Clara County DA's Office, the EPA, and Apple about fraud related to

              21                  environmental crimes,

              22              (3) the NLRB, DOL, California DOL, and Cal OSHA about violations of the NLRA,

              23                  the California Labor Code, and OSHA,

              24              (4) Apple management about violations of the right to privacy under the California

              25                  Constitution,

              26              (5) the DOJ, EEOC, and California DFEH about violations of anti-discrimination laws

              27                  (on the basis of sex and disability), and

              28              (6) her supervisors (including Mr. West and Mr. Powers) and the FBI about smuggling
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                   1                     and violations of sanctions.
                    2   See 4AC 91 168.3

                   3              Apple now moves to dismiss in part the § 1102.5 claim.
                    4                    a.      Beyond the Scope of Amendment

                   5              Apple argues first that part of the claim should be dismissed because Ms. Gjovik made an

                    6   amendment to the claim beyond the scope permitted by the Court. Specifically, in the 4AC, Ms .

                   7    Gjovik alleges that she was retaliated against because she made complaints to her supervisors and

                    8   the FBI about smuggling and sanctions violations. See 4AC 91 168. Apple asserts that this factual

                   9    predicate was never part of the § 1102.5 claim in the TAC and the Court never permitted Ms.

                   10   Gjovik to add new factual predicates to the § 1102.5 claim.
                   11             Apple's argument has merit. To be clear, the prior TAC did mention smuggling and

            cos    12   sanctions violations. See, e.g., TAC 9184 (alleging that, in September 2021, Ms. Gjovik "told the
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     062           13   FBI about Apple's involvement in concealing possible sanctions violations and smuggling[,] in
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                   14   the crime field, she wrote: 'Possible violations of sanetions against Syria, possible cover-up of
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     Q O           15   that knowledge, retaliation for reporting concerns about said violation and eoverup"') (emphasis
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            5      16   in original). However, Ms. Gjovik's allegations about smuggling and sanctions violations were
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                   17   made in support of the SOX claim (which the Court ended up dismissing with prejudice), not in
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            z      18   support of the § 1102.5 claim. See TAC 9191 167-68 (SOX claim).

                   19             Ms. Gjovik cannot avoid this problem simply because her § 1102.5 claim, as pled in the

                   20   TAC, contained the allegation that "Plaintiff re-alleges and incorporates by reference each and

                   21   every allegation set forth above, as though fully set forth in this Claim for Relief." TAC 91204 (§

                   22   1102.5 claim). She shall not be rewarded for this generic allegation, particularly in light of her
                   23   long and difficult-to-follow complaint. Furthermore, the § 1102.5 claim, as pled in the TAC,

                   24   clearly had a different focus. She asserted retaliation for three reasons only: "Reporting Unlawful
                   25   Labor/Employment Conduct," "Reporting Environmental & Safety Violations," and "Refusal to

                   26   Participate in Unlawful Conduct." See TAC 9191208-12. She did not identify smuggling and

                   27

                   28   3
                            The list in 91 168 is longer, the above provides some examples only.
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                   1    sanctions violations.
                    2          To the extent Ms. Gjovik suggests she should be now allowed to amend to include the

                   3    factual predicate, the Court does not agree. Ms. Gjovik has filed five pleadings at this point. The
                    4   Court shall not allow her to continue to modify her positions.

                   5                   b.       Failure to Address Deficiencies Identified in Court Order

                    6          Apple argues next that more of the § 1102.5 claim should be dismissed because, when the

                   7    Court considers the amendment that it did permit to the claim, Ms. Gjovik failed to address      in

                    8   large part - the deficiencies identified by the Court in the TAC. According to Apple:
                   9               (l) Ms. Gjovik still fails to specify to whom she made complaints about the Gobbler
                   10                  application, she mentions "Apple management" only.

                   11              (2) In multiple instances, Ms. Gjovik does not specify which statutes/regulations were

            cos    12                  allegedly violated. While Ms. Gjovik does reference some specific
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     062           13                  statutes/regulations in the 4AC, she also continues to cite to entire statutory
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                   14                  frameworks - e.g., for CERCLA, RCRA, and the Clean Air Act.
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     Q O           15          Apple's arguments again have merit. As to (1), Ms. Gjovik contends that Apple is trying
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            5      16   to get her to "publicly name who at the company she raised the Gobbler issue to prior to taking it
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                   17   public, despite having said it would fire anyone involved in making Gobbler public - thus
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            z      18   demanding Gjovik immediately snitch on her coworker, knowing Apple's lawyers may then fire
                   19   that person." Opp'n at II. This argument does not make sense. In the 4AC, Ms. Gjovik asserts
                   20   that she complained to "Apple management," not a coworker. In any event, regardless of the
                   21   status of the person to whom she complained, Ms. Gjovik does not have the right to unilaterally

                   22   decline to disclose the identity of the person. The issue here is one of fair notice to Apple so that

                   23   it can defend itself, and Ms. Gjovik did not even ask for any protective measures such as

                   24   disclosure to outside counsel only. Finally, it is notable that Ms. Gjovik did not raise any concern
                   25   about snitching in the prior l2(b)(6) round. Accordingly, the Court dismisses from the § 1102.5
                   26   claim the factual predicate that Ms. Gjovik was retaliated against because she made complaints

                   27   about privacy rights being violated as a result of the Gobbler application.

                   28          As for (2), Ms. Gjovik asserts that she has a valid claim so long as she reasonably believed,
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                   1    at the time of her complaint, that there was a violation of the law, she did not have to know at the
                    2   time what laws exactly were being violated. See, e.g., Opp'n at 10 (arguing that a layperson
                   3    "probably will not know exactly what laws are being violated down to the statute"). The problem
                    4   for Ms. Gjovik is that Apple is not arguing such. Rather, Apple is making a different point: as a
                   5    matter of fair notice, Ms. Gjovik now, as part of litigation, has to identify specific

                    6   statutes/regulations so that Apple can properly defend itself. See Ling La v. San Mateo County
                   7    Transit Dist., No. 14-cv-01768-WHO, 2014 U.S. Dist. LEXIS 131316, at *18 (N.D. Cal. Sept. 16,

                    8   2014) (holding that "[plaintiff's] allegation that she disclosed conduct in violation of the Davis-

                   9    Bacon Act, related federal statutes, and related regulations is ... insufficient" because "[t]he point
                   10   of notice pleading is to 'give the defendant fair notice of what the claim is and the grounds upon

                   11   which it rests,"' and plaintiff' s "citation to a whole statutory framework does not serve this

            cos    12   purpose, in particular where [plaintiff] does not use her opposition brief to clarify the specific
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     062           13   statutes and regulations that were violated") (emphasis added).
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                   14          Apple's position has merit, at least to the extent that all that Ms. Gjovik does is cite an
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     Q O           15   entire statutory framework, without reference to any kind of benchmark (e.g., CERCLA, RCRA,
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            5      16   and the Clean Air Act). See 4AC 91168. In her papers, Ms. Gjovik contends that, at least in some
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                   17   instances, she cannot provide any more specific information on statutes or regulations because
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            z      18                  CERCLA oversight is implemented through tailored settlements ,
                                       contracts, and restrictive covenants - not regulations. Plaintiff
                   19                  challenged land use covenants, records of decision, and other
                                       contractual matters related to the CERLA site [and] Apple is aware
                   20                  of what those claims are from the emails Plaintiff sent them, the US
                                       EPA investigation into her claims and finding Apple at fault in [a]
                   21                  number of ways, including documented on formal reports .
                   22   Opp'n at 6. But assuming that is the benchmark, then it is not clear why Ms. Gjovik did not
                   23   identify that benchmark in the 4AC, and with some specificity (e.g., which tailored settlements,

                   24   contracts, and restrictive covenants). Again, the issue here is one of fair notice to Apple.

                   25   Furthermore, it is net sufficient for Ms. Gjovik to refer to documents outside the complaint fer

                   26   additional details because those documents do not define the scope of the complaint.

                   27          To the extent Ms. Gjovik suggests that she was waiting for a report from the EPA to put in

                   28   more specifics, see Opp'n at 10 (asserting that she was "waiting to receive the results of the US
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                   1    EPA Enforcement inspection report before making a conclusive statement", adding that "[t]he
                    2   report was released last month and found "several ... violations" of "statutes that provide both
                   3    civil and criminal enforcement"), that makes no sense. Ms. Gjovik should have been able to

                    4   provide more specifics regardless of what the EPA found. It is also notable that Ms. Gjovik did

                   5    not assert this excuse (i. e., that she had to wait for the EPA report) during the prior l2(b)(6)

                    6   hearing.

                   7             Accordingly, the Court dismisses any part of the § 1102.5 claim where all that Ms. Gjovik

                    8   does is cite wholesale to a statutory framework. That includes general reference to CERCLA,

                   9    RCRA, and the Clean Air Act without any degree of further specificity. Ms. Gjovik still has a §
                   10   1102.5 claim (albeit more limited) to the extent she does cite some statutes/regulations in her

                   11   pleading. See 4AC 91 168.

            cos    12            Because Ms. Gjovik has failed to cure deficiencies previously identified by the Court, the
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     062           13   Court's dismissal here is with prejudice.
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     '5 :
     ': u
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            CO

                   14                   c.      Time Bar on Civil Penalties
     9O
     Q O           15            Finally, Apple argues that, for the part of the § 1102.5 claim it does not challenge on the
     on <4
     Q  'C
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     <71
            5      16   grounds noted above, Ms. Gjovik still cannot seek any civil penalties as relief because they are
     -is E
     G) G)
     <4 JZ!
     -»-4
        4-2
                   17   time barred.4 See 4AC, Prayer fer Relief ']i viii (asking for a civil penalty of $10,000 per employee
      Q      5-1
     D       O
            z      18   for each violation of California Labor Code § 98.6 and § ll02.5).5 In support of this position,

                   19

                   20   4 A contention that a claim is time barred is an affirmative defense, and ordinarily a plaintiff need
                        not plead on the subject of an anticipated affirmative defense. But when an affirmative defense is
                   21   apparent on the face of a complaint, a defendant may raise that defense in a motion to dismiss .
                        See Rivera v. Peri & Sons Farms, Inc., 735 F.3d 892, 902 (9th Cir. 2013).
                   22   5


                   23                   Two categories of remedies exist fer violations of ... § 1102.5. The
                                        first is a civil penalty. Id. § 11025(f) ("In addition to ether
                   24                   penalties, an employer that is a corporation or limited liability
                                        company is liable for a civil penalty not exceeding ten thousand
                   25                   dollars ($10,000) for each violation of this section."). The second is
                                        a claim for damages. Id. § 1105 ("Nothing in this chapter shall
                   26                   prevent the injured employee from recovering damages from his
                                        employer for injury suffered through a violation of this chapter."),
                   27                   see also Gardenhire v. Hous. Auth., 85 Cal. App. 4th 236, 241
                                        (2000) (recognizing a right of action for damages for violations of §
                   28                   11025), Cal. Sen. Judiciary Comm., Analysis of S.B. 777 (Apr. 8,
                                        2003) (recognizing that § 1102.5 provides for recovery of
                                                                            12
                                                                                                             ERVI 89
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                   1    Apple cites California Code of Civil Procedure § 340(a). Section 340(a) provides for a one-year
                    2   limitations period for "[a]n action upon a statute for a penalty or forfeiture, if the action is given to

                   3    an individual, or to an individual and the state, except if the statute imposing it prescribes a

                    4   different limitation." Cal. Code Civ. Proc. § 340(a). In the case at bar, the last act of retaliation
                   5    alleged by Ms. Gjovik was her termination. That occurred in September 2021. However, Ms.

                    6   Gjovik did not initiate this lawsuit until Iwo years later, in September 2023.6

                   7            As a facial matter, Apple's position has merit. See Minor v. FedEx O]§9ce & Print Servs.,
                    8   182 F. Supp. 3d 966, 988 (N.D. Cal. 2016) (determining that a § 1102.5 claim "must be brought

                   9    within three years" unless "the suit seeks the civil penalty provided in § 1102.5(f)," in which case

                   10   "the claim is subject to a one-year limitations period"). However, Ms. Gjovik suggests that there
                   11   should be some kind of tolling because she was "waiting on California Dept. of Labor to start

            cos    12   investigating her claims up until the point she removed her agency claims to this lawsuit" but
      'S
     062           13   "[t]he agency failed to act in a timely fashion." Opp'n at II.
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                   14           The California Supreme Court has held that, "whenever the exhaustion of administrative
     9O
     Q O           15   remedies is a prerequisite to the initiation of a civil action, the running of the limitations period is
     on <4
     Q  'C
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            5      16   tolled during the time consumed by the administrative proceeding." Elkins v. Derby, 12 Cal. 3d
     -is E
     G) G)
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                   17   410, 414 (1974). It has also held that, "regardless of whether the exhaustion of one remedy is a
      Q      5-1
     D       O
            z      18   prerequisite to the pursuit of another, if the defendant is not prejudiced thereby, the running of the

                   19   limitations period is tolled '[w]hen an injured person has several legal remedies and, reasonably

                   20   and in good faith, pursues one.'" Id. , see also id. at 418 (noting that "this and other courts as well

                   21   as legislatures have liberally applied tolling rules or their functional equivalents to situations in
                   22

                   23
                                        compensatory damages).
                   24
                        Newton v. Bank of Am., CV 16-09581-AB (RAOul), 2018 U.S. Dist. LEXIS 228955, at *6-7 (C.D.
                   25   Cal. Jan. 18, 2018).

                   26   6 Ms. Gjovik does assert that Apple harassed her post-termination. See 4AC 91 138 ("From at least
                        July 2021 through current day - Apple employees stalked, harassed, and tormented Gjovik ....").
                   27   However, Ms. Gjovik cannot base her § 1102.5 claim on post-termination conduct because she
                        was no longer an employee and the statute provides protection only where there is an employer-
                   28   employee relationship. See Cal. Lab. Code § 1102.5(b) ("An employer, or any person acting on
                        behalf of the employer, shall not retaliate against an employee ....").
                                                                         13
                                                                                                              ERVI 90
(91 of 182), Page 91 of 182
                       Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31809691321 8338214 of 41




                 1    which the plaintiff has satisfied the notification purpose of a limitations statute").

                  2                  In the wake of Elkins, the California Supreme Court has stated that
                                     in order to prove the applicability of the equitable tolling doctrine, a
                 3                   party must establish "three elements: 'timely notice, and lack of
                                     prejudice, to the defendant, and reasonable and good faith conduct
                  4                  on the part of the plaintiff."' "'"The timely notice requirement
                                     essentially means that the first claim must have been filed within the
                 5                   statutory period. Furthermore[,] the filing of the first claim must
                                     alert the defendant in the second claim of the need to begin
                  6                  investigating the facts which form the basis for the second claim.
                                     Generally this means that the defendant in the first claim is the same
                 7                   one being sued in the second." "The second prerequisite essentially
                                     translates to a requirement that the facts of the two claims be
                  8                  identical or at least so similar that the defendant's investigation of
                                     the first claim will put him in a position to fairly defend the second."
                 9                   "The third prerequisite of good faith and reasonable conduct on the
                                     part of the plaintiff is less clearly defined in the cases. But in
                 10                  Addison v. State of Calzfornia [(1978)] 21 Cal. 3d 313[,] the
                                     Supreme Court did stress that the plaintiff filed his second claim a
                 11                  short time after tolling ended.""'
           cos   12
     'S
                      Hopkins v. Kedzierski, 225 Cal. App. 4th 736, 747 (2014).
     062         13
     u
     '5 :                     In the instant case, it is possible that there could be a basis for tolling. However, as the
     ': u
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                 14
     9O               4AC currently stands, there is not a basis to support such. For instance, Ms. Gjovik has not made
     Q O         15
     on <4
     Q  'C
     <4               allegations establishing that the Elkins rule is applicable here, nor has she made allegations
     <9
     <71
           5     16
     -is E            supporting the three elements listed above.
      G) G)
      <4
     -»-4 JZ!
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                 17
     Q     5-1               The Court therefore grants the motion to dismiss the claim for a civil penalty as time
     D O
           z     18
                      barred. The only question remaining is whether the Court should give Ms. Gjovik leave to amend.
                 19
                      Here, the Court does give leave because the time bar is a new argument raised by Apple that it
                 20
                      could have asserted in the prior motion to dismiss but did not. Therefore, Ms. Gjovik has not yet
                 21
                      had a chance to correct this deficiency, i. e., by pleading some kind of tolling. It is not clear at this
                 22
                      juncture that it would be futile for Ms. Gjovik to argue tolling. Any amendment permitted herein
                 23
                      is limited to allegations supporting a tolling argument.
                 24
                                      d.      Summary
                 25
                              Apple's motion to dismiss with respect to the § 1102.5 claim is granted. The following
                 26
                      factual predicates are eliminated from the claim (with prejudice): (l) that Ms. Gjovik complained
                 27
                      about smuggling and sanctions violations, (2) that Ms. Gjovik complained about privacy
                 28

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                                                                                                            ERVI 91
(92 of 182), Page 92 of 182
                        Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<3*913&928338215 of 41




                  1    violations related to Gobbler, and (3) that Ms. Gjovik made complaints about violations of
                   2   CERCLA, RCRA, the Clean Air Act, and any other whole statutory framework.7 The Court's
                  3    ruling here leaves Ms. Gjovik with a substantive § 1102.5 claim based on complaints made about:

                   4   (l) "[v]iolations of the anti-retaliation provisions of environmental laws," specifically, 42 U.S.C.
                  5    §§ 9610 and 7622 and 15 U.S.C. 2622; (2) violation of § 8(a)(1) of the NLRA; (3) violation of

                   6   California General Industry Safety Order 5194, (4) violation of 29 U.S.C. § 660, (5) violation of

                  7    the California Constitution's right to privacy (but not related to Gobbler), and (6) violation of 42

                   8   U.S.C. § 2000e and California Government Code § 12920. To the extent Ms. Gjovik seeks a civil

                  9    penalty on this remaining portion of the § 1102.5 claim, there is a time bar, but Ms. Gjovik has

                  10   leave to amend to plead tolling.
                  11          2.      Count 4 - Claim for Violation of the HSITA

            cos   12          In Count 4, Ms. Gjovik asserts a violation of California Labor Code § 6399.7. Apple has
      'S
                  13   moved to dismiss Count 4 in its entirety.
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                  14          Section 6399.7 provides, inter alia, that "[n]o person shall discharge or in any manner
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                  15   discriminate against, any employee because such employee has filed any complaint ... under or
     <4 8
      G)
      <9
     <71    5     16   related to the provisions of this chapter," i. e., the Hazardous Substances Information and Training
     -is
      G) 8
                  17   Act ("HSITA"). Cal. Lab. Code § 6399.7.
     aQ 3
     -v-4

     D z'S        18          Section 6362 of the HSITA covers the application of the statute. It provides as follows:
                  19                  The rights and duties set forth in this chapter apply to all employers
                                      who use hazardous substances in this state, to any person who sells a
                  20                  hazardous substance to any employer in this state, and to
                                      manufacturers who produce or sell hazardous substances in this
                  21                  state. The provisions of this chapter apply to hazardous substances
                                      which are present in the workplace as a result of workplace
                  22                  operations in such a manner that employees may be exposed under
                                      normal conditions of work or in a reasonably foreseeable
                  23                  emergency resulting from workplace operations.
                  24   Id. § 6362 (emphasis added).
                  25          The HSITA also contains the following provisions :

                  26

                  27
                       7 For instance, in the 4AC, Ms. Gjovik alleges that she made complaints about "[l]raud related to
                  28   environmental claims" and then cites a huge swath of statutes: 42 U.S.C. §§ 7401-7676, 42 U.S.C.
                       §§ 9601-75, 42 U.S.C. §§ 11001-50, and 15 U.S.C. §§ 2601-92. See 4AC 'II 168.
                                                                       15
                                                                                                          ERVI 92
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                       Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<S*9/3238338216 of 41




                 1                     "Employers shall furnish employees who may be exposed to a hazardous substance
                  2                    with information on the contents of the MSDS for the hazardous substances or

                 3                     equivalent information, either in written form or through training programs, which

                  4                    may be generic to the extent appropriate and related to the job." Id. § 6398(b).
                 5                     "Provision shall be made for employees to be informed of their rights under this

                  6                    chapter and under the standard to be adopted." Id. § 6398(c).
                 7              In the 4AC, Ms. Gjovik alleges that she
                  8                    repeatedly complained to Apple about employee's Right to Know
                                       about chemical exposure, about Apple's duty to disclose to workers
                 9                     if they were disclosed and if so to what and how much, and to
                                       explain the health impacts of those chemical exposures. Apple
                 10                    EH&S [i. e., Environmental Health & Safety] told Gjovik that Apple
                                       legal decided that Apple employees "have no Right to Know."
                 11                    Gjovik then complained about this to the US EPA and other
                                       agencies and told Apple she was complaining about them.
           cos   12
     'S
                      4AC 91 176 (emphasis in original) .
     062         13
     u
     '5 :                              a.      Beyond the Scope of Amendment
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           CO

                 14
     9O                         As an initial matter, Apple argues that the HSITA claim should be dismissed because Ms.
     Q O         15
     on <4
     Q  'C
     <4               Gjovik did not assert such a claim in the prior TAC and she was never given leave to include a
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           5     16
     -is E            HSITA claim in the 4AC.
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     -»-4 JZ!
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                 17
     Q     5-1                  Although Apple's argument is not entirely lacking in merit, the Court rejects it. In the
     D O
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                      prior TAC, Ms. Gjovik asserted in Count 10 a claim for violation of California Labor Code §
                 19
                      6310. See Cal. Lab. Code § 6310(a) (providing that "[n]o person shall discharge or in any manner
                 20
                      discriminate against any employee because the employee has [e.g.] [m]ade any oral or written
                 21
                      complaint to the [Division of Occupational Safety and Health] [or] other governmental agencies
                 22
                      having statutory responsibility for or as sisting the division with reference to employee safety or
                 23
                      health"). Count 10 included a reference to the HSITA (i.e., § 6399.7). Paragraph 221 of the TAC
                 24
                      stated:
                 25
                                       Apple discriminated against and discharged Gjovik because Gjovik
                 26                    complained about safety and health conditions or practices at the
                                       workplace to Apple managers and her coworkers. Apple
                 27                    discriminated against and discharged Gjovik because Gjovik
                                       reported work-related injuries and illnesses and requested
                 28                    information about work-related injury and illness reports or records.
                                                                          16
                                                                                                          ERVI 93
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                    Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<3*913&948338217 of 41




                                  Apple knew about Gjovik's complaints through conversations,
              1                   emails, meeting notes, internal complaints, external complaints,
                                  public interviews, and social media posts. Gjovik complained about
               2                  possible violations of and issues related to:
              3

               4                  f.      Right-to-Know Protection [Cal. Labor Code § 6399.7].
              5    TAC 91221 (bracketed reference to § 6399.7 in the original).

               6          It appears that, with the 4AC, Ms. Gjovik tried to restructure the pleading by "breaking

              7    out" the HSITA claim as a separate claim. But notably, she still seems to consider the HSITA

               8   claim as tied her § 6310 claim because she has titled the HSITA claim as "Violation of Cal. Lab.

              9    C. § 6399.7 via § 6310." 4AC at 52 (emphasis added). She has also alleged in the 4AC that "'[a]
              10   violation of the provisions of this section shall be a violation of the provisions of Section 63]0."'
              11   4AC 91 176 (quoting Cal. Lab. Code § 6399.7, emphasis added).

              12          Given these circumstances, the Court rejects Apple's contention that Ms. Gjovik made an

              13   amendment beyond the scope of the original TAC. Ms. Gjovik is not bringing a new standalone
        go
       u      14   claim based on § 6399.7, rather, she is still asserting a § 6310 claim that is predicated (in part) on

              15   § 6399.7. (The Court acknowledges that Ms. Gjovik also has a separate § 6310 claim in the 4AC
        W
       -v-4
       Q      16   which is pled as Count 3.)

              17                  b.      Hazardous Substances Present in the Workplace as a Result of Workplace
       Z'     18                          Operations
              19           Apple argues next that, even if the Court were to consider the merits of the HSITA claim,

              20   it fails for two reasons: (l) Ms. Gjovik has failed to make allegations about exposure to any

              21   "hazardous substances," as that term is defined in the statute, and (2) Ms. Gjovik has failed to

              22   allege that there was exposure "as a result of workplace operations." Cal. Lab. Code § 6362.

              23          The Court addresses the issue in (2) first. As noted above, the HSITA provides in relevant

              24   part as follows:

              25                  The provisions of this chapter apply to hazardous substances which
                                  are present in the workplace as a result of workplace operations in
              26                  such a manner that employees may be exposed under normal
                                  conditions of work or in a reasonably foreseeable emergency
              27                  resulting from workplace operations.
              28   Cal. Lab. Code § 6362 (emphasis added). Here, Apple notes that the workplace is implicitly
                                                                     17
                                                                                                       ERVI 94
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                          Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<S*9/3258338218 of 41




                    1    Stewart 1 where Ms. Gjovik's office was located. (In other words, the claim does not implicate
                     2   the ARIA factory since Ms. Gjovik did not work there.) Apple then argues that Ms. Gjovik has
                    3    failed to allege that there were hazardous substances in Stewart l "as a result of workplace

                     4   operations." This is because the vapors were allegedly present in Stewart l based on prior
                    5    contamination by prior tenants or owners, and not based on current workplace operations by

                     6   Apple. See Mot. at 21.
                    7           Apple's position relies on a reading of § 6362 which is arguably in some tension with the

                     8   purpose of HSITA. See Cal. Lab. Code § 636l(b) ("The Legislature ... intends by this chapter to
                    9    ensure the transmission of necessary information to employees regarding the properties and

                    10   potential hazards of hazardous substances in the workplace."). On the other hand, the California

                    11   legislature could have specified that the statute applies to hazardous substances present in the

                    12   workplace without the qualifier "as a result of workplace operations," but did not. The fact that
       .9
     'S E
     062            13   the legislature chose to use the qualifier should not be discounted. In any event, the Court need
     CJ:
     45    621
     .:*C.)         14   not resolve the matter definitively because, in her opposition brief, Ms. Gjovik failed to address
     be
     QE'            15   Apple's argument. The Court therefore deems any opposition waived. Although Ms. Gjovik is a
     on
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     3 "

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           5        16   pro se litigant, she appears to have a J.D. and is thus aware of the consequences of a failure to
     G)
     .<:   -I-_<3   17   oppose. As a practical matter, the Court notes that its ruling here has a limited impact on Ms.
      Q    5-1
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     D
           z        18   Gjovik's case, it simply prevents Ms. Gjovik from including the factual predicate that she
                    19   complained about employees' "right to know." This ruling does not entirely bar her from
                    20   asserting retaliation for reporting environmental hazards to governmental authorities.

                    21          Given the Court's ruling, it need not address Apple's argument in (1) above (i.e., that Ms.

                    22   Gjovik failed to make allegations about exposure to any "hazardous substances," as that term is

                    23   defined in the HSITA).8

                    24                  c.      Summary
                    25          Ms. Gjovik has alleged a violation of HSITA but only as a predicate to a violation of §

                    26

                    27
                         8 At the hearing, Ms. Gjovik made several references to her sur-reply in support of her opposition
                    28   to the motion to dismiss the HSITA claim. The Court has stricken the sur-reply, see Docket No.
                         98 (order), and therefore Ms. Gjovik cannot rely on it.
                                                                         18
                                                                                                            ERVI 95
(96 of 182), Page 96 of 182
                          Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<S*9/3268338219 of 41




                    1    6310. That particular § 6310 claim is dismissed with prejudice based on Ms. Gjovik's failure to
                     2   oppose a substantive argument made by Apple (i. e., on exposure "resulting from workplace

                    3    operations") .

                     4          3.        Count 5 - Claim for Violation of § 98.6
                    5            In Count 5, Ms. Gjovik alleges a violation of California Labor Code § 98.6. Section 98.6

                     6   provides in relevant part that
                    7                     [a] person shall not discharge an employee or in any manner
                                          discriminate, retaliate, or take any adverse action against any
                     8                    employee ... because the employee ... engaged in any conduct
                                          delineated in this chapter ... or because the employee ... has filed a
                    9                     bona fide complaint or claim ... under or relating to their rights that
                                          are under the jurisdiction of the Labor Commissioner ... or because
                    10                    of the exercise by the employee ... on behalf of themselves or
                                          others of any rights afforded them.
                    11
                    12   Cal. Lab. Code § 98.6(a).
       .9
     'S E
     062            13           In its motion to dismiss, Apple makes a limited challenge to this claim. It argues only that,
     CJ:
     45    621
     .:*C.)         14   to the extent Ms. Gjovik is seeking a civil penalty, see id. § 98.6(b)(3) (providing that, "[i]n
     be
     QE'            15   addition to other remedies available, an employer who violates this section is liable for a civil
     on
     G)E
     3 "

     <71
           5        16   penalty not exceeding ten thousand dollars ($10,000) per employee for each violation of this
     G)
     .<:   -I-_<3   17   section, to be awarded to the employee or employees who suffered the violation"), 4AC, Prayer
      Q    5-1
           O
     D
           z        18   for Relief 91 viii (asking for a civil penalty of $10,000 per employee for each violation of

                    19   California Labor Code § 98.6 and § ll02.5), the claim is time barred.
                    20          The analysis above in Part II.D.l.c is applicable here. That is, Apple is correct that, under
                    21   California Code of Civil Procedure § 340(a), there is a one-year limitations period for "[a]n action

                    22   upon a statute for a penalty or forfeiture, if the action is given to an individual, or to an individual

                    23   and the state, except if the statute imposing it prescribes a different limitation." Cal. Code Civ.
                    24   Proc. § 340(a). Because Ms. Gjovik was terminated in September 2021, she should have filed by

                    25   September 2022 if she wanted to include a civil penalty as relief. She did net do so. If Ms.
                    26   Gjovik is asking for equitable tolling, she currently has not pled enough to support such tolling.

                    27   The Court gives Ms. Gjovik leave to amend to make allegations on tolling.

                    28

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                                                                                                               ERVI 96
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                         Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<S*9/327         l930 of 41


                   1            4.     Count 6 - Claim for Violation of §§ 232, 2325, 1101, and 1102
                    2           In Count 6, Ms. Gjovik asserts a claim for violation of various California Labor Code
                   3    statutes:
                    4                  Section 232, which provides, inter alia, that an employer may not "[r]equire, as a
                   5                   condition of employment, that an employee refrain from disclosing the amount of

                    6                   his or her wages." Cal. Lab. Code § 232.
                   7                   Section 232.5, which provides, inter alia, that an employer may not "[r]equire, as a
                    8                  condition of employment, that an employee refrain from disclosing information

                   9                    about the employer's working conditions." Id. § 232.5.
                   10                  Section llol, which provides, inter alia, that an employer shall not "make, adopt,
                   11                  or enforce any rule, regulation or policy ... [c]ontrolling or directing, or tending to

            cos    12                  control or direct the political activities or affiliations of employees." Id. § llol.
      'S
     062           13                  Section 1102, which provides that "[n]o employer shall coerce or influence .. . his
     u
     '5 :
     ': u
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            CO

                   14                  employees through or by means of threat of discharge or loss of employment to
     9O
     Q O           15                   adopt or follow or refrain from adopting or following any particular course or line
     on <4
     Q  'C
     <4
     <9
     <71
            5      16                  of political action or political activity." Id. § 1102.
     -is E
     G) G)
     <4 JZ!
     -»-4
        4-2
                   17   Apple moves to dismiss Count 6 in part, as discussed below.
      Q      5-1
     D       O
            z      18                   a.      Beyond the Scope of Amendment
                   19           In the 4AC, Ms. Gjovik argues that Apple violated §§ 2325, llol, and 1102 because it
                   20   retaliated against her for disclosing information about working conditions at Apple. Apple moves

                   21   to dismiss the claims to the extent they are based on a specific factual predicate   i.e. , that it

                   22   retaliated against her for making "statements to her [co-]workers about Palestinian and Muslim

                   23   human rights, and [expressing] concerns about a recent article that was published alleging Apple is

                   24   using Uyghur forced labor in its supply chain." 4AC 91 183. Apple argues that this factual

                   25   predicate was never part of the prior TAC, and the Court did not give Ms. Gjovik leave to add new

                   26   factual predicates to her claims .

                   27           Apple's argument has merit. And notably, in her opposition, Ms. Gjovik does not have
                   28   any real response, simply arguing that she "may not have mentioned" such in "prior versions of
                                                                          20
                                                                                                             ERVI 97
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                    Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<S*9/328831 of 41




              1    her complaint - but her prior complaints were also dedicated to several large complex claims she

               2   ha[s] since dropped. Further, Apple is fully aware of the Palestine activism, as Gjovik fought with
              3    her managers and HR Business Partner over the matter in July 2021 ." Opp'n at 14.

               4          To the extent Ms. Gjovik asks for leave to amend to include this factual predicate, the

              5    request is denied. Ms. Gjovik has filed five pleadings to date. She did not include the factual
               6   predicate in her original complaint or any of her amended complaints until the 4AC. Even if
              7    Apple was aware of the Palestine activism, it was not given notice in the pleadings that she has a

               8   legal claim against Apple based on that activism. Ms. Gjovik shall not be permitted to continue to

              9    modify her litigation positions on this issue.

              10           Because the Court is not permitting an amendment here, it does not address Apple's

              11   additional arguments that there are deficiencies with the §§ 232.5, llol, and 1102 claims to the
              12   extent they are based on the allegations related to Palestine, Muslim human rights, and Uyghur

              13   forced labor. The Court notes, however, that its ruling above does impact the §§ llol and 1102
        go
       u      14   claims as they seem to be based exclusively on allegations related to Palestine, Muslim human
              15   rights, and Uyghur forced labor. In other words, based on the Court's ruling above, Count 6 is
        v-4
              16   now only a claim for violation of §§ 232 and 232.5.
              17                  b.       Claims Based on §232 and 232.5

       Z'     18           Apple argues that the §§ 232 and 232.5 claims must be dismissed to the extent they are

              19   based on allegations about disclosure of wages because Ms. Gjovik did not allege that "Apple

              20   knew about the alleged social media posts disclosing her wages that she contends prompted

              21   retaliation." Mot. at 23 (emphasis added), see also 4AC 11181 ("[Ms. Gjovik] shared her wages
              22   on social media and discussed pay with her coworkers on social media in August 2021 .").

              23           In response, Ms. Gjovik suggests that she "posted on Twitter about wages at the same time

              24   Defendant was admittedly surveilling her Twitter posts." Opp'n at 14. But she does not point to
              25   any allegation that Apple admitted to surveilling or reading her Twitter posts. In her 4AC, she
              26   does suggest that Apple must have been surveilling her Twitter posts but again there are no

              27   specific facts to support this allegation.
              28          The Court therefore dismisses the claims to the extent the claims are based on allegations
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                                                                                                    ERVI 98
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                    Case 3;9£%9i3i'§39?|§~R?'°86%%2n§@¢'?t"i§5'"€aF31 'r0'?<S*9/329833832 of 41




              1    about disclosure of wages. The only issue remaining is amendment. See Opp'n at 14 ("These
               2   claims were not pled in detail in the 4AC because of the page limits and because they were not

              3    challenged in a way that Plaintiff would expect they would be challenged now."). The Court gives
               4   Ms. Gjovik leave to amend to correct this deficiency since Apple presented a new argument that it

              5    never did before.
               6                  c.      Summary
              7           The §§ 232.5, 1101, and 1102 claims shall not be based on the factual predicate related to

               8   statements or expressions of concern about Palestine, Muslim human rights, and Uyghur forced

              9    labor. Because the §§ 1101 and 1102 claims are based on that factual predicate alone, they are

              10   dismissed in their entirety, and with prejudice. The §§ 232 and 232.5 claims - to the extent based

              11   on disclosure of wages - shall be dismissed but with leave to amend (i. e., so that Ms. Gjovik can

              12   allege knowledge on the part of Apple of the wage disclosure) .

              13          5.      Count 7 - Claim for Violation of § 96(k)
       <3     14          In Count 7, Ms. Gjovik asserts a claim for violation of California Labor Code § 96(k). See

              15   Cal. Lab. Code § 96(k) (providing that the Labor Commissioner "shall, upon the filing of a claim
        W
                   therefor by an employee, . .. take assignments of .. . [c]laims for loss of wages as the result of
       -v-4
       Q      16

              17   demotion, suspension, or discharge from employment for lawful conduct occurring during

              18   nonworking hours away from the employer's premises").

              19          In the prior TAC, Ms. Gjovik included an alleged § 96(k) violation but it was part of her

              20   cause of action for violation of § 98.6. She has now in the 4AC pled a separate claim for violation

              21   of § 96(k) but she has also asserted that this claim is "via § 98.7." Section 98.7 states: "The

              22   complainant may, after notification of the Labor Commissioner's determination to dismiss a
              23   complaint, bring an action in an appropriate court, which shall have jurisdiction to determine

              24   whether a violation occurred, and if so, to restrain the violation and order all appropriate relief to

              25   remedy the violation." Cal. Lab. Code § 98.7(d)(l).
              26           Apple argues that the § 96(k) claim should be dismissed because there is no such thing as a
                                                                                                                            79
              27   private right of action for violation of § 96(k) - i. e., the claim cannot be brought as a "standalone.

              28   Met. at 24. Apple is correct that there is no such thing as a standalone § 96(k) claim. See
                                                                     22
                                                                                                        ERVI 99
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                1    Fleeman v. County of Kern, NO. 1:20-cv-00321-NONE-JLT, 2021 U.S. Dist. LEXIS 64294, at *16

                2    (E.D. Cal. Mar. 31, 2021) (noting that "both state and district courts alike have determined § 96(k)

                3    provides only a procedure for the Labor Commissioner and does not provide for a private right of

                 4   action"), Grinzi v. San Diego Hospice Corp., 120 Cal. App. 4th 72, 84 (2004) (stating that

                5    "section 96, subdivision (k), 'does not set forth an independent public policy that provides

                 6   employees with any substantive rights, but rather, merely establishes a procedure by which the

                7    Labor Commissioner may assert, on behalf of employees, recognized constitutional rights"'). In
                 8   spite of these authorities, Ms. Gjovik still takes the position that there may be a private right of

                9    action under § 96(k), but she offers no real support for the position other than public policy.

                10          That being said, in her complaint, Ms. Gjovik has suggested that the § 96(k) claim is really

                11   being brought pursuant to § 98.7, which as noted above provides as follows: "The complainant

          cos   12   may, after notification of the Labor Commissioner's determination to dismiss a complaint, bring
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    u'5062:     13   an action in an appropriate court, which shall have jurisdiction to determine whether a violation
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                14   occurred, and if so, to restrain the violation and order all appropriate relief to remedy the
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                15   violation." Cal. Lab. Code § 98.7(d)(l). Furthermore, in her opposition, she has returned to §
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     U)   5     16   98.6 as a predicate for the § 96(k) violation (as asserted in the TAC). See Opp'n at 17 (arguing
     -is
     3 E G)
     -»-4 3     17   that "[t]here is probably a private action for 96(k) via 98.6"). The latter argument has merit. See
      Q 5-1
     D zO       18   Grinzi, 120 Cal. App. 4th at 85 ("Section 98.6, subdivision (a) prohibits, in relevant part,

                19   termination because 'the employee ... engaged in any conduct delineated in this chapter,
                20   including the conduct described in subdivision (k) of Section 96...."').
                21          In light of the above, the Court does not view the § 96(k) claim as a true stand-alone claim.

                22   Rather, it construes the claim as a §98.6 claim predicated on § 96(k) (i. e., consistent with what
                23   Ms. Gjovik pled in the TAC).
                24   E.     Claims Related to Environmentally Unsafe Conditions
                25          The next group of claims brought by Ms. Gjovik are claims that relate to environmentally

                26   unsafe conditions, specifically, at the ARIA factory (located close to an apartment where Ms.

                27   Gjovik lived for a time).
                28              • In Count II, Ms. Gjovik alleges that the ARIA factory is a private nuisance.
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                                                                                                        ERVI 100
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                   1                  In Count 12, Ms. Gjovik alleges that there is strict liability because ultrahazardous
                   2                  activities are conducted at the ARIA factory .
                  3                   Finally, in Count 13, Ms. Gjovik alleges that Apple intentionally inflicted
                   4                  emotional distress on her by "deliberately vent[in]g deadly substances on [her] and

                  5                   then deliberately ma[king] false statements to conceal [its] actions." 4AC 11241 .

                   6                  Ms. Gjovik maintains that the severe emotional distress she has suffered includes

                  7                   "the fear of developing cancer." 4AC 1]243 .

                   8          1.      Time Bar
                  9           Apple argues that all of the claims which are tied to environmentally unsafe conditions at
                  10   the ARIA factory - are time barred. Apple maintains that each of the claims has a two-year
                  11   limitations period pursuant to California Code of Civil Procedure § 340.8. That statute provides:

           cos    12                  In any civil action for injury or illness based upon exposure to a
     'S                               hazardous material or toxic substance, the time for commencement
    062           13                  of the action shall be no later than either two years from the date of
    u
    '5 :                              injury, or two years after the plaintiff becomes aware of, or
    ': u
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                  14                  reasonably should have become aware of, (l) an injury, (2) the
    9O                                physical cause of the injury, and (3) sufficient facts to put a
    Q O           15                  reasonable person on inquiry notice that the injury was caused or
    on <4
    Q  'C
    <4                                contributed to by the wrongful act of another, whichever occurs
    <9
    <71
           5      16                  later.
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    <4 JZ!
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                  17   Cal. Code Civ. Proc. § 340.8(a). Section 340.8 essentially "incorporates the discovery rule into
     Q      5-1
    D       O
           z      18   the statute of limitations for toxic torts.799 Rosas v. BASF Corp., 236 Cal. App. 4th 1378, 1390

                  19   (2015). Apple then argues that, based on the allegations in the 4AC, Ms. Gjovik was aware of

                  20   each of the elements above, or reasonably should have become aware of such, by March 2021 at

                  21   the latest. Apple recites as fellows:
                  22                  "Plaintiff alleges that she became severely ill in February 2020." Mot. at 13, see
                  23

                  24
                       9 Ms. Gjovik suggests that § 340.8 is not the controlling statute on the limitations period but rather
                  25   § 338(b) and/or § 335.1. See Opp'n at 21, see also Cal. Code Civ. Proc. § 338(b) (providing for a
                       three-year limitations period for "[a]n action for trespass upon or injury to real property"), id. §
                  26   335.1 (providing for a two-year limitations period for "[a]n action for assault, battery, or injury to,
                       or for the death of, an individual caused by the wrongful act or neglect of another"). Ms. Gjovik's
                  27   reliance on § 338(b) is not on point as she is not claiming injury to real property (as opposed to
                       personal property). See, e.g., 4AC, Prayer for Relief 1] vi (referring to "cost to replace clothing and
                  28   other chattel property that were destroyed by Apple's tortfeasing"). As for her citation to § 335.1,
                       it has the same two-year limitations period as § 340.8 .
                                                                          24
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                        Case 39a§ce¢.3w@m90%3939~eD.w§~f¢n3d115°f@av2104»~4g1e835 of 41




                    1             also 4AC 9131 (alleging that Ms. Gjovik moved into her apartment on Scott

                    2             Boulevard in February 2020 and "quickly became severely ill").

                   3              "She further alleges that she discovered 'elevated levels' of chemicals in her
                    4             apartment in September 2020 and that certain of the chemicals she believes were in

                   5              her apartment are carcinogenic." Mot. at 13, see also 4AC 919134-35 (alleging that

                    6             Ms. Gjovik "discovered elevated levels of volatile organic compounds in her

                   7              indoor air" in September 2020 and that she thereafter "sought out multiple

                    8             occupational and environmental exposure doctors, who told [her] that all of her

                   9              symptoms were consistent with solvent and other chemical exposures", adding that,
                                  $6
                   10              [a]fter Gjovik discovered her medical issues at the apartment were due to a

                   11             chemical emergency, [she] quickly filed complaints" with the City of Santa Clara,

            cos    12             the California EPA and other state agencies, and the EPA), 4AC 9140 (alleging that
      'S
     062           13             Ms. Gjovik, hired an industrial hygienist to test the indoor air in her apartment in
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                   14             September 2020, results showed, e.g., the presence of Toluene), 4AC 91242
     9O
     Q O           15             (alleging that Apple exposed Ms. Gjovik to carcinogens such as "TCE, Toluene,
     on <4
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            5      16             Arsine, and Vinyl Chloride) .
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     G) G)
     <4 JZ!
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        4-2
                   17             "She further asserts that she concluded in September 2020 that 'her medical issues
      Q      5-1
     D       O
            z      18             at the apartment were due to a chemical emergency." Mot. at 13, see also 4AC 9191
                   19             34-35 (alleging that Ms. Gjovik "discovered elevated levels of volatile organic

                   20             compounds in her indoor air" in September 2020 and that she thereafter "sought out

                   21             multiple occupational and environmental exposure doctors, who told [her] that all

                   22             of her symptoms were consistent with solvent and other chemical exposures",

                   23             adding that, "[a]fter Gj ovik discovered her medical issues at the apartment were

                   24             due to a chemical emergency, [she] quickly filed complaints" with the City of

                   25             Santa Clara, the California EPA and other state agencies, and the EPA), 4AC gl41

                   26             (alleging that, in September 2020, Ms. Gjovik "set up additional air monitors to

                   27             observe the levels of VOCs in her apartment" "though she was not aware of the

                   28             factory exhaust at the time").
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                    1                  "She even alleges that she wrote and published an article on March 26, 2021 'about
                    2                  her chemical exposure with the air around ARIA' entitled 'I thought I was dying:
                   3                   My apartment was built on toxic waste' - clearly indicating that she suspected as of
                    4                  that date that her alleged injuries had a tortious cause." Mot. at 13, see also 4AC 91
                   5                   57 (referring to article published in the SF Bay View newspaper and adding that,

                    6                  after the article was published, "[m]ore victims and witnesses promptly came

                   7                   forward," some being Apple employees).
                    8                  "She moved out of [her] apartment in October 2020." Mot. at 13, see also 4AC q18
                   9                   (alleging that Ms. Gjovik "held a leasehold .. . in February 2020 through October
                   10                  2020").
                   11          According to Apple, if Ms. Gjovik knew or should have been aware that (1) she was ill (an

                   12   injury) (2) due to chemical exposure (the physical cause) (3) caused or contributed to by another
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    062            13   (someone's toxic waste) - and all by March 2021 at the latest when she published her article
    CJ:
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    .:*C.)         14   then she should have filed suit by March 2023, but she did not file suit until September 2023 .
    be
    QE'            15   Apple adds that the fact that Ms. Gjovik allegedly did not know the identity of the wrongdoer until
     on
    3G)
          E"
    <71   5        16   2023 is irrelevant because the California Supreme Court has held as follows :
    G)
    .<:   -I-_<3   17                  While ignorance of the existence of an injury or cause of action may
     Q    5-1
          O                            delay the running of the statute of limitations until the date of
    D
          z        18                  discovery, the general rule in California has been that ignorance of
                                       the identity of the defendant is not essential to a claim and therefore
                   19                  will not toll the statute. As we have observed, "the statute of
                                       limitations begins to run when the plaintiff suspects or should
                   20                  suspect that her injury was caused by wrongdoing, that someone has
                                       done something wrong to her." Aggrieved parties generally need
                   21                  not know the exact manner in which their injuries were "effected,
                                       nor the identities of all parties who may have played a role therein."
                   22
                        Bernson v. Browning-Ferris Indus., 7 Cal. 4th 926, 932 (1994), see also Fox v. Ethicon Endo-
                   23
                        Surgery, Inc., 35 Cal. 4th 797, 807 (2005) (stating that "[t]he discovery rule . . . allows accrual of
                   24
                        the cause of action even if the plaintiff does not have reason to suspect the defendant's identity . . .
                   25
                        because the identity of the defendant is not an element of a cause of action", adding that, once a
                   26
                        plaintiff is aware of a cause of action, "he normally has sufficient opportunity, within the
                   27
                        applicable limitations period, to discover the identity") (internal quotation marks omitted).
                   28
                                                                           26
                                                                                                            ERVI 103
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                     1          In evaluating Apple's argument, the Court must take into account that § 340.8 effectively
                     2   "incorporates the discovery rule into the statute of limitations for toxic torts." Rosas, 236 Cal.
                    3    App. 4th at 1390.

                     4                  [U]nder the delayed discovery rule, a cause of action accrues and the
                                        statute of limitations begins to run when the plaintiff has reason to
                    5                   suspect an injury and some wrongful cause, unless the plaintiff
                                        pleads and proves that a reasonable investigation at that time would
                     6                  not have revealed a factual basis for that particular cause of action.
                                        In that case, the statute of limitations for that cause of action will be
                    7                   tolled until such time as a reasonable investigation would have
                                        revealed its factual basis .
                     8

                    9    Fox, 35 Cal. 4th at 803 (emphasis added).
                    10           Based on the allegations in the complaint, the Court agrees with Apple that the statute of

                    11   limitations began to run at the latest by March 2021: at that time, she knew she was injured and

                    12   she suspected that her injury was the result of someone else's wrongdoing - as reflected in her
       .9
     'S E
     062            13   article published at the time.10 See Jolly v. Eli Lilly & Co., 44 Cal. 3d 1103, 1110 (1988) (stating
     CJ:
     45    621
     .:*C.)         14   that, $6[u]nder the discovery rule, the statute of limitations begins to run when the plaintiff suspects
     be
     QE'            15   or should suspect that her injury was caused by wrongdoing, that someone has done something
      on
     3G)
           E"
     <71   5        16   wrong to her", "[s]o long as a suspicion exists, it is clear that the plaintiff must go find the facts"
     G)
     .<:   -I-_<3   17   and "cannot wait for the facts to find her").
      Q    5-1
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     D
           z        18          However, as indicated above, if Ms. Gjovik can
                    19                  plead[] and prove[] that a reasonable investigation at that time
                                        would not have revealed a factual basis for that particular cause of
                    20                  action .... , the statute of limitations for that cause of action will be
                                        tolled until such time as a reasonable investigation would have
                    21                  revealed its factual basis .
                    22
                         Fox, 35 Cal. 4th at 803 (emphasis added), of. id. at 808 (stating that "a potential plaintiff who
                    23
                         suspects that an injury has been wrongfully caused must conduct a reasonable investigation of all
                    24
                         potential causes of that injury").
                    25
                                In the case at bar, Ms. Gjovik would have a factual basis for her environmental claims
                    26

                    27
                         10 At the time that she wrote her article in March 2021, it seems Ms. Gjovik believed that her
                    28   apartment was built on a toxic site. See https://sfbayview.com/202l/03/i-thought-i-was-dying-my-
                         apartment-was-built-on-toxic-waste/ (last visited 9/30/2024).
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              1    against Apple once she knew or suspected that the ARIA factory was the source of the chemical
              2    exposure. Apple correctly argues that a plaintiff need not know of a defendant's identity in order
              3    for the statute of limitations to begin to run. However, Ms. Gjovik still had to know or suspect

               4   that the cause of her injury was chemical exposure emanating from the factory close to her

              5    apartment - as opposed to her apartment being located on a toxic site, as she believed at the time

               6   she wrote her article in March 2021. Cf. Fox, 35 Cal. 4th at 813 (noting that, "if a plaintiff" s

              7    reasonable and diligent investigation discloses only one kind of wrongdoing when the injury was

               8   actually caused by tortious conduct of a wholly different sort, the discovery rule postpones accrual

              9    of the statute of limitations on the newly discovered claim").
              10          The Court also acknowledges that a plaintiff does not have to know of "the specific causal

              11   mechanism by which he or she has been injured" in order for the statute of limitations to run

              12   e.g., "the precise manner in which a wrongdoer was negligent." Knowles v. Superior Ct., 118 Cal.
              13   App. 4th 1290, 1298 (2004). But there is a difference between a specific causal mechanism and
        go
       u      14   the (purported) cause itself. Even if Ms. Gjovik did not have to know the precise manner in which

              15   the factory (allegedly) leaked chemicals into the environment, she still had to know or suspect that
        v-4
              16   it was the factory responsible for the incidental chemical exposure at her home, a site apart from

              17   the factory. Cf Rosas, 236 Cal. App. 4th at 1391-92 (noting that, in a prior case, where plaintiff
              18   suffered injuries caused by mold exposure, delayed discovery rule was rejected, "[t]here was

              19   undisputed evidence that the plaintiff experienced severe bouts of asthma and was hospitalized in

              20   the summer of 1984, and on or before October 1984, plaintiff had her condominium unit tested for

              21   mold contamination, retained a microbiologist to pinpoint the source of the mold, and her husband
              22   sent a letter to the defendant stating that the flooding caused mold which caused the plaintiff to

              23   suffer extreme allergic reactions a year earlier") (emphasis added).
              24          In the 4AC, Ms. Gjovik has alleged that she did not know about the semiconductor

              25   fabrication activities at ARIA until February 2023. See 4AC 91 149. The problem is that she has

              26   not pled any "facts to show (1) the . . . manner of discovery and (2) the inability to have made
              27   earlier discovery despite reasonable diligence." Fox, 35 Cal. 4th at 808. Ms. Gjovik attempted to
              28   correct this deficiency with her sur-reply, but a sur-reply is not a pleading and, in any event, it was
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                                                                                                      ERVI 105
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               1   stricken. See Docket NO. 98 (order) .

               2           That the Court struck the sur-reply does not preclude the Court from giving Ms. Gjovik the

              3    opportunity to amend to correct the deficiency in her pleading. Apple contends that amendment

               4   should not be permitted because it would be a futile exercise. Specifically, Apple asserts that
              5    certain allegations Ms. Gjovik made in her prior second amended complaint ("SAC") are judicial

               6   admissions demonstrating that amendment would be futile. of. In re Bang Energy Drink Mktg.

              7    Litig., No. 18-cv-05758-JST, 2021 U.S. Dist. LEXIS 146977, at *10 (N.D. Cal. June 30, 2021)
               8   (indicating that "factual allegations in a prior complaint are 'judicial admissions,' and 'when the

              9    party fails to provide a credible explanation for its "error," the [c]ourt may disregard the

              10   contradictory pleading") .

              11           The Court has reviewed the portions of the SAC identified by Apple. The allegations in

              12   the SAC do reflect that Ms. Gjovik knew about the ARIA factory in September 2020 and that, at

              13   that time, she seems to have considered it as a possible source of the chemical exposure
        go
       u      14   specifically, because "'[i]t was registered with the EPA for Toxic Releases (TRl)."' SAC 11185.
              15   However, Ms. Gjovik goes on to allege that "[t]he prior TRI registration was for a different
        W
       -v-4
       Q      16   company and Apple did not submit their first filing until mid-2021 ." SAC 11185. The allegations

              17   in the SAC, therefore, do not establish futility of amendment. Accordingly, the Court shall allow
              18   Ms. Gjovik to amend to address the time-bar problem."
              19            2.      Count 12 - Claim for Ultrahazardous Activities
              20            Apple contends that, even if there is no time bar, Count 12 at the very least should still be

              21   dismissed because Ms. Gjovik has failed to sufficiently plead ultrahazardous activities (thus giving

              22   rise to strict liability).

              23           In its prior order on the TAC, the Court held that Ms. Gjovik's claim that there were

              24   ultrahazardous activities at ARIA survived only to the extent she had "made allegations that there

              25   are chemicals used for which there is no safe level of exposure, thus implying they are absolutely

              26

              27
                   11 To the extent Ms. Gjovik asserts that there is no time-bar problem because the ARIA factory is a
              28   continuing nuisance, that argument lacks merit. Ms. Gjovik moved out of her apartment near the
                   ARIA factory in October 2020.
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                 1    prohibited under any circumstance." Docket No. 73 (Order at 29). In the pending motion to
                 2    dismiss, Apple argues that, "for the first time," Ms. Gjovik identifies the "specific statutes on

                 3    which she relies for the assertion that certain chemicals are 'absolutely prohibited' - yet under the
                  4   plain language of those statutes, the chemicals at issue are not 'absolutely prohibited." Mot. at

                 5    17-18. See, e.g., 17 Cal. Code Regs. § 93000 (providing that "[e]ach substance identified in this

                  6   section has been determined by the State Board to be a toxic air contaminant as defined in Health

                 7    and Safety Code section 39655" but finding that, for each substance, "there is not sufficient

                  8   available scientific evidence to support the identification of a threshold exposure level") .

                 9           In her opposition, Ms. Gjovik argues that the chemicals at issue could establish that Apple

                 10   engaged in ultrahazardous activities because they are poisonous and there are multiple

                 11   considerations in whether an activity is ultrahazardous - e.g., "[a]n activity might be reasonably

                 12   safe if performed in an isolated area, yet involve an unreasonable risk of harm if conducted in a
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     :
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                 13   highly populated area." Opp'n at 25. The problem for Ms. Gjovik is that she previously claimed
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     . Q         14   ultrahazardous activity because Apple used chemicals for which there is no safe level of exposure.
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                      She is now backtracking from that position. The Court holds Ms. Gjovik to her prior position.
     88Q 16s-4


                      Because Ms. Gjovik now essentially concedes that the chemicals at issue are not absolutely
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     Eta
                 17   prohibited, the Court dismisses the claim for ultrahazardous activities, and with prejudice.
     :go   z     18          3.      Count 13 - Claim for IIED
                 19          Count 13 is the claim for intentional infliction of emotional distress ("HED").

                 20                  The elements of the tort of intentional infliction of emotional
                                     distress are: "'(l) extreme and outrageous conduct by the defendant
                 21                  with the intention of causing, or reckless disregard of the probability
                                     of causing, emotional distress, (2) the plaintiffs suffering severe or
                 22                  extreme emotional distress, and (3) actual and proximate causation
                                     of the emotional distress by the defendant's outrageous conduct....'
                 23                  Conduct to be outrageous must be so extreme as to exceed all
                                     bounds of that usually tolerated in a civilized community." The
                 24                  defendant must have engaged in "conduct intended to inflict injury
                                     or engaged in with the realization that injury will result."
                 25
                 26   Christensen v. Superior Court, 54 Cal. 3d 868, 903 (1991).
                 27          For Count 13, Apple argues that, even if there is no time bar, the claim is deficient because

                 28   Ms. Gjovik has failed to allege that Apple's conduct was "directed at [her] or undertaken with
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                                                                                                         ERVI 107
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               1   krlowledge of [her] presence and [exposure to the chemicals]." Mot. at 14 (internal quotation
               2   marks omitted). In Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 1002 (1993), the

              3    California Supreme Court stated that, to establish an IIED claim, the conduct must be not only

               4   intentional and outrageous but also "directed at the plaintiff, or occur[ring] in the presence of a

              5    plaintiff of whom the defendant is aware[,] [t]he requirement that the defendant's conduct be

               6   directed primarily at the plaintiff is a factor which distinguishes intentional infliction of emotional

              7    distress from the negligent infliction of such injury." Id. at 1002 (internal quotation marks

               8   omitted) .

              9            Potter supports Apple's position. Notably, Potter took into account a possible "finding

              10   that [the defendant] had to have realized that its misconduct was almost certain to cause severe

              11   emotional distress to any person who might foreseeably consume the water and subsequently

              12   discover the facts." Id. at 1003. Nevertheless, the Court held this was not good enough to support
              13   a claim for IIED :
       <3     14                  because knowledge of these particular plaint's is lacking.
              15                  This conclusion is consistent with the result reached in Christensen,
        v-4
                                  supra, 54 Cal.3d 868, itself. There we held that, even though it was
              16                  alleged that defendants' conduct in mishandling the remains of
                                  deceased persons was intentional and outrageous and was
              17                  substantially certain to cause extreme emotional distress to relatives
                                  and close friends of the deceased, the plaintiffs' cause of action for
       Z'     18                  intentional infliction of emotional distress was not sufficiently
                                  supported where there was no allegation that the defendants'
              19                  misconduct was directed primarily at plaintiffs, or that it was
                                  calculated to cause them severe emotional distress, or that it was
              20                  done with knowledge of their presence and with a substantial
                                  certainty that they would suffer severe emotional injury.
              21

              22   Id. (emphasis in original).

              23           Accordingly, the Court dismisses the IIED claim. The Court shall give Ms. Gjovik leave
              24   to amend here because Apple has made a new argument in challenging the claim. That being said,
              25   the Court notes that it is extremely skeptical that Ms. Gjovik could, in good faith and in

              26   compliance with her Rule II obligations, allege that Apple directed its conduct at her specifically

              27   or with knowledge of her presence specifically, and that its conduct was calculated to cause her

              28   severe emotional distress.
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                                                                                                      ERVI 108
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               1           4.      Summary
               2           Count 12 is dismissed with prejudice. Counts 11 and 13 are dismissed but with leave to
              3    amend. For Count 11, there is the time-bar problem. For Count 13, there is both the time-bar
               4   problem and a merits problem. Any amendment will have to overcome these problems .

              5    F.      Remaining Claims

               6           1.      Count 9 - Claim Related to Privacy Violation
              7            Count 9 is Ms. Gjovik's claim for violation of § 17200.
               8           In its prior order, the Court noted that the claim (as pled in the TAC) seemed

              9                    to be based on three factual predicates: (1) Apple's coercing
                                   employees to provide personal data for Apple's commercial use,
              10                   such as with the Gobbler application, see TAC 91255 (alleging that
                                   no consent was obtained or compensation provided), (2) Apple's
              11                   coercing employees to be a part of invasive studies, see TAC 91258,
                                   and (3) Apple's establishment of a health care clinic, called AC
              12                   Wellness, which it then used improperly. See TAC 91259. (To be
                                   frank, the Court does not understand the allegations made with
              13                   respect to (3).)
              14   Docket No. 73 (Order at 45).
              15           Apple argued that Ms. Gjovik lacked statutory standing to proceed with the claim because
        W
       -v-4
       Q      16   she failed to allege that she lost money to Apple which Apple should disgorge. See Cal. Bus. &

              17   Prof. Code § 17203 (providing that a "court may make such orders or judgments .. . as may be
              18   necessary to restore to any person in interest any money or property, real or personal, which may

              19   have been acquired by means of such unfair competition"), see also Shersher v. Superior Court,
              20   154 Cal. App. 4th 1491, 1497-98 (2007) (noting that the California Supreme Court has "held that

              21   the only remedy expressly authorized by section 17203 was restitution to individuals who had an

              22   ownership interest in money paid to the defendants, there was nothing, either in the express

              23   language of the statute or in its legislative history, to indicate that the legislature intended to

              24   authorize a court to 'order a defendant to disgorge all profits to a plaintiff who does not have an

              25   ownership interest in those profits"'). The Court agreed with Apple that disgorgement would not
              26   be an available remedy but stated that Apple had failed to explain why Ms. Gjovik lacked standing

              27   to pursue injunctive relief. The Court added that it was giving Ms. Gjovik leave to amend to

              28   clarify her claim based on AC Wellness. See Docket NO. 73 (Order at 45-46).
                                                                       32
                                                                                                        ERVI 109
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                     1          In the pending motion, Apple moves to dismiss the § 17200 claim as repleaded in the 4AC,
                     2   even though Ms. Gjovik now seeks only injunctive relief and has dropped allegations related to

                    3    AC Wellness. See, e.g., 4AC 9191205-06 (asking the Court to order Apple "to disgorge unlawful

                     4   data and the fruit of the poisoned data" and to prohibit Apple "from using personal employee data

                    5    in for-profit product development"), see also Opp'n at 18 (stating that "Plaintiff does not need
                     6   economic restitution - and instead requests disgorgement (deletion) of data and software not
                    7    money"). Apple has made multiple arguments - that Ms. Gjovik has made an amendment beyond
                     8   the scope permitted, that she lacks statutory standing to proceed with the claim, that she also lacks

                    9    Article III standing, that the claim is time barred, and that the relief sought is improper. In her

                    10   opposition, Ms. Gjovik addresses at most the standing issues. Because Ms. Gjovik has failed to

                    11   address the remaining arguments made by Apple, the Court deems any opposition waived, and

                    12   therefore dismissal of the claim is appropriate.
       .9
     'S E
     062            13          The Court also concludes, based on its independent review, that, at the very least, Apple's
     CJ:
     45    621
     .:*C.)         14   arguments on the time bar and improper relief have merit. Regarding the time bar, there is a four-
     be
     QE'            15   year limitations period under California Business & Professions Code § 17208. Apple notes that,
      on
     3G)
           E"
     <71   5        16   in her prior pleading (the SAC), Ms. Gjovik alleged that Apple "coerced her to provide personal
     G)
     .<:   -I-_<3   17   data in August 2017, nearly seven years before she introduced this cause of action in March
      Q    5-1
           O
     D
           z        18   2024." Mot. at 8, see also SAC 9191 136-42 (alleging that, in August 2017, an Apple engineering

                    19   manager emailed a list of Apple employees, including Ms. Gjovik, about a Gobbler user study and

                    20   that Ms. Gjovik was coerced to use the Gobbler application to provide biometrics and videos at a

                    21   supposed social event). Ms. Gjovik cannot avoid her own allegations even if these allegations

                    22   were made in a prior pleading. See Bang Energy Drink, 2021 U.S. Dist. LEXIS 146977, at *10

                    23   (N.D. Cal. June 30, 2021) (indicating that "factual allegations in a prior complaint are 'judicial
                    24   admissions,' and 'when the party fails to provide a credible explanation for its "error," the [c]ourt
                    25   may disregard the contradictory pleading").
                    26          Ms. Gjovik could have, but did not, contend there is no time bar because there is some

                    27   kind of continuing accrual, i. e., because Gobbler is still on her personal account. See Aryeh v.

                    28   Canon Bus. Solos., Inc., 55 Cal. 4th 1185, 1198 (2013) (noting that, under the continuing accrual
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               1   theory, "recurring invasions of the same right can each trigger their own statute of limitations").
               2   Any such argument has been waived.

              3              As for improper relief, Apple argues that, at best, Ms. Gjovik can only obtain relief for

               4   herself and not others, especially as she has not pled a class action. The Court agrees. Section
              5    17203 provides in relevant part:
               6                    Any person may pursue representative claims or relief on behalf of
                                    others only if the claimant meets the standing requirements of
              7                     Section 17204 and complies with Section 382 of the Code of Civil
                                    Procedure, but these limitations do not apply to claims brought
               8                    under this chapter by the Attorney General, or any district attorney,
                                    county counsel, city attorney, or city prosecutor in this state.
              9
                   Cal. Bus. & Pref. Code § 17203 (emphasis added). Section 382 in turn provides:
              10
                                    If the consent of any one who should have been joined as plaintiff
              11                    cannot be obtained, he may be made a defendant, the reason thereof
                                    being stated in the complaint, and when the question is one of a
              12                    common or general interest, of many persons, or when the parties
                                    are numerous, and it is impracticable to bring them all before the
              13                    court, one or more may sue or defend for the benefit of all.
        go
       u      14   Cal. Code Civ. Proc. § 382, see also Woods v. Am. Film Instit., 72 Cal. App. 5th 1022, 1028-29

              15   (2021) ("A lawsuit may proceed as a class action 'when the question is one of a common or
        W
       -v-4
       Q      16   general interest, of many persons, or when the parties are numerous, and it is impracticable to

              17   bring them all before the court.' (Code Civ. Proc., § 382.)"). The California Supreme Court has
       Z'     18   noted :
              19                    The voters restricted private enforcement of the UCL in 2004, by
                                    approving Proposition 64.... Proposition 64 ... required that
              20                    representative actions by private parties must "comply] with
                                    Section 382 of the Code of Civil Procedure." Therefore, a private
              21                    plaintiff must file a class action in order to represent the interests of
                                    others.
              22
                   Zhang v. Superior Court, 57 Cal. 4th 364, 372 (2013).
              23
                             Accordingly, the Court dismisses the § 17200 claim because, even if Ms. Gjovik has
              24
                   standing (both statutory and Article III), she has failed to address the other arguments made by
              25
                   Apple. Apple's arguments on the time bar and improper relief also have merit.
              26
                             2.     Count 10 - Claim Related to Post-Termination Conduct
              27
                             Count 10 is another claim for IIED. In Count 10, Ms. Gjovik largely targets post-
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                          Case 38@§ce¢.6§         @ma#09l3939~eDnw=;w¢n3d116°faav2112898835 of 41




                     1   termination conduct by Apple employees:
                     2                  [S]everal named Apple employees posted on social media, under
                                        their own names, claiming Gjovik's claims were bogus, that Gjovik
                    3                   was a liar and bad actor, and that Gjovik deserved the hann Apple
                                        was causing her. Five named employees took an active role in
                     4                  posting defamatory and harassing things about Gjovik, contacting
                                        Gjovik's friends and associates to speak negatively about Gjovik
                    5                   and urge them not to associate with her, and to create negative
                                        rumors about Gjovik in order to ostracize and alienate her.
                     6
                         4AC 91210.
                    7
                                Ms. Gjevik also makes more serious claims, asserting that Apple engaged in
                     8
                                        witness intimidation, witness retaliation, burglary, extortion, threats,
                    9                   and surveillance. Apple stalked Gjovik in California and New Yok,
                                        sending people to sit outside her apartment, follow her around, and
                    10                  take photos/videos of her inside her home from outside the
                                        windows. Apple surveilled Gjovik and even bugged her property,
                    11                  including, apparently, directly intercepting her home internet.
                    12                  .... Apple repeatedly broke into Gjovik's home in at least the state
       .9
     'S E                               of California and Commonwealth of Massachusetts, but probably
     062            13                  also the state of New York.
     CJ:
     45    621
     .:*C.)         14   4AC qlql 215-16. Ms. Gjovik further asserts that Apple "handle[d] [her dog] during one of the
     be
     QE'            15   break-ins, leaving a strong odor of cigarettes on his little body," "sent her possessions to her in a
      on
     3G)
           E"
     <71   5        16   box with broken glass and threatened it could contain a severed head," "repeatedly threatened to
     G)
     .<:   -I-_<3   17   'ruin' and 'destroy' her, and even sent her emails pretending to be government employees
      Q    5-1
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           z        18   threatening her to stop speaking about Apple's chemical leaks." 4AC W 217-28.
                    19          In its motion to dismiss, Apple argues that some of the conduct is not actionable as it is not

                    20   outrageous    e.g., Ms. Gjevik being called a liar. As for the more serious conduct, Apple argues
                    21   that Ms. Gjovik's allegations are too conclusory, not giving enough information about how, e.g.,

                    22   Apple stalked her or broke into her home, who at Apple engaged in this conduct (or how Ms.

                    23   Gjovik knew that it was an Apple employee), and when. The Court agrees with both of Apple's
                    24   criticisms. Being called, e.g., a liar is, as a matter of law, not outrageous conduct sufficient to

                    25   support a claim for IIED. See King v. Facebook, Inc., 572 F. Supp. 3d 776, 786 (N.D. Cal. 2021)

                    26   (noting that "[l]iability for IIED does not extend to mere insults, indignities, threats, annoyances,

                    27   petty oppressions, or other trivialities"), Yorick v. Superior Court, 209 Cal. App. 3d 1116, 1124-
                    28   25, 1129 (1989) (stating that "[defendant's] alleged conduct [which included calling plaintiff a
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                   1    liar], while objectively offensive and in breach of common standards of civility, was not so

                    2   egregiously outside the realm of civilized conduct as to give rise to actionable infliction of mental

                   3    distress"). To the extent Ms. Gjovik claims that Apple has engaged in more serious conduct, there

                    4   must be some specificity about what exactly the wrongdoing was (or Apple cannot fairly defend

                   5    itself. Ms. Gjovik must also provide specific, concrete facts establishing a plausible basis for her
                    6   belief that the wrongdoing she generally describes was in fact conducted by Apple. See Iqbal, 556

                   7    U.S. at 678 (stating that a complaint is insufficient "if it tenders 'naked assertion[s]' devoid of
                    8   'further factual enhancement"'). Specificity is particularly important where the claims on their
                   9    face strain plausibility. of. Lindblad v. Livermore Chamber of Commerce, NO. 2l-cv-06464-
                   10   WHO, 2021 U.s. Dist. LEXIS 237998, at *1 (N.D. Cal. Dec. 13, 2021) (noting that "[a] court may
                   11   dismiss a claim as 'clearly baseless,' including allegations that are 'fanciful' or 'fantastic"')

            cos    12   (quoting Denton v. Hernandez, 504 U.S. 25 (1992)). Furthermore, if Ms. Gjovik is arguing that
      'S
     062           13   Apple should be held liable because the misconduct was carried out by an Apple employee, Apple
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     '5 :
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                   14   is not automatically liable for the intentional torts of its employees. As the Court noted in its prior
     9O
     Q O           15   order, an employer can be held vicariously liable for the torts of its employees only if they were
     on <4
     Q  'C
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            5      16   committed within the scope of the employment, an employer will not be held liable if an employee
     -is E
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     <4 JZ!
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        4-2
                   17   inflicts injury out of personal malice not engendered by the employment. See Docket No. 73
      Q      5-1
     D       O
            z      18   (Order at 32-33), see also Alma W v. Oakland Uni]9ed Sch. Dist., 123 Cal. App. 3d 133, 142-43
                   19   (1981) (stating that "[t]he test is not whether it is foreseeable that one or more employees might at

                   20   some time act in such a way as to give rise to civil liability, but rather, whether the employee's act

                   21   is foreseeable in light of the duties the employee is hired to perform") (emphasis in original).
                   22          The only issue remaining is whether Ms. Gjovik should be given leave to amend. The
                   23   Court shall not permit Ms. Gjovik to base an IIED claim simply because she was allegedly called

                   24   a liar (or other similar conduct). Such a claim would be futile as that conduct is not, as a matter of

                   25   law, outrageous. However, the Court shall allow Ms. Gjovik to amend to the extent she has

                   26   implicated more serious misconduct (e.g., stalking, breaking into her home, etc.) because Apple's

                   27   challenge is a new one not previously made before. See Docket No. 73 (Order at 42) (expressing

                   28   confusion that Ms. Gjovik made allegations about bugging, etc. but, at that time, did not base her
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               1   IIED claim in her TAC on these allegations). That being said, the Court reiterates statements
               2   made in its prior order: even though an employer can be held vicariously liable for the torts of its

              3    employees committed within the scope of the employment (even if willful and without the

               4   authorization of the employer), "an employer will not be held liable for an intentional tort that did

              5    not have a causal nexus to the employee's work. For instance, [i]fan employee inflicts an injury
               6   out of personal malice, not engendered by the employment, the employer is not liable." Docket
              7    No. 73 (Order at 33) (emphasis added, internal quotation marks omitted). "Respondeat superior

               8   liability should apply only to the type of injuries that as a practical matter are sure to occur in the

              9    conduct of the employer's enterprise. The employment, in other words, must be such as
              10   predictably to create the risk employees will commit intentional torts of the type for which liability

              11   is sought." Docket No. 73 (Order at 33) (internal quotation marks omitted). If Ms. Gjovik does

              12   amend Count 10, she must allege specific concrete facts to support a basis for respondeat superior

              13   liability. The Court has strong concerns as to whether Ms. Gjovik can, in good faith, allege a basis

              14   for respondeat superior liability .

              15           3.      Count 8 - Claim for Breach of the Implied Covenant
        v-4
              16           Finally, in Count 8, Ms. Gjovik asserts a claim for breach of the implied covenant of good

              17   faith and fair dealing.
       Z'     18           In its prior order, the Court allowed the claim to proceed to the following extent:

              19                   Apple does not seem to have taken into account the suggestion in
                                   the TAC (albeit, not a clear one) that Apple timed her firing her to
              20                   deprive her of a performance bonus. See Gun, 24 Cal. 4th at 353
                                   n. 18 (stating that "the covenant prevents a party from acting in bad
              21                   faith to frustrate the contract's actual benefits" - e.g., "the covenant
                                   might be violated if termination of an at-will employee was a mere
              22                   pretext to cheat the worker out of another contract benefit to which
                                   the employee was clearly entitled, such as compensation already
              23                   earned") (emphasis in original).
              24   Docket No. 73 (Order at 41).

              25           In its motion, Apple's main argument is that the claim should be dismissed because the
              26   implied covenant inherent in all contracts simply prevents a contracting party from unfairly

              27   frustrating the other party's right to receive the benefits of the contract, and, here, Ms. Gjovik has

              28   not identified "any contract obligating Apple to pay out [performance] bonuses [including]
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                                                                                                        ERVI 114
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               1   irrespective of whether an employee was terminated prior to payment." Mo t . at 25, see also 4AC

               2   91 190 (simply alleging that "Apple breached the covenant by intentionally terminating Gjovik [in

              3    September 2021] when her annual performance review was due, which would have been

               4   accompanied by a performance bonus that she had already earned through her successful

              5    performance in 2020-2021").

               6          Apple raises a fair argument, and, in her opposition, Ms. Gjovik fails to address it in any
              7    way. That being the case, the Court dismisses the claim with prejudice, any opposition has been

               8   waived.

              9    G.     Motion to Strike

              10          Apple has moved to strike certain allegations to the extent the Court dismisses any of the

              11   claims which are based on those allegations. As a practical matter, this is not a helpful approach
              12   because it is possible that an allegation may be relevant to more than one cause of action. If

              13   Apple's concern here is that Ms. Gjovik will seek discovery beyond the scope of the claims that
       <3     14   survive the l2(b)(6) challenge, then it can raise that concern before the magistrate judge or this

              15   Court, where needed, and when the adjudicator will have more concrete facts before it. The
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       -v-4
       Q      16   motion to strike therefore is denied, but without prejudice to Apple seeking relief in a different

              17   context, where appropriate.
       Z'     18                                       III.      CONCLUSION

              19          For the foregoing reasons, the Court denies Apple's motion to strike but grants in part and

              20   denies in part its motion to dismiss. Specifically:
              21          Retaliation Claims
              22                  Count 2 - claim for violation of § 11025. Apple has moved to dismiss part of the
              23                  claim. The motion is granted. The following factual predicates are eliminated
              24                  from the claim (with prejudice): (l) that Ms. Gjovik complained about smuggling
              25                  and sanctions violations, (2) that Ms. Gjovik complained about privacy violations

              26                  related to Gobbler, and (3) that Ms. Gjovik made complaints about violations of

              27                  CERCLA, RCRA, and the Clean Air Act or any other whole statutory framework.

              28                  The following substantive claims remain as pled: complaints about (1) violations
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                    1              of the anti-retaliation provisions of environmental laws, specifically, 42 U.S.C. §§

                    2              9610 and 7622 and 15 U.S.C. 2622; (2) violation of § 8(a)(1) of the NLRA; (3)

                   3               violation of California General Industry Safety Order 5194, (4) violation of 29

                    4              U.S.C. § 660, (5) violation of the California Constitution's right to privacy (but not

                   5               related to Gobbler), and (6) violation of 42 U.S.C. § 2000e and California

                    6              Government Code § 12920. To the extent Ms. Gjovik seeks a civil penalty on the

                   7               remaining portion of the § 1102.5 claim, there is a time bar, however, Ms. Gjovik

                    8              has leave to amend. Ms. Gjovik has leave to amend to plead tolling only.

                   9               Count 4 - claim for violation of HSITA. Apple has moved to dismiss the claim in
                   10              its entirety. The motion is granted. The claim for violation of the HSITA (§
                   11              6399.7) is deemed a claim for violation of § 6310. This specific § 6310 claim is

            cos    12              dismissed with prejudice based on Ms. Gjovik's failure to oppose Apple's
      'S
     062           13              argument that she failed to allege exposure resulting from workplace operations.
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                   14              Count 5 - claim for violation of § 98.6. Apple has moved to dismiss the claim in
     9O
     Q O           15              part. The motion is granted. The claim for a civil penalty is time barred, but Ms .
     on <4
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            5      16              Gjovik has leave to amend to plead tolling.
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                   17              Count 6 - claim for violation of §§ 232, 232.5, 1101, and 1102. Apple has moved
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     D       O
            z      18              to dismiss the claim in part. The motion is granted. The factual predicate related to
                   19              Palestine, Muslim human rights, or Uyghur forced labor is eliminated from the §§

                   20              232.5, 1101, and 1102 claims (with prejudice). As a practical matter, this also

                   21              results in the dismissal with prejudice of the §§ 1101 and 1102 claims. To the

                   22              extent the §§ 232 and 232.5 claims are predicated on disclosure of wages, it is

                   23              dismissed but with leave to amend (i. e., so that Ms. Gjovik can allege knowledge

                   24              on the part of Apple of the wage disclosure). This is the only amendment

                   25              permitted.

                   26              Count 7 - claim for violation of § 96(k). Apple has moved to dismiss the claim in
                   27              its entirety. The motion is denied. The Court does not view the § 96(k) as a true

                   28              stand-alone claim but rather construes the claim as a § 98.6 claim predicated on §
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                                                                                                     ERVI 116
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                    1              96(k). This is consistent with the position Ms. Gjovik took in the TAC.
                    2       Claims Related to Environmentally Unsafe Conditions
                   3               Count 11 - claim for private nuisance. Apple has moved to dismiss the claim in its
                    4              entirety. The motion is granted. The claim is time barred but Ms. Gjovik has leave
                   5               to amend to address the statute-of-limitations problem.
                    6              Count 12 - claim for ultrahazardous activities. Apple has moved to dismiss the
                   7               claim in its entirety. The motion is granted. As above, there is a time bar.
                    8              Moreover, the Court does not give leave to amend and dismisses the claim with

                   9               prejudice because Ms. Gjovik previously claimed ultrahazardous activity on the

                   10              basis that Apple used chemicals for which there is no safe level of exposure, but the

                   11              chemicals she identified in the 4AC are not absolutely prohibited.

            cos    12              Count 13 - claim for IIED. Apple has moved to dismiss the claim in its entirety.
      'S
     062           13              The motion is granted. As above, there is a time bar. Also, on the merits, the claim
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            CO

                   14              fails. Ms. Gjovik has leave to amend to address the statute-of-limitations problem
     9O
     Q O           15              and the merits problem. As to the merits, the Court is extremely skeptical that Ms.
     on <4
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     <71
            5      16              Gjovik can amend in good faith and in compliance with her Rule II obligations.
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     G) G)
     <4 JZ!
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                   17       Remaining Claims
      Q      5-1
     D       O
            z      18              Count 9 - claim related to privacy violation (§ 17200 violation). Apple has moved
                   19              to dismiss the claim in its entirety. The motion is granted. Even if Ms. Gjovik has
                   20              standing, she has failed to address the other arguments made by Apple (e.g., time

                   21              bar and improper relief sought). Dismissal is with prejudice.
                   22              Count 10 - claim related to post-termination conduct (IIED). Apple has moved to
                   23              dismiss the claim in its entirety. The motion is granted. The claim is dismissed
                   24              with prejudice to the extent Ms. Gjovik asserts IIED based on being called a liar,

                   25              bad actor, and the like. However, Ms. Gjovik has leave to amend to provide
                   26              nonconclusory allegations on the more serious conduct identified in the 4AC (e.g.,

                   27              stalking, breaking into Ms. Gjovik's home, etc.). If Ms. Gjovik amends, she must
                   28              plead noncenclusory allegations on the more serious conduct, and she must plead
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               1                  concrete facts to support a basis for respondeat superior liability. The Court has
               2                  serious concerns as to whether Ms. Gjovik can plead in good faith a basis for

              3                   respondeat superior liability .
               4                  Count 8 - claim for breach of the implied covenant. Apple has moved to dismiss
              5                   the claim in its entirety. The motion to dismiss is granted and with prejudice. Any
               6                  opposition has been waived.
              7           The Court emphasizes that Ms. Gjovik is not permitted to amend her pleading except as

               8   expressly authorized in this order. If the Court has not explicitly allowed Ms. Gjovik to plead a
              9    new claim, legal theory, or factual predicate, then she cannot plead such in the amended

              10   complaint.
              11          The fifth amended complaint shall be filed by October 29, 2024, and shall be limited to
              12   seventy-five (75) pages in length. Apple shall file its response to the amended pleading by
              13   November 26, 2024.

       <3     14           Based on the Court's ruling here, the only discovery permitted at this time is "Phase I"
              15   discovery (i.e., discovery needed for the settlement conference) on Counts l and 3 (which Apple
        W
       -v-4
       Q      16   did not contest at all in its motion to dismiss) and those parts of the retaliation claims above that

              17   were not challenged or that otherwise survived.
       Z'     18          This order disposes of Docket Nos. 78, 79, and lol.
              19
              20          IT IS S0 ORDERED.
              21
              22   Dated: October 1, 2024

              23

              24
                                                                                 - '
              25                                                      United States District Judge
              26

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                                                  OFFICE OF THE CLERK
                                              UNITED STATES DISTRICT COURT
                                                 Northern District of California

                                                          CIVIL MINUTES

            Date: August 28, 2024              Time: 9:40-10:10                          Judge: EDW ARD M. CHEN
                                                     30 minutes

             Case No.: 3:23-cv-04597-EMC                Case Name: Gjovik V. Apple Inc.

             Pro Se Plaintiff: Ashley Gjovik
             Attorney for Defendant: Melinda Riechert

             Deputy Clerk: Vicky Ayala                                   Court Reporter: Kelly Shainline

                                           PROCEEDINGS HELD BY ZOOM WEBINAR

             Motion to Dismiss, Motion to Strike, Initial Case Management Conference - Held.


                                                             SUMMARY
             Parties stated appearances.

             Oral argument presented. Matter submitted, order to issue. The Court shall not accept any further filings
             related to the motion to dismiss.

             The Court shall refer the case to a settlement conference with a magistrate judge (to be held within 120-
             150 days).

             In addition, the Court shall require the parties to complete initial disclosures. However, it temporarily
             stays discovery pending a ruling on Apple's motion to dismiss. It makes sense to stay discovery
             temporarily so that the parties will have the benefit of the Court's ruling which will then inform the scope
             of the litigation.

             Once the Court rules on Apple's motion to dismiss, then it shall allow discovery to proceed. Discovery
             shall be limited, for the time being, to "Phase I" discovery - i.e., discovery narrowly tailored to that
             needed in order for the parties to be adequately prepared for the settlement conference. The Court does
             not see a need for more than 1-2 depositions per side for purposes of Phase I discovery. Plaintiff
             indicated that she cannot afford to take depositions, that is a decision for her to make. Plaintiff cannot
             avoid having her deposition taken.

             If the case does not settle, then the Court shall open discovery in full.

             REFERRALS:
             Case referred to Magistrate Judge for settlement conference to be completed within 120-150 days.




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               4                                      UNITED STATES DISTRICT COURT

              5                                      NORTHERN DISTRICT OF CALIFORNIA

               6
              7      ASHLEY M GJOVIK,                                       Case NO. 23-cv-04597-EMC
               8                        Plaintiff,
                                                                            ORDER DENYING PLAINTIFF'S
              9                  v.                                         MOTION FOR LEAVE TO FILE SUR-
                                                                            REPLY
              10     APPLE INC,
              11                        Defendant.                          Docket Nos. 93-96
              12
              13
       <3     14              Plaintiff's motion for leave to file a sur-reply is DENIED. The brief is net targeted to any

              15   alleged new contention in Defendant's reply. Furthermore, the proposed sur-reply is more than
        W
       -v-4
       Q      16   seventy pages in length, exceeding the page lengths permitted for motions, oppositions, and reply

              17   briefs .

       Z'     18              The Court therefore STRIKES the sur-reply and the documents submitted in support. The

              19   declaration is also improper as the motion pending before the Court is a l2(b)(6) motion and not,

              20   e.g., a summary judgment motion.

              21              Finally, to the extent Plaintiff has asked the Court to consider additional case authorities,

              22   see Docket No. 96, the Court reserves ruling as to whether it shall do so.

              23              IT IS SO ORDERED.

              24
              25   Dated: August 22, 2024

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                                                                         EDWA____._.'cHEm
              28                                                         United States District Judge

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                                                 UNITED STATES DISTRICT COURT

                                                NORTHERN DISTRICT OF CALIFORNIA


                 ASHLEY GJOVIK,                                     Case No. 23-cv-04597-EMC
                                   Plaintiff,
                                                                    ORDER OF REFERENCE TO
                         v.                                         MAGISTRATE JUDGE FOR
                                                                    DISCOVERY
                 APPLE, INC.,
                                Defendant.

                      Pursuant to Civil Local Rule 72-1, discovery disputes and all further discovery in this case

               are referred
                              ><    for random assignment to a United States Magistrate Judge.

                              [I to United States Magistrate Judge.

                      The Magistrate Judge to whom the matter is assigned will advise the parties of how that

               Judge intends to proceed. The Magistrate Judge may issue a ruling, order more formal briefing, or

               set a telephone conference or a hearing. After a Magistrate Judge has been assigned, all further

               discovery matters shall be filed pursuant to that Judge's procedures.

                      IT IS SO ORDERED.

               Dated: July 26, 2024


                                                               EDWA         , CHEN
                                                               United States District Judge




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                                              OFFICE OF THE CLERK
                                          UNITED STATES DISTRICT COURT
                                             Northern District of California

                                                    CIVIL MINUTES

            Date: July 16, 2024            Time: 1:29-1 :53                      Judge: EDWARD M. CHEN
                                                 24 minutes

             Case No.: 3:23-cv-04597-EMC           Case Name: Gjovik V. Apple Inc.

             Pro Se Plaintiff: Ashley Gjovik
             Attorneys for Defendant: Katie Manton, Melinda Riechert

             Deputy Clerk: Vicky Ayala                            Court Reporter: Kendra Steppler

                                    PROCEEDINGS HELD BY ZOOM WEBINAR

             Initial Case Management Conference - Held.


                                                       SUMMARY
            Parties stated appearances.

             Discovery: Court instructed parties to proceed with the employment claims following General
             Order 71. For non-employment, and environmental claims, the parties will meet and confer
             regarding initial discovery in a manner that is cost-prohibitive and exchange high-level
             documents. Parties to complete initial disclosures under Rule 26. Court will assign a magistrate
             judge for all discovery and will assist the parties with the process, including the scope of the
             high-level discovery if there is a dispute. Parties should conclude the high-level discovery within
             60 days.

             ADR: Defendant stated ADR is premature at this stage. Court instructed the parties to meet and
             confer regarding which form of ADR they prefer, including selection of a mediator. Parties
             should be prepared to discuss ADR at the next status conference.

             Court set a hearing on motion to dismiss and a further status conference on 8/22/2024.

             Court also discussed the pendency of this case regarding administrative proceedings, but Court
             planned no intervention in the administrative process .

             CASE CONTINUED TO: 8/22/2024, at 1:30 PM for a Further Case Management
             Conference and motion hearing via Zoom. Joint case management statement due by
             8/15/2024.




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             4                                   UNITED STATES DISTRICT COURT

             5                                  NORTHERN DISTRICT OF CALIFORNIA

             6
             7      ASHLEY M GJOVIK,                                    Case NO. 23-cv-04597-EMC
             8                     Plaintiff,
                                                                        ORDER GRANTING IN PART AND
             9              v.                                          DENYING IN PART DEFENDANT'S
                                                                        MOTION TO DISMISS; DENYING
            10      APPLE INC,                                          DEFENDANT'S MOTION TO STRIKE;
                                                                        AND GRANTING PLAINTIFF'S
            11                     Defendant.                           MOTION TO STRIKE
            12
                                                                        Docket NOS. 48, 49, 64
            13
       <3   14
            15           Plaintiff Ashley Gjovik, proceeding pro se,1 is a former employee of Defendant Apple, Inc.

       5    16    She started to work for Apple in 2015 and was terminated in September 2021. About two years

            17    after she was fired, she initiated this lawsuit. Ms. Gjovik has asserted fifteen different claims

            18    against Apple, both federal and state. The gist of her suit is that Apple retaliated against her

            19    because she complained about conduct at the company, including but not limited to

            20    environmentally unsafe conditions .

            21           Now pending before the Court are several motions. The primary motions are two motions

            22    filed by Apple: (1) a motion to dismiss the operative third amended complaint ("TAC") and (2) a

            23    related motion to strike. In addition to Apple's motions, there is a motion that Ms. Gjovik has

            24    filed. Specifically, Ms. Gjovik has moved to strike two declarations that were filed by an ex-

            25    Apple employee, Cher S. Scarlett, whom Ms. Gjovik has referred to in the TAC as "Joanna

            26    Appleseed." See Docket No. 62 (Scarlett Decl.), Docket No. 66 (Supp. Scarlett Decl.).

            27
            28
                  1 Ms. Gjovik appears to have a J.D. from Santa Clara University.
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              1             Having considered the parties' briefs, as well as the oral argument presented at the hearing
               2   on May 16, 2024, the Court hereby GRANTS in part and DENIES in part Apple's motion to
              3    dismiss, DENIES Apple's motion to strike, and GRANTS Ms. Gjovik's motion to strike.
               4                       I.      FACTUAL & PROCEDURAL BACKGROUND
              5             The operative pleading is the third amended complaint ("TAC"). Although the TAC is
               6   difficult to follow at times, the main categories of misconduct as described in the TAC are as

              7    follows:
               8               (1) During her employment with Apple, Ms. Gjovik lived in an apartment near an

              9                    Apple factory (known as the ARIA factory) and became ill because the factory

              10                   released toxic substances into the environment.
              11               (2) Ms. Gjovik's office at Apple (known as Stewart 1) was located on a contaminated
              12                   site subject to EPA regulation, i. e., a Superfund site, and she became ill because of

              13                   Apple's actions/omissions related to the site.
       <3     14               (3) Apple made employees, including Ms. Gjovik, participate in studies related to

              15                   Apple products that were invasive to their privacy .
        v-4
              16               (4) Apple retaliated against Ms. Gjovik for making complaints about harassment and

              17                   environmental safety. Ms. Gjovik's complaints included internal complaints,
       Z'     18                   complaints to governmental agencies, complaints to the press, and complaints made

              19                   in social media. The retaliation by Apple included but was not limited to the
              20                   termination of Ms. Gjovik from employment.
              21            Below, the Court provides more details regarding Apple's alleged misconduct and Ms.

              22   Gjovik's termination from employment. To be clear, the discussion below is based on the
              23   allegations made in the TAC .
              24   A.       Harassment at Work

              25            In February 2015, Ms. Gjovik began to work for Apple. She started out as an Engineering
              26   Project Manager in Software Engineering and continued to work in that office until January 2017.

              27   See TAC 91 13. During her time in that office, she was harassed, primarily by two male co-

              28   workers. See TAC 91 13. In addition, during her time in the office, she investigated a trend of
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              1    battery failures in the field. When she did not comply with her managers' directive to ignore the

               2   problem, she was essentially forced out of that office. See TAC 91 17.

              3             In January 2017, she left Software Engineering and joined Hardware Engineering as a

               4   Senior Engineering Project Manager. See TAC 91 18. There, she was harassed by two of her

              5    superiors, including on the basis of her sex and disability. See TAC 91 18. As indicated below,

               6   Ms. Gjovik became disabled because of Apple's release of toxic substances into the environment.
              7    B.      Chemical Exposure from the Apple ARIA Factory

               8            In February 2020, while she was still working for Apple, Ms. Gjovik moved into an

              9    apartment building located at 3255 Scott Blvd. in Santa Clara. See TAC 9125. There was an

              10   Apple factory located less than 300 feet away at 3250 Scott Blvd. See TAC 9122. The factory had

              11   the code name "ARIA" and was used for semiconductor fabrication. See TAC 9122. "Apple

              12   intentionally vented its fabrication exhaust - . .. consisting of toxic solvent vapors, gases, and
              13   fumes - into the ambient outdoor air." TAC ii 22.
       <3     14            Because of Apple's release of toxic substances into the air, Ms. Gjovik became "severely
              15   ill," i.e., because she was living in the apartment near the Apple ARIA factory. TAC 9125. Ms.
        W
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       Q      16   Gjovik suffered "severe fainting spells, dizziness, chest pain, palpitations, stomach aches,

              17   exhaustion fatigue, ... strange sensations in her muscle and skin," a slow heart rate, volatile blood
              18   precision, and arrythrnia. TAC 9125. At some point, she became so sick that she went on

              19   disability. See TAC 9126.
              20            From February through September 2020, Ms. Gjovik sought medical treatment, including

              21   at a medical clinic sponsored by Apple, known as AC Wellness. See TAC 919125-26. In or about

              22   September 2020, she consulted with "multiple occupational and environmental exposure doctors,

              23   who told [her] that all of her symptoms were consistent with solvent and other chemical

              24   exposures." TAC 9129. Ms. Gjovik hired an industrial hygienist to test the indoor air at her
              25   apartment, and the results showed a number of chemicals which were "in use by Apple at ARIA."

              26   TAC 9130. (At that time, Ms. Gjovik knew that there was an Apple facility near her apartment, see

              27   TAC 9132, but it appears she did not know about the semiconductor fabrication at the factory until

              28   February 2023. See TAC 9139.)
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              1              Subsequently, from September 2020 through April 2021, Ms. Gjovik contacted various
               2   governmental agencies about the problem, including the EPA and California EPA. See TAC 9191

              3    29, 36.
               4             In March 2021, Ms. Gjovik wrote an article, which was published in the SF Bay View

              5    newspaper, about her chemical exposure experience with the air around her apartment. This led to

               6   other victims coming forward, including other Apple employees. See TAC 919133-34.

              7              In April 2021, Ms. Gjovik met with several local, state, and federal politicians "about what

               8   occurred to her next to ARIA." TAC 9136.
              9              In July and August 2021, Ms. Gjovik continued to meet with local, state, and federal

              10   politicians. See TAC 9138.
              11             As discussed in more detail, infra, in September 2021, Apple terminated Ms. Gjovik.
              12             Not until some two years later, in February 2023, did Ms. Gjovik learn that there was

              13   semiconductor fabrication taking place at the Apple ARIA factory. See TAC 9139.
       <3     14             In June 2023, Ms. Gjovik filed a complaint about the ARIA factory with the EPA and

              15   California EPA. The EPA inspected in August 2023 and January 2024. Ms. Gjovik is still
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       Q      16   waiting for the results of the investigation. See TAC 9140.
              17   c.        Chemical Exposure from the Apple Stewart l Office
       Z'     18             From about 2017 to the date of her termination (in September 2021), Ms. Gjovik worked at

              19   an Apple office located at 825 Stewart Dr. in Sunnyvale. The office was known as "Stewart l." It
              20   was located on a Superfund site (i. e., a contaminated site regulated by the EPA). The

              21   contamination was in the groundwater and came about due to a semiconductor fabrication facility

              22   that used to be on the site. See TAC 919141-42. It appears that the Northrop Grumman used to

              23   operate on the site. See TAC 9143 .
              24             Apple became a tenant en the site in 2015. See TAC 9145. In late 2015, after it became a

              25   tenant, Apple installed a new HVAC system in the building. As a part of the installation, Apple
              26   sawed off vent stacks on the main building roof, these stacks had been put in place as part of the

              27   ventilation of the area beneath the concrete slab foundation, i. e., to allow hazardous waste vapors

              28   to discharge to the atmosphere. After Apple sawed off the vent stacks (from three feet to one
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              1    foot), it then put the HVAC system in close proximity to the stacks, so that the discharge from the

               2   stacks could be taken in by the intake of the HVAC system. See TAC 919144-46. Apple did vapor

              3    intrusion testing in December 2015, and the results showed an increase in indoor air pollution

               4   (compared to a test that Northrop Grumman had conducted back in May 2015). Nevertheless,

              5    Apple had its employees move into the building. See TAC 9147 .

               6          In March 2021, Apple informed Ms. Gjovik and others that it would be conducting vapor

              7    intrusion testing for Stewart 1. See TAC 9149. Ms. Gjovik expressed concern to her superiors

               8   because the office was on the Superfund site, and she shared that fact with her coworkers. See

              9    TAC 911149, 51. She also met subsequently (on more than one occasion) with Apple's

              10   Environmental Health & Safety ("EH&S") office. See TAC 9152.

              11          In April 2021, Ms. Gjovik contacted the EPA about the Superfund site and continued to

              12   communicate with the agency through August 2021. See TAC 9152.

              13          In June 2021, Apple's EH&S office and its Employee Relations office notified Ms. Gjovik
        go
       u      14   that the foundation of Stewart 1 was cracked, that the foundation would need to be repaired, and

              15   that air testing would be conducted thereafter. See TAC 9153. Apple refused to contact the EPA,
        W
       -v-4
       Q      16   therefore, Ms. Gjovik reported Apple to the EPA herself (and told Apple that she had done so) .

              17   See TAC 9153.
       Z'     18          By the end of July 2021, Ms. Gjovik made open complaints about Apple's conduct at

              19   Stewart 1 to various people: coworkers, the press, and social media. See TAC 9159.

              20          In response, Apple retaliated against Ms. Gjovik. For example:

              21              •    In or about July 2021, Apple issued "gag orders" to Ms. Gjovik, e.g., to prevent her

              22                   from communicating about safety concerns to her coworkers. See TAC 9155, see

              23                   also TAC q160 (alleging that an Apple investigator "interrogated" her about

              24                   communications with coworkers).

              25              .    In or about July 2021, Apple opened what Mr. Gjovik seems to allege as an

              26                   investigation into sexism by Ms. Gjovik's superiors. There was in fact no real
              27                   investigation, rather Ms. Gjovik's superiors were simply told that she was

              28                   complaining about their behavior. See TAC q156.
                                                                     5
                                                                                                    ERVI 132
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              1               •   In or about July 2021, Ms. Gjovik discovered that one of her superiors (Mr. West)

               2                  "had been reassigning her best projects (things that would help her receive a

              3                   positive review)" to others. TAC 9158. At or about the same time, another superior

               4                  (Mr. Powers) "quadrupled her workload with highly unfavorable projects (things

              5                   that were certain to upset people and fail)." TAC 9158.

               6              •   In or about July 2021, Apple assigned an investigator (Mr. Okpo) to look into Ms.

              7                   Gjovik's concerns apparently about retaliation and fraud dating back to 2015 but

               8                  this was essentially a meaningless gesture, there was no intent that the investigator

              9                   would act in good faith (e. g., he tried to prevent her from communicating with

              10                  coworkers, and he did not comply with her request to keep things in writing). See

              11                  TAC 919158-60, 62, see also TAC 919198-100.

              12              •   Apple persistently told Ms. Gjovik to take a leave. See TAC 9159.

              13          In late July 2021, the EPA told Apple, as well as Northrop Grumman, that it wanted to
        go
       u      14   inspect Stewart l. See TAC 9161. Thereafter, in August 2021, Apple announced that they would

              15   begin to do maintenance at the building - implicitly to cover up the problems at the site. See TAC
        W
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       Q      16   919161, 64. Ms. Gjovik told her coworkers to take pictures of problems at the site - e.g., cracks in

              17   the foundation of the building. See TC 9164. The next day, Mr. Okpo (the Apple investigator) put

              18   Ms. Gjovik on an indefinite administrative leave. See TAC 9165 .

              19          In rid-August 2021, the EPA conducted an inspection of Stewart 1. See TAC 9168. The

              20   EPA noted, inter alia, that cracks had been sealed but it was not clear whether the foundation slab

              21   had been penetrated due to equipment bolted to the slab. The EPA also noted that there could be a

              22   problem given the proximity of the vent stacks on the roof to the HVAC intake. See TAP 9168 .

              23          As discussed in more detail, infra, in September 2021, Apple terminated Ms. Gjovik.

              24          In May 2022, the EPA instructed Northrop Grumman to do air testing. See TAC 9169.

              25          In January 2023, the EPA again instructed that air testing be done. See TAC 9170.

              26          In August 2023, the EPA commented on vapor intrusion testing that Apple had done in

              27   May 2023, "calling Apple's testing report and strategy 'fundamentally incorrect,' having 'no
              28   fundamental basis,' and [being] 'not accurate,' 'confusing,' and 'misleading."' TAC 9170
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              1    (emphasis omitted).

               2   D.      Termination in September 2021

              3             As noted above, Ms. Gjovik was put on indefinite administrative leave in August 2021. In

               4   or about that period (July-August 2021), Ms. Gjovik made various public complaints about Apple.

              5    See TAC 9171 et seq. Some complaints were made to coworkers (e.g., through Slack channels), to

               6   the press, or to social media, other complaints were filed with governmental agencies such as the

              7    EEOC, the California DFEH, the NLRB, the U.S. Department of Labor, the California Department

               8   of Labor, and even the SEC and FBI. The complaints covered a wide range of conduct by Apple
              9    e.g., its response to COVID-19, its response to her complaints about sexism, its response to her

              10   complaints about unsafe work conditions, its forcing her on administrative leave, etc .

              11            On September 9, 2021, Apple terminated Ms. Gjovik's employment. See TAC 9190. The
              12   day that she was terminated, Ms. Gjovik was contacted by an Apple Workplace Violence and

              13   Threat Assessment investigate (Mr. Kagramanev) via email. The investigate claimed that he
       <3     14   was looking into a sensitive IP matter and demanded to speak to her within the hour. Ms. Gjovik

              15   said she was willing to participate but wanted a written record of their conversation. The
        W
       -v-4
       Q      16   investigator replied that Apple was investigating allegations that she had improperly disclosed

              17   confidential information belonging to Apple and falsely asserted that she was refusing to

              18   participate in the investigation. The investigator then suspended all of Ms. Gjovik's account
              19   access at Apple (including Slack). See TAC 91 101-03, see also TAC 919183, 88. Ms. Gjovik

              20   reiterated to the investigator that she was willing to participate. However, a few hours later, she

              21   was terminated. See TAC 91 105. "The termination letter repeated an ambiguous charge of leaking

              22   and said she 'failed to cooperate and to provide accurate and complete information during the

              23   Apple investigatory process."' TAC 91 105.
              24           About a week later, Apple's outside counsel emailed Ms. Gjovik a letter, suggesting that

              25   Apple had terminated her because (1) she had complained about Apple asking to 3-D scan her ear

              26   canals and (2) she had "posted some of the surveillance photos Apple secretly took of her through

              27   her phone when it was illegally harvesting her biometrics through its face Gobbler app." TAC 91

              28   106, see also TAC 9180 (alleging that "Apple frequently requested that Gjovik and her coworkers
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                   1    participate in invasive, oppressive, and humiliating medical studies, anatomical studies (like ear

                    2   scans), DNA test, biometrics data collection (like the Gobbler app), and other highly personal

                   3    studies") ,

                    4   E.       Post-Termination Harassment

                   5             Even after Ms. Gjovik was fired from Apple, the company harassed her. In fact, Apple
                    6   conducted a campaign of harassment against her from at least July 2021 (i.e., a few months before

                   7    it terminated her). The harassment included the following conduct:
                    8                   Making repetitive, unwanted communications to Ms. Gjovik. See TAC 91 107 .

                   9                    Making false accusations against Ms. Gjovik. See TAC 91 107.

                   10                   Mailing to Ms. Gjovik "menacing packages." TAC 91 107 .

                   11                   Physically surveilling Ms. Gjovik, including through the use of private

            cos    12                   investigators. See TAC 9191 107, 110.
      'S
     062           13                   Using fake social media accounts to make, inter alia, threatening, defamatory, and
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                   14                   insulting statements about Ms. Gjovik. See TAC 91108.
     9O
     Q O           15                   "[B]ugging [Ms. Gjovik's] chattel property" such as the statute on her desk and her
     on <4
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            5      16                   fig tree. TAC 91 110 (also alleging that Apple installed cables and cords in her
     -is E
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                   17                   attic).
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            z      18                   Breaking into her apartment and adj scent apartments, and even handling her dog

                   19                   during one of the break-ins. See TAC 91 110.

                   20            For similar allegations, see also TAC 91 132 (alleging that Apple engaged in criminal

                   21   witness tampering "with break-ins, stalking, destruction of property, physical and digital

                   22   harassment, lawsuits, reports to police and FBI (SWATing), and threats of physical violence sent

                   23   over wires such as threatening to decapitate one of Gjovik's loved ones, or that Gjovik would be

                   24   found dead of 'suicide' but 'never mind the double-tap"') (emphasis omitted), and TAC 11134
                   25   (alleging that Apple broke into her apartment, messed with her telephone/cable/electrical lines,

                   26   stalked her, etc.)
                   27

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              1    F.        Causes of Action
               2             Based on, inter alia, the above allegations, Ms. Gjovik has asserted the following causes of

              3    action:
               4                (1)     Violation of RICO.

              5                 (2)     Violation of the Sarbanes-Oxley Act (whistleblower) .
               6                (3)     Violation of the Dodd-Frank Act (whistleblower) .
              7                 (4)     Private nuisance and nuisance per se.

               8                (5)     Ultrahazardous/abnormally dangerous activities (strict liability).
              9                 (6)     Violation of the Bane Civil Rights Act.
              10                (7)     Violation of the Ralph Civil Rights Act.
              11                (8)     Violation of the California Whistleblower Protection Act.
              12                (9)     Retaliation for filing complaints in violation of California Labor Code § 98.6.

              13                (10)    Retaliation for safety activities in violation of California Labor Code § 6310.
       <3     14                (11)    Termination in violation of public policy.
              15                (12)    Breach of implied contract and breach of the implied covenant of good faith
        v-4
              16                        and fair dealing.
              17                (13)    Intentional infliction of emotional distress .
       Z'     18                (14)    Negligent infliction of emotional distress.
              19                (15)    Violation of California Business & Professions Code § 17200.
              20             In the pending 12(b)(6) motion, Apple moves to dismiss outright 11 out of the 15 causes of

              21   action specifically, Counts 1-3, 5-8 and 12-15. Apple also moves for partial dismissal of 2 other
              22   counts     specifically, Counts 4 and 9. The only claims that Apple does net challenge in its
              23   l2(b)(6) motion are Count 10 (retaliation for safety activities) and Count II (termination in
              24   violation of public policy).
              25                                     II.       MOTION TO DISMISS

              26   A.        Legal Standard
              27             Federal Rule of Civil Procedure 8(a)(2) requires a complaint to include "a short and plain

              28   statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). A
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                 1    complaint that fails to meet this standard may be dismissed pursuant to Federal Rule of Civil
                  2   Procedure 12(b)(6). See Fed. R. Civ. P. 12(b)(6). To overcome a Rule 12(b)(6) motion to dismiss

                 3    after the Supreme Court's decisions in Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Bell Atlantic
                  4   Corp. v. Twombly, 550 U.S. 544 (2007), a plaintiffs "factual allegations [in the complaint] 'must .

                 5    .. suggest that the claim has at least a plausible chance of success."' Levitt v. Yelp! Inc., 765 F.3d
                  6   1123, 1135 (9th Cir. 2014). The court "accept[s] factual allegations in the complaint as true and

                 7    construe[s] the pleadings in the light most favorable to the nonmoving party.792 Manzarek v. St.

                  8   Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). But "allegations in a

                 9    complaint ... may not simply recite the elements of a cause of action [and] must contain sufficient
                 10   allegations of underlying facts to give fair notice and to enable the opposing party to defend itself

                 11   effectively." Levitt, 765 F.3d at 1135 (internal quotation marks omitted). "A claim has facial

           cos   12   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
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       062       13   inference that the defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678. "The
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                 14   plausibility standard is not akin to a probability requirement, but it asks for more than a sheer
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     Q O         15   possibility that a defendant has acted unlawfully." Id. (internal quotation marks omitted) .
      on "Q
      G) <4
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     U)    5     16   B.     Violation of RICO (Count l)
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     G)    G)
     -»-4 3      17          In Count l, Ms. Gjovik asserts a claim for violation of RICO, but there are technically
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           z     18   subclaims to the extent she has asserted violations of 18 U.S.C. §§ l962(a), (c), and (d). The
                 19   factual predicate for the RICO claim, including the subclaims, is muddled. The gist of it (as

                 20   described in the TAC) seems to be that Apple markets itself as a progressive brand - e.g.,

                 21

                 22   2 On a motion to dismiss, a court generally limits its review to the four comers of the complaint.
                      See Van Buskin v. Con, 284 F.3d 977, 980 (9th Cir. 2002) ("Ordinarily, a court may look only at
                 23   the face of the complaint to decide a motion to dismiss."), Lee v. City of Los Angeles, 250 F.3d
                      668, 688 (9th Cir. 2001) ("[W]hen the legal sufficiency of a complaint's allegations is tested by a
                 24   motion under Rule l2(b)(6), 'review is limited to the complaint."'). Accordingly, the Court does
                      not consider the two declarations filed by Ms. Scarlett (and grants Ms. Gjovik's motion to strike
                 25   the same), nor does it consider the declaration filed by Ms. Gjovik.

                 26           A court may still take judicial notice of documents, if appropriate, on a l2(b)(6) motion.
                      See Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018) (noting that a court
                 27   may "consider materials outside a complaint" at the l2(b)(6) phase if it can, e.g., take judicial
                      notice of materials). The Court addresses Apple's requests for judicial notice, where necessary,
                 28   below.

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                1    environmentally responsible - when in fact it is not. By marketing itself as a progressive brand,
                 2   Apple benefits financially. In addition, because Apple does not comply with regulations on

                3    health, safety, employment, etc., it gets an edge over its competitors: while the competitors spend

                 4   money to comply with regulations, Apple saves money by not complying. Apple conceals the
                5    truth that it is not progressive by retaliating against employees who report issues, using unlawful

                 6   NDAs, and so forth. See TAC 9191 115, 123, 126. The specific racketeering activity in which

                7    Apple engages includes bribery, witness tampering, witness retaliation, wire fraud, securities

                 8   fraud, and possessing and using chemical weapons. See TAC 9191 128-65 (describing ten predicate

                9    acts).

                10            1.     Section l962(a)
                11            As noted above, Ms. Gjovik first asserts a claim for violation of § l962(a). Section

          cos   12   l 962(a) provides in relevant part as follows: "It shall be unlawful for any person who has received
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                13   any income derived, directly or indirectly, from a pattern of racketeering activity . ..touseor
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                14   invest, directly or indirectly, any part of such income, or the proceeds of such income, in . . t he
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                15   establishment or operation of, any enterprise ... ." 18 U.S.C. § 1962(a). "This provision was
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     U)   5     16   primarily directed at halting the investment of racketeering proceeds into legitimate businesses,
     -is
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     -»-4 3     17   including the practice of money laundering." Brittingham v. Mobil Corp., 943 F.2d 297, 303 (3d
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          z     18   Cir. 1991).

                19            A plaintiff asserting a § 1962(a) claim must prove the following: (l) the defendant received
                20   money from a pattern of racketeering activity, (2) the defendant used or invested that money in an

                21   enterprise, and (3) the plaintiff was injured as a result of the use or investment of racketeering

                22   income. See Lightning Lube v. Wit co Corp., 4 F.3d 1153, 1188 (3d Cir. 1993).
                23            Regarding element (3), "an injury resulting from the [use or] investment of racketeering

                24   income [is] distinct from an injury caused by the predicate acts themselves." Id. (emphasis
                25   added). The former is required because § l 962(a) "'is directed specifically at the use or
                26   investment of racketeering income."' Id., see also Wagh v. Metris Direct, Inc., 363 F.3d 821, 829
                27   (9th Cir. 2003) (stating that a plaintiff must allege that "funds derived from the alleged

                28   racketeering activity .. were used to injure him"), NRB Indus. v. R.A. Taylor & Assocs., No. 97
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                   1    Civ. 181 (JSR), 1998 U.S. Dist. LEXIS 25, at *4 (S.D.N.Y. Jan. 6, 1998) (stating that "'the

                    2   essence of a violation of § 1962(a) is not commission of predicate acts but investment of

                   3    racketeering income,"' and therefore, "a plaintiff suing under § 1962(a) must 'allege a "use or
                    4   investment injury" that is distinct from the injuries resulting from predicate acts"') (emphasis
                   5    added). See, e.g., Compagnie De Reassurance D'Ile De Fr. v. New Eng. Reinsurance Corp., 57

                    6   F.3d 56, 91 (1st Cir. 1995) ("Even assuming that [plaintiffs] had been defrauded through the use

                   7    of the mails or international wires, that alone is not enough to show that they were banned

                    8   additionally by [defendant's] use or investment of the proceeds of that fraud to establish or operate

                   9    [the enterprise].").

                   10           Furthermore, "[r]einvestment of proceeds from alleged racketeering activity back into the

                   11   enterprise to continue its racketeering activity is insufficient to show proximate causation."

            cos    12   Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137, 1149 (9th Cir. 2008). The rationale
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     062           13   behind that principle is that a distinction between § 1962(a) and (c) must be maintained. See id. at
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     Q O           15                   As the Third Circuit in Brittingham explained, "[a] plaintiff must
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     <4                                 allege ... mere than a remote connection between the use or
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            5      16                   investment of racketeering income and the injury suffered." 943
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                                        F.2d at 304. The Brittingham court concluded that the reinvestment
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                   17                   of racketeering proceeds is too remote a connection. See id. at 305.
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            z      18                          If this remote connection were to suffice, the use-or-
                                               investment injury requirement would be almost
                   19                          completely eviscerated when the alleged pattern of
                                               racketeering is committed on behalf of a corporation .
                   20                          .. Over the long term, corporations generally reinvest
                                               their profits, regardless of the source. Consequently,
                   21                          almost every racketeering act by a corporation will
                                               have some connection to the proceeds of a previous
                   22                          act. Section l962(c) is the proper avenue to redress
                                               injuries caused by the racketeering acts themselves .
                   23                          If plaintiffs' reinvestment injury concept were
                                               accepted, almost every pattern of racketeering
                   24                          activity by a corporation would be actionable under §
                                               l962(a), and the distinction between § l962(a) and §
                   25                          l962(c) would become meaningless.
                   26   Weslways World Travel v. AMR Corp., 182 F. Supp. 2d 952, 960 (CD. Cal. 2001).

                   27           In the instant case, Apple argues that the § 1962(a) claim should be dismissed because Ms.

                   28   Gjovik has failed to make allegations that satisfy element (3). The Court agrees .
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                 1           For example, Ms. Gjovik argues that "Defendant ... reinvested its earnings and saved
                  2   costs back into its enterprise, in order to be able to continue silencing witnesses, including

                 3    Plaintiff, and to be able to more effectively silence witnesses in order to engage in more fraud and

                  4   chemical weapon use." Opp'n at 18. But, as noted above, "[r]einvestment of proceeds from
                 5    alleged racketeering activity back into the enterprise to continue its racketeering activity is

                  6   insufficient to show proximate causation." Sybersound, 517 F.3d at 1149. The same problem
                 7    arises to the extent Ms. Gjovik suggests that Apple invested its racketeering profits by (1) hiring

                  8   lawyers "to harass, intimidate, and coerce .. witnesses" to its misconduct or by (2) investing in
                 9    progressive nonprofit organizations "in order to capture and control them, conspire with them, and

                 10   prevent them from protecting and helping witnesses to Defendant's racketeering." Opp'n at 18-
                 11   19.
                 12          To the extent Ms. Gjovik asserts Apple invested its racketeering profits by bribing local
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                 13   law enforcement, see Opp'n at 18, there is another problem. The bribery incident described in the
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     '5    C21
     .Q C.)      14   TAC has to do with Tom Moyer, Apple's Head of Global Security, "paying bribes to public
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     Q _2        15   officials in exchange for concealed carry handgun permits for Apple employees." TAC 11 128 .
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           5     16   Ms. Gjovik fails to explain how this use of racketeering profits injured her, there is no allegation
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                 17   that, e.g., an Apple employee threatened her with a gun obtained through this bribery scheme.
     :) O
           z     18   And even if that happened, it is clear how Ms. Gjovik's business or property was harmed as a

                 19   result. See Glob. Master Int'l Gap., Inc. v. Esmond Nat., Inc., 76 F.4th 1266, 1271, 1274 (9th Cir.
                 20   2023) (stating that "[a] civil RICO plaintiff only has standing if, and can only recover to the extent

                 21   that, he has been injured in his business or property by the conduct constituting the violation",

                 22   e.g., "a plaintiff must demonstrate (1) hann to a specific property interest cognizable under state

                 23   law, and (2) that the injury resulted in concrete financial loss") (internal quotation marks omitted).

                 24          Finally, the Court takes note that, in her papers, Ms. Gjovik recognizes a RICO injury

                 25   requires an injury to business or property. Thus, she contends in her opposition that she was

                 26   injured because her "chattel property" was damaged or destroyed,3 because she lost an

                 27

                 28   3 See, e.g., TAC 11110 (alleging that Apple engaged in "aggressive surveillance (including lurking
                      Private Investigators ... ), bugging her chattel property (the statute Apple mailed Gjovik from her
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             1    employment performance bonus, and because she became disabled which thereby caused her "to

              2   be away from work and to take a reduced course load in law school while she was exposed to ...

             3    chemical weapon releases." Opp'n at 17. Even if the Court were to credit the above allegations,
              4   Mr. Gjovik has failed to explain how any of those injuries is causally connected to Apple's use of
             5    racketeering income. Rather, those injuries are the result of Apple's alleged racketeering activity
              6   itself (e.g., witness tampering or retaliation and possession or use of chemical weapons).

             7           Accordingly, the Court concludes that Ms. Gjovik has failed to state a plausible § l962(a)

              8   claim. The alleged relationship between any harm she suffered and the use of racketeering income

             9    is too remote as a matter of law. Because Ms. Gjovik did not, at the hearing, explain how she
             10   could overcome the above deficiencies, the Court dismisses the § l962(a) claim with prejudice.

             11   Amendment of the claim would be futile.

             12          2.      Section 1962(c)

             13          Section l 962(c) provides in relevant part that "[i]t shall be unlawful for any person
        go
       u     14   employed by or associated with any enterprise .. . to conduct or participate, directly or indirectly,

             15   in the conduct of such enterprise's affairs through a pattern of racketeering activity ..   79
                                                                                                                   18

             16   U.S.C. § 1962(c).

             17          It is well established that, under § 1962(c), the defendant and the enterprise must be

             18   distinct from one another, this is based on the language of § 1962(c) itself. See Cedric Kushner

             19   Promotions, Ltd. v. King, 533 U.S. 158, 161 (2001) ("[T]o establish liability under § 1962(c) one
             20   must allege and prove the existence of two distinct entities: (1) a 'person', and (2) an 'enterprise'
             21   that is not simply the same 'person' referred to by a different name. The statute's language, read
             22   as ordinary English, suggests that principle."). Thus, Ms. Gjovik must allege an association-in-
             23   fact enterprise that consists of more than just Apple. See 18 U.S.C. § 1961(4) (stating that

             24

             25
                  desk, Gjovik's fig tree, etc.), whatever Apple installed in her attic (photos show cables/cords laid
             26   in away [sic] landlord denied was them), breaking into her apartment (at least once in 2021 and
                  2022), breaking into adjacent apartments (at least once in 2021)," etc.), TAC 11180 (alleging that
             27   the Apple ARIA factor "emits large quantities of vapors, dust, chemicals, and other contaminants
                  into the air, which are carried by the natural winds and air currents onto Gjovik's property and
             28   collect Gjovik's chattel property and are generally injurious to Gjovik's health, are offensive to the
                  senses, and interfered with Gjovik's comfortable enjoyment of life and property").
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                   1    "'enterprise' includes any individual, partnership, corporation, association, or other legal entity,
                    2   and any union or group of individuals associated in fact although not a legal entity") .

                   3           Ms. Gjovik calls the association-fact-enterprise the "Worldwide Loyalty Enterprise." She
                    4   asserts that the enterprise is made up of:
                   5                (l) Apple and its employees,
                    6               (2) Apple's outside counsel,
                   7                (3) trade and nonprofit organizations (e.g., that Apple partners with to promote itself as

                    8                  environmentally responsible) ,
                   9                (4) "certain tech reporters",
                   10               (5) certain "companies and third-party administrators (e.g., Sedgwick, Northrop

                   11                  Grumann, Oaktree Capital, etc.")4,

            cos    12               (6) "certain governmental employees and agencies, law enforcement officers and
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     062           13                  agencies (e.g., Santa Clara County Sheriffs Office, Cupertino Police Department,
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                   14                  Santa Clara HazMat, etc.)795,
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     Q O           15               (7) certain "doctors and clinics (e.g., A.C. Wellness Center, etc.)796, and
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            5      16               (8) certain "environmental consultants (e.g., EKI, ACT Environmental, etc.).    79



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                        4 The TAC does not make any other reference to Sedgwick or Oaktree Capital. As noted above,
                   19   Northrop Grumman appears to have operated a factory on the Superfund site prior to Apple
                        becoming a tenant.
                   20
                        5 Presumably, Ms. Gjovik makes this allegation because Tom Moyer, Apple's Head of Global
                   21   Security, allegedly bribed "public officials in exchange fer concealed carry handgun permits for
                        Apple employees." TAC 11 128.
                   22
                        6 A.C. Wellness appears to be "Apple's for-profit in-house clinic." TAC 1]26. Ms. Gjovik
                   23   received treatment from doctors there, but

                   24                  transitioned her medical care to a different clinic and provider after
                                       her Apple primary care provider at AC Wellness refused to help her
                   25                  triage her 2020 medical issues (due to exposure to Apple's factory
                                       exhaust) and instead suggested Gjovik could be suffering from
                   26                  anxiety and enrolled Gjovik in an Apple internal user study related
                                       to blood pressure ... and participate in weekly life coaching
                   27                  sessions » » » »

                   28   TAC 9127.

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                    1    TAC al 120. As indicated above, she claims that this enterprise "engaged in systemic criminal

                     2   conduct in pursuit of enabling Apple's race to the bottom on regulatory compliance and use of

                    3    intimidation, threats, and false statements about its actual practices to increase profits and maintain

                     4   a positive reputation." TAC 11 123 .

                    5            As an initial matter, the Court notes that some of the persons/entities above may not be

                     6   distinct from Apple for purposes of RICO. Agents of Apple can still be considered part of Apple

                    7    for RICO purposes. See Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1357 (nth Cir. 2016) (stating

                     8   that "plaintiffs may not plead the existence of a RICO enterprise between a corporate defendant

                    9    and its agents or employees acting within the scope of their roles for the corporation because a

                    10   corporation necessarily acts through its agents and employees", acknowledging that, "[w]hen an
                    11   individual defendant acts through a corporation, he may have formed an association-in-fact with

                    12   an entity distinct from himself' but, "[i]n contrast to an individual, a corporation cannot act except
       .9
     'S E
     062            13   through its officers, agents, and employees"), Fitzgerald v. Chrysler Corp., 116 F.3d 225, 227-28
     CJ:
     45    621
     .:*C.)         14   (7th Cir. 1997) (stating that "we cannot imagine .. applying RICO to a free-standing corporation
     be
     QE'            15   such as Chrysler merely because Chrysler does business through agents, as virtually every
     on
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           5        16   manufacturer does", "where a large, reputable manufacturer deals with its dealers and other agents
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     .<:   -I-_<3   17   in the ordinary way, so that their role in the manufacturer's illegal acts is entirely incidental,
      Q    5-1
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           z        18   differing not at all from what it would be if these agents were the employees of a totally integrated

                    19   enterprise, the manufacturer plus its dealers and other agents ... do not constitute an enterprise
                    20   within the meaning of the statute"), Brittingham, 943 F.2d at 303 (recognizing that the alleged
                    21   enterprise consisted of not just the defendant companies but also their advertising agencies ,

                    22   however, finding the entities "in reality no different from each other" because "[t]he advertising

                    23   agencies were defendants' agents, and did no more than conduct the normal affairs of the

                    24   defendant corporations").
                    25          The Court also notes that, even if the persons/entities were distinct from Apple, it often is

                    26   not clear from the TAC how they above were involved in the predicate acts (i.e., racketeering

                    27   activity). See Coronavirus Rptr. v. Apple, No. 21-cv-05567-EMC, 2021 U.S. Dist. LEXIS
                    28   249564, at *55 (N.D. Cal. Nov. 30, 2021) (acknowledging plaintiffs' contention that "the alleged
                                                                            16
                                                                                                              ERVI 143
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                   1    enterprise consisted of [not just Apple but also] Apple's 'crony app developers,' 'law firms,' and
                    2   'PR firms' who allegedly 'divert profits,' 'spread Apple's gospel,' or obfuscate 'Apple's
                   3    competitive agenda,"' but stating that these allegations were insufficient because "none of these

                    4   groups are alleged to have participated in an alleged enterprise involving the predicate acts of wire

                   5    and mail fraud[,] [t]he allegations are also conclusory").
                    6           Along similar lines, in order for all of the persons/entities above to be deemed part of the

                   7    association-in-fact enterprise, they must all have shared a common purpose a purpose of the

                    8   enterprise.
                   9                   [A]n association-in-fact enterprise must have at least three structural
                                       features: a purpose, relationships among those associated with the
                   10                  enterprise, and longevity sufficient to permit these associates to
                                       pursue the enterprise's purpose. [In short], an association-in-fact
                   11                  enterprise is "a group of persons associated together for a common
                                       purpose of engaging in a course of conduct."
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     062           13   Boyle v. United States, 556 U.S. 938, 946 (2009).
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                   14          In her TAC, Ms. Gjovik alleges that "Apple engaged in a complex, cold, and calculated
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     Q O           15   conspiracy to enable and conceal their systemic, long-running, intentional violations of basic
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            5      16   environmental, health/safety, and labor laws     and censorship, obstruction, and concealment of
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                   17   these acts to profit from a progressive brand." TAC 11126. However, Ms. Gjovik has failed to
      Q      5-1
     D       O
            z      18   allege sufficiently that all of the persons above (including, e.g., nonprofit organizations and

                   19   doctors) shared this purpose, she has not alleged a nonconclusory, factual, and plausible basis for

                   20   such an assertion as to these non-Apple entities. See, e.g., Cisneros v. Petland, Inc., 972 F.3d
                   21   1204, 1214 (11th Cir. 2020) (stating that plaintiff"s "RICO complaint may only proceed if we can

                   22   find facts within it that plausibly yield the inference that these defendants and the other

                   23   participants in the alleged as sociation-in-fact enterprise acted with the common purpose to engage

                   24   in a scheme to defraud", even if a defendant "independently commit[s] fraud," a RICO complaint

                   25   must be dismissed if "the plaintiff fail[s] to plead that the other participants in the alleged

                   26   enterprise shared a common purpose to do so"), of Reves v. Ernst & Young, 507 U.S. 170, 185
                   27   (1993) (indicating that liability under § 1962(c) "depends on showing that the defendants

                   28   conducted or participated in the conduct of the 'enterprises affairs,' not just their own affairs")
                                                                           17
                                                                                                            ERVI 144
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                 1    (emphasis in original), Gomez v. Gushy-Renker, LLC, No. EDCV 14-01425 JGB (KKx), 2015
                  2   U.S. Dist. LEXIS 90725, at *26 (C.D. Cal. July 13, 2015) (finding no common purpose "when the
                 3    alleged association-in-fact is merely a routine contract for services, because the entities are

                  4   actually pursuing their individual economic interests, rather than any shared purpose").

                 5           At the hearing, Ms. Gjovik argued that Apple shared a common purpose with at least one

                  6   environmental consultant, ACT Environmental. She asserted that Apple falsified certain EPA-

                 7    related paperwork and that Apple could not have done so by itself but would have had to conspire

                  8   with ACT Environmental to do so. As an initial matter, this was not alleged in the TAC. Even if
                 9    Ms. Gjovik was referring to the events described in 9191 142 and 143 of the TAC, she fares no

                 10   better. She does not explain why Apple could not have accomplished the false filing without the
                 11   as sistance of the environmental consultant and how the environmental consultant knew that Apple

                 12   was engaging in fraudulent conduct and joined in the purpose of defrauding authorities.
     4- .3
     : a         13          Finally, even if the Court were to credit this incident related to ACT Environmental, it is
     062
     CJ:
     '5    C21
     .Q C.)      14   but one incident. That is insufficient to support a § l962(c) claim which requires that a plaintiff
     4-2   4-4
     9O
     Q _2        15   allege a pattern of racketeering activity, which is "defined as "at least Iwo acts of racketeering
     3 33
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           5     16   activity" within ten years of each other."' Attic v. Google LLC, 983 F.3d 420, 427 (9th Cir. 2020)
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     3 _3c
     'E
                 17   (emphasis added). Moreover, to meet the requirement of a pattern of racketeering activity, a
     :) O
           z     18   plaintiff must show that the racketeering acts making up the pattern (1) are related and (2)

                 19   "'amount to or pose a threat of continued criminal activity."' Id. "'Related' conduct 'embraces
                 20   criminal acts that have the same or similar purposes, results, participants, victims, or methods of

                 21   commission, or otherwise are interrelated by distinguishing characteristics and are not isolated

                 22   events."' Howard v. Am. Online, Inc., 208 F.3d 741, 749 (9th Cir. 2000) (noting, however, that
                 23   "merely having the same participants is insufficient to establish relatedness"). As for the
                 24   continuity requirement, a plaintiff "must prove either 'a series of related predicates extending over

                 25   a substantial period of time' [known as closed-ended continuity], or 'past conduct that by its

                 26   nature projects into the future with a threat of repetition' [known as open-ended continuity]." Id.

                 27   at 750. Notably, predicate acts that last for a few weeks or months alone and that do not threaten

                 28   future criminal conduct are net enough to establish closed-ended continuity. See id. (stating that
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                                                                                                         ERVI 145
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              1    "[a]ctivity that lasts only a few months is not sufficiently continuous"). At the hearing, Ms.
               2   Gjovik did not make any representations that Apple and ACT Environmental had an enterprise

              3    that engaged in a pattern of racketeering activity - i. e., more than one predicate act, with such acts
               4   being related and that supported either closed-ended or open-ended continuity .

              5           The Court therefore dismisses the § l962(c) claim based on the multiple deficiencies

               6   above. Although the Court has serious concern as to whether Ms. Gjovik can plead a plausible §

              7    l962(c) claim, it shall, out of an abundance of caution, give Ms. Gjovik leave to amend.

               8          3.      Section l962(d)
              9           Sectionl962(d) provides that "[i]t shall be unlawful for any person to conspire to violate

              10   any of the provisions of subsection (a) ... or (c) of this section." Id. § l962(d). As indicated by
              11   this language, Ms. Gjovik's § l962(d) claim is derivative of her § l962(a) and § l962(c) claims.
              12   Because the Court has dismissed with prejudice the § l962(a) claim, the related § l962(d) is
              13   dismissed with prejudice as well. Because the Court has dismissed the § l962(c) claim, but with
              14   leave to amend, the related § l962(d) is also dismissed but with leave to amend.
              15   c.     Violation of the Sarbanes-Oxley Act (Count 2)
        v-4
              16          In Count 2, Ms. Gjovik asserts a claim for violation of the Sarbanes-Oxley Act ("SOX").
              17                  Congress enacted the Sarbanes-Oxley Act in the wake of the Enron
                                  scandal to "'prevent and punish corporate and criminal fraud,
       Z'     18                  protect the victims of such fraud, preserve evidence of such fraud,
                                  and hold wrongdoers accountable for their actions."' "Of particular
              19                  concern to Congress was abundant evidence that Enron had
                                  succeeded in perpetuating its massive shareholder fraud in large part
              20                  due to a 'corporate code of silence"' that "'discourage[d] employees
                                  from reporting fraudulent behavior not only to the proper
              21                  authorities, such as the FBI and the SEC, but even internally."' ...
              22                  Congress' response was 18 U.S.C. § l5l4A, which prohibits
                                  publicly traded companies from retaliating against employees who
              23                  report what they reasonably believe to be instances of [l] criminal
                                  fraud or [2] securities law violations. The provision establishes that
              24                  no employer may "discharge, demote, suspend, threaten, harass, or
                                  in any other manner discriminate against an employee in the terms
              25                  and conditions of employment because of" the employee's protected
                                  whistleblowing activity .
              26

              27   Murray v. UBS Sec., LLC, 144 s. Ct. 445, 449 (2024).

              28          For purposes of the instant case, the relevant text from § 1514A is provided below:
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                                                                                                      ERVI 146
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                   1                   No company with a class of securities registered under section 12 of
                                       the Securities Exchange Act of 1934 ... , Cr that is required to file
                    2                  reports under section l5(d) ... may discharge, demote, suspend,
                                       threaten, harass, or in any other manner discriminate against an
                   3                   employee ... because of any lawful act done by the employee -
                    4                  (1)     to provide information ... regarding any conduct which the
                                               employee reasonably believes constitutes a violation of
                   5                           section 1341 [mail fraud], 1343 [wire fraud], 1344 [bank
                                               fraud], or 1348 [securities or commodities fraud], any rule or
                    6                          regulation of the [SEC], or any provision of Federal law
                                               relating to fraud against shareholders, when the information
                   7                           or assistance is provided to or the investigation is conducted
                                               by -
                    8
                                               (A)    a Federal regulatory or law enforcement agency, [or]
                   9
                   10
                                               (C)    a person with supervisory authority over the
                   11                                 employee (or such other person working for the
                                                      employer who has the authority to investigate,
            cos    12                                 discover, or terminate misconduct) .
      'S
     062           13   18 U.S.C. § l5l4A.
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                   14          In its motion, Apple argues that the SOX claim should be dismissed because Ms. Gjovik
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     Q O           15   "fails to allege facts that, even if true, demonstrate she complained about conduct that she
     on <4
     Q  'C
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            5      16   reasonably believed violated an enumerated SOX provision." Mot. at 10. Apple is correct.
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        4-2
                   17          As a preliminary matter, the Court notes that Ms. Gjovik's opposition spends little time on
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            z      18   her SOX claim and fails to address Apple's argument directly. See Opp'n at II ("Plaintiff
                   19   responds generally here instead of point by point."). That alone warrants dismissal.
                   20          The Court, however, has also independently reviewed the allegations in the TAC and

                   21   concludes that the claim is deficient. In the TAC, Ms. Gjovik provides a laundry list of matters
                   22   that she reported, either internally or to a government agency. See TAC 9191 167-68. But many of

                   23   these acts do not have anything to do with the kinds of criminal fraud identified in § 1514A above

                   24   or with securities law violations. See, e.g., TAC 919184, 167-68 (referring to hoarding of COVID-

                   25   19 vaccines, smuggling, and witness intimidation). While some acts could possibly relate to
                   26   securities law violations, see e.g., TAC 91 167 (referring to false statements about Apple's

                   27   environmental and labor practices), the acts are described in vague terms, and, in any event, Ms.

                   28   Gjovik has failed to allege how her subjective belief that there were violations was objectively
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                                                                                                          ERVI 147
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              1    reasonable: "'[t]o have an objectively reasonable belief there has been shareholder fraud, the

               2   complaining employee's theory of fraud must at least approximate the basic elements of a claim of
              3    securities fraud,"' including that any misrepresentation or omission be material. Van Asdale v.

               4   Int'l Game Tech., 577 F.3d 989, 1001 (9th Cir. 2009), see also Nielsen v. AECOM Tech. Corp.,
              5    762 F.3d 214, 222 (2d Cir. 2014) (noting that "'it may well be that a complainant's complaint

               6   concerns such a trivial matter,' in terms of its relationship to shareholder interests, 'that he or she

              7    did not engage in protected activity under [§ 1514A]."'). A conclusory allegation that a
               8   misrepresentation or omission is material is not sufficient. Statements that amount to puffery

              9    (e.g., claims by Apple that it is a progressive company) are not actionable. See Afar v. Yelp, Inc.,
              10   No. 18-cv-00400-EMC, 2018 U.s. Dist. LEXIS 200769, at *31-32 (N.D. Cal. Nov. 27, 2018)

              11   (stating that vague and amorphous statements - e.g., "'we've got a great product experience"' or
              12   results were "'strong"' - "'do not give rise to liability for securities fraud, since reasonable
              13   investors do not consider such puffery material when making an investment decision"'). The
        go
       u      14   allegedly false statements either amount to puffery7 or, to the extent they pertain to specific

              15   incidents about which Apple lied, they were not demonstrably material to shareholders when
        W
       -v-4
       Q      16   viewed in the context of the far more global and consequential business and financial issues facing

              17   Apple.
       Z'     18            One example in the TAC where Ms. Gjovik provides specificity is illustrative of why her
              19   claims fall short. (She called out this same example during the hearing on Apple's motion.) In the
              20   TAC, Ms. Gjovik alleges that Ronald Sugar is a member of the Apple Board of Directors. See

              21   TAC 1191. But prior thereto, he "worked at TRW Microwave Inc." (or Northrop Grumman, which

              22   appears to be the successor company) which was responsible for creating the pollution that needed

              23   cleanup at Stewart l. TAC 91 170, see also TAC 1191. According to Ms. Gjovik, "[i]t's
              24   improbable that Ronald Sugar was not personally involved in TRW Microwave use and disposal

              25   of industrial hazardous materials at [Stewart 1] or not personally involved in the environmental

              26

              27
                   7 Even statements that are not puffery are not actionable if they are inherently subjective, i.e., if
              28   they cannot be measured by an objective standard. See In re Philzp Morris Int'I Inc., 89 F.4th 408,
                   418-19 (Zd Cir. 2023).
                                                                    21
                                                                                                       ERVI 148
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                 1    clean-up of spills/dumping of those chemicals at [Stewart 1]." TAC 11171. Ms. Gjovik suggests
                  2   that this created some kind of conflict of interest on the part of Mr. Sugar once he was at Apple.

                 3    See TAC 91 171. She also alleges that she reported this conflict of interest internally in or about

                  4   August 2021 (i.e., shortly before she was terminated in September 2021). See TAC 9198. In

                 5    addition, it appears she reported the conflict of interest to the SEC at about the same time. See

                  6   TAC 11169 (alleging that she "filed an SEC whistleblower tip on August 3 l , 2021").

                 7           But Ms. Gjovik was not complaining about criminal fraud (in particular, mail fraud, wire

                  8   fraud, bank fraud, or securities or commodities fraud) or securities law violations, as opposed to,

                 9    e.g., safety. See Magnuson v. Echelon Corp., 658 F. Supp. 3d 652, 662 (C.D. Ill. 2023) ("Plaintiffs
                 10   words, actions, and the animating beliefs he alleges overwhelmingly demonstrate that a concern

                 11   for nuclear safety, not fraud, motivated his [Issue Reports] and related disclosures to the [U.S.

           cos   12   Nuclear Regulatory Commission]."). In the TAC, Ms. Gjovik tries to get around this by alleging
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       062       13   that she was "inquir[ing] if Ronald Sugar was involved in [Apple's] fraud [on the EPA, e.g., trying
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     ':<4 4-4
          uCO

                 14   to conceal problems at Stewart 1] due to his conflicts of interest related to the property." TAC 11
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     Q O         15   171. But simply labeling Apple's conduct "fraud" does not make it the kind of fraud covered by
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      G) <4
          on
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     U)    5     16   SOX (i.e., mail fraud, wire fraud, bank fraud, securities or commodities fraud). Ms. Gjovik's
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     G)    G)
     -»-4 3      17   conduct here still seems to be motivated by a concern about safety, not fraud.8 In any event, this
      Q    5-1
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           z     18   specific alleged conflict of interest in handling the Stewart I office space would not be sufficiently

                 19
                 20
                      8 To support its position that Ms. Gjovik was not reporting a concern about the kinds of fraud
                 21   identified in § 1514A, Apple has asked the Court to take judicial notice of the complaint Ms.
                      Gjovik filed with the SEC. See Mot. at 11, RJN No. 1, Ex. A (submission to SEC, dated
                 22   September 1, 2021). Apple argues that it is appropriate for the Court to take judicial notice
                      because (1) Ms. Gjovik references the complaint she made with the SEC in her TAC, see TAC 91
                 23   169, and (2) she provided a copy of the complaint as an attachment in her prior motion for judicial
                      notice. See Docket No. 35-7, at 3-21. See, e.g., Davis v. HSBC Bank, 691 F.3d 1152, 1160 (9th
                 24   Cir. 2012) ("Under the 'incorporation by reference' doctrine ... , 'a court may look beyond the
                      pleadings without converting the Rule 12(b)(6) motion into one for summary judgment.'
                 25   Specifically, courts may take into account 'documents whose contents are alleged in a complaint
                      and whose authenticity no party questions, but which are not physically attached to the [plaintiff
                 26   's] pleading."').

                 27          Ms. Gjovik opposes judicial notice but Apple's argument above has merit. Moreover, Ms.
                      Gj ovik's opposition - that the TAC does not rely on the document and/or that the document
                 28   cannot be authenticated - is not compelling.

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                   1    material to give rise to a securities fraud claim.

                    2           Accordingly, the Court dismisses the SOX claim. Dismissal is with prejudice, both
                   3    because of Ms. Gjovik's failure to respond directly to Apple's argument in her opposition and her
                    4   failure to articulate at the hearing new facts that would suggest a violation of the relevant criminal

                   5    fraud statutes or securities laws.
                    6   D.      Violation of the Dodd-Frank Act (Count 3)

                   7            In Count 3, Ms. Gjovik asserts a claim for violation of the Dodd-Frank Act. The relevant

                    8   portion of the statute provides as follows:

                   9                   No employer may discharge, demote, suspend, threaten, harass,
                                       directly or indirectly, or in any other manner discriminate against, a
                   10                  whistleblower in the terms and conditions of employment because of
                                       any lawful act done by the whistleblower -
                   11
                                       (i)     in providing information to the Commission in accordance
            cos    12                          with this section;
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     062           13                  (ii)    in initiating, testifying in, or assisting in any investigation or
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     '5 :                                      judicial or administrative action of the Commission based
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                   14                          upon or related to such information, or
     9O
     Q O           15                  (iii)   in making disclosures that are required or protected under the
     on <4
     Q  'C
     <4                                        Sarbanes-Oxley Act of 2002 (15 U.S.C. 7201 et seq.), the
     <9
     <71
            5      16                          Securities Exchange Act of 1934 (15 U.S.C. 78a et seq.),
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                                               including section 10A(m) of such Act (15 U.S.C. 78f(m)),
     <4 JZ!
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                   17                          section 1513(e) of title 18, United States Code, and any other
      Q      5-1
     D       O                                 law, rule, or regulation subject to the jurisdiction of the
            z      18                          Commission.
                   19   15 U.S.C. § 78u-6(h)(1)(A). (The caption ofMs. Gjovik's TAC cites (iii) above as the relevant
                   20   subsection.)

                   21          The Supreme Court has noted that beth SOX and Dodd-Frank

                   22                  shield whistleblowers from retaliation, but they differ in important
                                       respects. Most notably, Sarbanes-Oxley applies to all "employees"
                   23                  who report misconduct to the Securities and Exchange Commission
                                       (SEC or Commission), any other federal agency, Congress, or an
                   24                  internal supervisor.l8 U. S. C. §l5l4A(a)(l). Dodd-Frank
                                       delineates a more circumscribed class, it defines "whistleblower" to
                   25                  mean a person who provides "information relating to a violation of
                                       the securities laws to the Commission." 15 U. S. C. §78u-6(a)(6).
                   26                  A whistleblower so defined is eligible for an award if original
                                       information he or she provides to the SEC leads to a successful
                   27                  enforcement action. §78u-6(b)-(g). And, most relevant here, a
                                       whistleblower is protected from retaliation for, inter alia, "making
                   28                  disclosures that are required or protected under" Sarbanes-Oxley,
                                                                             23
                                                                                                             ERVI 150
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                                       the Securities Exchange Act of 1934, the criminal anti-retaliation
                   1                   prescription at 18 U. S. C. §1513(e), or any other law subject to the
                                       SEC's jurisdiction. 15 U. S. C. §78u-6(h)(1)(A)(iii).
                    2

                   3    Dig. Realty Trust, Inc. v. Somers, 583 U.S. 149, 152-153 (2018) (emphasis added).

                    4          As indicated in the discussion above, Ms. Gjovik did not directly respond to Apple's

                   5    challenge to the Dodd-Frank claim, furthermore, she has failed to explain how she provided

                    6   information relating to a violation of the securities laws. Accordingly, dismissal of her Dodd-
                   7    Frank claim, with prejudice, is warranted.

                    8          Ms. Gjovik's reliance on Wadler v. 8io-Rad Labs., Inc., 141 F. Supp. 3d 1005 (N.D. Cal.
                   9    2015), is unavailing. She argues that Wadley is factually similar to the instant case as it involved

                   10   an employee who suspected a company of engaging in violations of the Foreign Corrupt Practices

                   11   Act ("FCPA") and who started an investigation, "only to meet a variety of types of retaliation and

            cos    12   obstruction." Opp'n at 12. But as Apple points out, the appellate decision in Wadler makes clear
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     062           13   that a violation of the securities laws was implicated in the case because, as the defendant
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     '5 :
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            CO

                   14   "correctly conceded in the district court," "one of the FCPA books-and-records provisions ... is
     9O
     Q O           15   also an SEC regulation within the scope of [SOX]." Wadley v. Bio-Rad Labs, Inc., 916 F.3d 1176,
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            5      16   1185 (9th Cir. 2019).9
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        4-2
                   17   E.     Private Nuisance and Nuisance Per Se (Count 4)
      Q      5-1
     D       O
            z      18          In Count 4, Ms. Gjovik asserts a nuisance claim. Specifically, she maintains two
                   19   subclaims: (l) private nuisance and (2) private nuisance per se. Each subclaim is based on
                   20   Apple's conduct at (a) the ARIA factory (which was located close to Ms. Gjovik's apartment) and

                   21   (b) Stewart l (where Ms. Gjovik's office was located and where the Superfund site was located).10

                   22                  In 1872, the California Legislature codified a number of common
                                       law principles regarding the law of nuisance. For example, the
                   23                  Legislature defined a "nuisance" in Civil Code section 3479 as
                   24

                   25   9 The Ninth Circuit ultimately held that other FCPA provisions were net rules or regulations of the
                        SEC, and therefore could not support a Sarbanes-Oxley claim. See Wadler, 916 F.3d at 1185.
                   26
                        10 In the TAC, Ms. Gjovik also refers to an "absolute nuisance." Ms. Gjovik seems to consider an
                   27   absolute nuisance as something similar to a nuisance per se or an ultrahazardous activity - i. e., as a
                        basis for strict liability to apply. See TAC 91 178. Because Ms. Gjovik has already asserted both a
                   28   nuisance per se and an ultrahazardous activity, any claim for absolute nuisance would appear to be
                        duplicative.
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                                       anything that is "injurious to health, ... or is indecent or offensive
                   1                   to the senses, or an obstruction to the free use of property, so as to
                                       interfere with the comfortable enjoyment of life or property, or
                    2                  unlawfully obstructs the free passage or use, in the customary
                                       manner, of any navigable lake, or river, bay, stream, canal, or basin,
                   3                   or any public park, square, street, or highway."
                    4   Mendez v. Rancho Valencia Resort Partners, LLC, 3 Cal. App. 5th 248, 261 (2016).

                   5           California law draws a distinction between public and private nuisances .
                    6                  A nuisance is considered a "public nuisance" when it "affects at the
                                       same time an entire community or neighborhood, or any
                   7                   considerable number of persons, although the extent of the
                                       annoyance or damage inflicted upon individuals may be unequal."
                    8                  A "private nuisance" is defined to include any nuisance not covered
                                       by the definition of a public nuisance and also includes some public
                   9                   nuisances.
                   10   Id. at 261-62 (citing Cal. Civ. Code § 3480-81). Unlike a claim for public nuisance, "'[a] private
                   11   nuisance cause of action requires the plaintiff to prove an injury specifically referable to the use

            cos    12   and enjoyment of his or her land.   7 79
                                                                   Id. at 262, see also CACI 2021 (essential factual elements for
      'S
     062           13   a claim of private nuisance) .
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                   14                  [T]he [California] Supreme Court [has] outlined the elements of an
     9O                                action for private nuisance [as follows]. First, the plaintiff must
     Q O           15                  prove an interference with his use and enjoyment of his property.
     on <4
     Q  'C
     <4                                Second, "the invasion of the plaintiffs interest in the use and
     <9
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            5      16                  enjoyment of the land [must be] substantial, i.e., that it cause[s] the
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                                       plaintiff to suffer 'substantial actual damage." Third,"'[t]he
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                   17                  interference with the protected interest must not only be substantial,
      Q      5-1
     D       O                         but it must also be unreasonable,' i.e., it must be 'of such a nature,
            z      18                  duration or amount as to constitute unreasonable interference with
                                       the use and enjoyment of the land. "'
                   19
                   20   Id. at 262-63. The second and third elements are to be judged by an objective standard. See id. at

                   21   263.

                   22          California law also provides that, in certain instances, something may be deemed a

                   23   nuisance per se.
                   24                  [W]here the law expressly declares something to be a nuisance, then
                                       no inquiry beyond its existence need be made and in this sense its
                   25                  mere existence is said to be a nuisance per se.... [T]o rephrase the
                                       rule, to be considered a nuisance per se the object, substance,
                   26                  activity or circumstance at issue must be expressly declared to be a
                                       nuisance by its very existence by some applicable law.
                   27

                   28   Beck Development Co. v. Southern Pac. Transp. Co., 44 Cal. App. 4th 1160, 1207 (1996), see also
                                                                               25
                                                                                                              ERVI 152
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                 1    City of Costa Mesa v. Sober, 11 Cal. App. 4th 378, 382 (1992) ("[T]he legislature has the power to
                  2   declare certain uses of property a nuisance and such use thereupon becomes a nuisance per se....
                 3    Nuisances per se are so regarded because no proof is required, beyond the actual fact of their

                  4   existence, to establish the nuisance.") (internal quotation marks omitted), Rincon Band of Luise no

                 5    Mission Indians etc. v. Flynt, 70 Cal. App. 5th 1059, 1102 (2021) ("Nuisances per se are so
                  6   regarded because no proof is required, beyond the actual fact of their existence, to establish the

                 7    nuisance.") (internal quotation marks omitted).

                  8          1.      Private Nuisance
                 9           Apple moves to dismiss the claim for private nuisance in part. Specifically, it moves to
                 10   dismiss the private nuisance claim to the extent it is based on Apple's conduct at Stewart l (the
                 11   Superfund site) as opposed to Apple's conduct at the ARIA factory See Reply at 5 ("Apple has

           cos   12   not moved to dismiss the private nuisance claim related to [the ARIA] facility."). Apple is not
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       062       13   moving to dismiss the claim as related to the ARIA factory because it concedes Ms. Gjovik has
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          uCO

                 14   met the requirement that "'[a] private nuisance cause of action requires the plaintiff to prove an
     9O
     Q O         15   injury specifically referable to the use and enjoyment of his or her land."' Mendez, 3 Cal. App.
      on "Q
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     U)    5     16   5th at 262 (emphasis added), see also CACI 2021 (providing that one of the essential elements of
     -is   E
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     G)    G)
     -»-4 3      17   a claim for private nuisance is that "[name of plaintiff] [owned/leased/occupied/controlled] the
      Q    5-1
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     D
           z     18   property"). This is because Ms. Gjovik is asserting that that Apple's conduct at the ARIA factory

                 19   affected her nearby apartment. In contrast, Stewart l is simply where Ms. Gjovik's office is
                 20   located. of. Barrows v. 8P P.L.C., No. 10-CV-02944-LHK, 2011 U.S. Dist. LEXIS 113597, at

                 21   *20-21 (N.D. Cal. Oct. 3, 201 l) (in discussing standing to sue for tort claims, stating that "'[a]ny

                 22   interest sufficient to be dignified as a property right' will support an action based on a private

                 23   nuisance, including a tenancy for a term," but "'such right does not inure in favor of a licensee,
                 24   lodger or employee"').
                 25          The Court dismisses the private nuisance claim to the extent it is based on Stewart l.
                 26   Apple's position has merit, and, notably, Ms. Gjovik does not address Apple's argument in her
                 27   opposition. The dismissal is with prejudice.
                 28

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              1           2.      Private Nuisance Pe Se

               2          As for the claim for nuisance per se, Apple argues for dismissal on the basis that there is no
              3    law (including law passed by the state legislature) providing that running a factory (ARIA) or

               4   maintaining an office at a Superfund site (Stewart l) is a nuisance per se. See Costa, II Cal. App.
              5    4th at 382 (1992) (stating that "the legislature has the power to declare certain uses of property a

               6   nuisance and such use thereupon becomes a nuisance per se") (internal quotation marks omitted) .

              7    Because the Court agrees with Apple's argument above, it need only concern itself with a claim of

               8   private nuisance per se as related to the ARIA factory, and not Stewart l.
              9           Ms. Gjovik's main response is that releasing "hazardous waste into the air and
              10   environment" must be a nuisance per se. TAC 11176, see also Opp'n at 9 (asserting that

              11   "'[e]missions of hazardous substances into the environment have constituted nuisances per se"',
              12   quoting Espinosa v. Roswell Tower, Inc., 121 N.M. 306, 310 (N.M. Ct. App. 1995)). But Ms.
              13   Gjovik has failed to cite any California authority declaring the release of hazardous substances to
        go
       u      14   be a nuisance. That the release of hazardous substances may be a violation of federal or state

              15   laws, see, e.g., TAC 9191176 (referring to, e.g., the Clean Air Act and California Health & Safety
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       Q      16   Code § 41700), does not automatically amount to a declaration by the state legislature that the

              17   conduct constitutes a nuisance per se. Therefore, the claim for nuisance per se is dismissed but

              18   with leave to amend, though the Court is skeptical whether such a claim can be stated.

              19          To be clear, even if Ms. Gjovik were to decide not to amend the claim for nuisance per se,

              20   she would still have a "regular" claim for private nuisance based on the ARIA factory.

              21   F.     Ultrahazardous/Abnormally Dangerous Activities (Count 5)

              22          In Count 5, Ms. Gjovik makes a claim similar to the nuisance per se claim above - i.e., that

              23   Apple should be held strictly liable for conducting ultrahazardous activities at (1) the ARIA

              24   factory and (2) Stewart 1.
              25                  The modern rule of strict liability without fault for injuries resulting
                                  from an ultrahazardous activity was adopted in [California] by the
              26                  decision in Lu thringer v. Moore (1948) 31 Cal.2d 489. Applying
                                  the standard set forth in the Restatement of Torts, the Supreme
              27                  Court stated: "'One who carries on an ultra-hazardous activity is
                                  liable to another whose person, land or chattels the actor should
              28                  recognize [are] likely to be harmed by the unpreventable miscarriage
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                                       of the activity for harm resulting thereto from that which makes the
                   1                   activity ultra-hazardous, although the utmost care is exercised to
                                       prevent the harm.... An activity is ultra-hazardous if it (a)
                    2                  necessarily involves a risk of serious harm to the person, land or
                                       chattels of others which cannot be eliminated by the exercise of the
                   3                   utmost care, and (b) is not a matter of common usage... An activity
                                       is a matter of common usage if it is customarily carried on by the
                    4                  great mass of mankind or by many people in the community..
                   5    Tri-Star Dyeing & Finishing v. Brenntag Pac., NO. 23STCV00357, 2023 Cal. Super. LEXIS
                    6   24088, at *7-8 (L.A. Super. Ct. Apr. 19, 2023).

                   7           Consistent with the above,

                    8                  Section 520, Restatement Second of Torts enumerates the
                                       [following] factors to be considered in determining whether an
                   9                   activity is "abnormally dangerous" or "ultrahazardous": "(a)
                                       existence of a high degree of risk of some hann to the person, land
                   10                  or chattels of others, (b) likelihood that the harm that results from it
                                       will be great, (c) inability to eliminate the risk by the exercise of
                   11                  reasonable care, (d) extent to which the activity is not a matter of
                                       common usage, (e) inappropriateness of the activity to the place
            cos    12                  where it is carried on, and (D extent to which its value to the
      'S                               community is outweighed by its dangerous attributes." Whether a
     062           13                  particular activity is abnormally dangerous is to be determined by
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     '5 :                              the court "upon consideration of all the factors listed in this Section,
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                   14                  and the weight given to each that it merits upon the facts in
     9O                                evidence." Due to the interplay of the various factors, it is
     Q O           15                  impossible to define abnormally dangerous activities. "The essential
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     <4                                question is whether the risk created is so unusual, either because of
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            5      16                  its magnitude or because of the circumstances surrounding it, as to
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                                       justify the imposition of strict liability from the harm that results
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                   17                  from it, even though it is carried on with all reasonable care. In
      Q      5-1
     D       O                         other words, are its dangers and inappropriateness for the locality so
            z      18                  great that, despite any usefulness it may have for the community, it
                                       should be required as a matter of law to pay for any hann it causes
                   19                  without the need of a finding of negligence." Thus, by its very
                                       nature, the issue of whether an activity is ultrahazardous cannot be
                   20                  decided on demurrer.
                   21   SKF Farms v. Superior Court, 153 Cal. App. 3d 902, 906 <1984>.11

                   22          In the instant case, Ms. Gjovik claims an ultrahazardous activity related to the ARIA

                   23   factory because, "[f]or decades," semiconductor fabrication "has been known to require

                   24   pyrophoric gases, which have a 'serious fire hazard,' combustible and flammable chemicals that
                   25

                   26
                        11 Note that "[t]he question of whether a case is a proper one for imposing strict liability is one of
                   27   law for the court. Moreover, [what] facts are necessary to make an activity ultrahazardous .. . I s a
                        matter for the judgment of the court." Garcia v. Estate of Norton, 183 Cal. App. 3d 413, 419
                   28   (1986) (internal quotation marks omitted, concluding facts at trial provided "ample evidence from
                        which the trial court could properly conclude that the subj ect activity was ultrahazardous").
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              1    must be 'carefully monitored and handled by experienced personnel."' TAC 11184. She also
               2   maintains that the ARIA factory released substances identified as toxic air contaminants under

              3    state and federal law for which "there is no safe level of exposure without 'significant adverse

               4   health effects."' TAC 185.

              5              As for Stewart 1, Ms. Gjovik has less to say. Her allegations are conclusory in nature -

               6   e.g., "[o]perating a business on a Superfund mega-site with a pathway for vapor intrusion and

              7    contaminants of concern, including TCE and Vinyl Chloride, is an ultrahazardous activity." TAC
               8   91 186.

              9              Ms. Gjovik's claim for ultrahazardous activity survives Apple's l2(b)(6) challenge in part.
              10   Regarding the ARIA factory, Ms. Gjovik has made allegations that there are chemicals used for

              11   which there is no safe level of exposure, thus implying they are absolutely prohibited under any

              12   circumstance. Cf TAC 1137 (alleging that "[mlany of Apple's chemicals at the plant were
              13   characterized as 'extremely hazardous' or 'acutely hazardous' materials"). The claim is viable to
        go
       u      14   that extent and only to that extent. However, Ms. Gjovik has also included allegations suggesting

              15   that there are some hazards (in particular, fire hazards) that can be managed with care, see TAC 91
        W
       -v-4
       Q      16   184 (alleging that the chemicals "must be 'carefully monitored and handled by experienced
              17   personnel"'), that suggests the opposite of ultrahazardous. To that extent, the claim is not viable.
              18   These chemicals are not absolutely prohibited.
              19             As for Ms. Gjovik's claim for ultrahazardous activity based on Stewart l, it also is not
              20   viable. In contrast to above, here, Ms. Gjovik simply makes allegations that there are
              21   "contaminants of concern." TAC 11 186. An issue with "contaminants of concern" is too vague.

              22   At one point in her pleading, Ms. Gjovik suggests that there are contaminants of concern because

              23   some of the chemicals are carcinogens. See TAC 1142 ("The primary contaminants in the

              24   groundwater contamination plume are chlorinated volatile organic compounds, including the

              25   carcinogen trichloroethene ('TCE') and its daughter products cis-1,2-dischloroethene and vinyl
              26   chloride."). But that fact in and of itself is not enough to raise a question of fact as to whether
              27   Apple engaged in ultrahazardous activity. Carcinogens often may be used subject to regulations.

              28             Furthermore, even if the Court were inclined to rule otherwise on the Stewart l-based
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                    1    claim, Apple has fairly argued that the claim should be dismissed for the independent reason:
                     2   specifically, it is time barred. There is a two-year statute of limitations for the claim. See Cal.

                    3    Code Civ. Proc. § 335.1 (providing for a two-year limitations period for "[a]n action for assault,

                     4   battery, or injury to, or for the death of, an individual caused by the wrongful act or neglect of

                    5    another"), id. § 340.8(a) (providing that, "[i]n any civil action for injury or illness based upon

                     6   exposure to a hazardous material or toxic substance, the time for commencement of the action

                    7    shall be no later than either two years from the date of injury, or two years after the plaintiff

                     8   becomes aware of, or reasonably should have become aware of, (1) an injury, (2) the physical

                    9    cause of the injury, and (3) sufficient facts to put a reasonable person on inquiry notice that the

                    10   injury was caused or contributed to by the wrongful act of another, whichever occurs later").

                    11   Given that Ms. Gjovik filed suit on September 7, 2023, any claim that accrued before September

                    12   7, 2021, is time barred. Apple points out that, as alleged in the TAC, Ms. Gjovik told Apple in
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     062            13   March 2021 (i. e., well before September 2021) that she was concerned about the safety of the
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     .:*C.)         14   SuperfUnd site and that she believed "her fainting spell in 2019 in her office was due to vapor
     be
     QE'            15   intrusion." TAC ii 51, see also TAC 'H 35 (alleging that, in April 2021, Ms. Gjovik saw an
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           5        16   occupational exposure doctor, and the doctor's notes referred to a statement by Ms. Gjovik that
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     .<:   -I-_<3   17   she had "'an unexplained episode of fainting at work in Sept 2019 at her office on a Superfund site
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           z        18   with a long history of vapor intrusion issues"'). This supports a time bar.
                    19          Ms. Gjovik does not have much of a comeback in response. In her papers, she suggests

                    20   that there were different kinds of safety issues at Stewart 1 - e.g., some related to the cracked

                    21   foundation and some related to the HVAC intake. See, e.g., Opp'n at 9-10 ("Each location/vector,
                    22   occurrence, and type of injury may be a different claim. The exposure to the vapor intrusion from
                    23   the cracked floor is a different vector and exposure[] then [sic] the chlorinated solvent vapors

                    24   piped into the HVAC system .. .."). But that gives short shrift to the fact that there was a single
                    25   contaminated site, from which Ms. Gjovik had a single injury. See Benson v. Browning-Ferris
                    26   Indus., 7 Cal. 4th 926, 932 (1994) ("'[T]he statute of limitations begins to run when the plaintiff

                    27   suspects or should suspect that her injury was caused by wrongdoing, that someone has done

                    28   something wrong to her.' Aggrieved parties generally need not know the exact manner in which
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                   1    their injuries were 'Affected, nor the identities of all parties who may have played a role therein."')

                    2   (emphasis added).
                   3           The Court therefore allows the claim based on the Aria factory to proceed (in part), but not

                    4   Stewart 1. The dismissal of the Stewart l-related claim is with prejudice because the time bar
                   5    makes amendment futile.

                    6   G.     Violation of the Bane Civil Rights Act (Count 6)
                   7           In Count 6, Ms. Gjovik has asserted a claim for violation of the Bane Civil Rights Act.

                    8   The statute allows an individual to bring a private right of action if their "exercise or enjoyment of

                   9    rights secured by the Constitution or laws of the United States, or of rights secured by the

                   10   Constitution or laws of this state, has been interfered with, or attempted to be interfered with, as

                   11   described in subdivision (b)." Cal Civ Code § 52. l(c). Subdivision (b) refers to interference and

            cos    12   attempts to interfere by a "person or persons,[12] whether or not acting under color of law, ... by
      'S
     062           13   threat, intimidation, or coercion." Id. § 52.l(b).
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                   14          In the instant case, Ms. Gjovik identifies the following rights as having been interfered
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     Q O           15   with: (a) the right to provide testimony to agencies (e.g., the NLRB), (b) the right to meet with
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            5      16   legislatures and appear as a legislative witness, (c) the right to report criminal acts to law
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                   17   enforcement, (d) the right to privacy as protected by the California Constitution, and (e) the right
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     D       O
            z      18   to free speech and assembly. She alleges that Apple interfered with these rights via, e.g.,
                   19                  threatening messages and social media posts about guns,
                                       ruin/destruction, and even her death, sending threatening and
                   20                  dangerous packages in the mail, tampering with Gjovik's chattels to
                                       the extent of conversion, surveilling and stalking Gjovik, hacking
                   21                  Gjovik's electronics and utilities, destroying Gjovik's chattels,
                                       trespassing and burglarizing Gjovik's home, and other inherently
                   22                  violent misconduct.
                   23   TAC ii 188, see also TAC 11189 (referring to a "psychological torture campaign" with

                   24   "harassment of Gjovik [coming] from all corners of the internet, including forums, social media

                   25   sites, email, texts, website webform, phone calls, blog pests, news articles, and other mediums").

                   26

                   27   12 The Bane Act does not itself define "person." However, the California Civil Code of which the
                        Bane Act is a part provides that "the word person includes a corporation as well as a natural
                   28   person." Cal. Civ. Code § 14.

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              1            Apple launches a number of challenges to the civil rights claim e.g., (1) some of the
               2   alleged misconduct (e.g., termination of employment, a "harassing" letter from a law firm) cannot

              3    support a Bane Act claim, and (2) some of the alleged misconduct was conduct undertaken by an

               4   ex-Apple employee (Ms. Scarlett, the individual whom Ms. Gjovik refers to as Ms. Appleseed) .

              5    The most compelling arguments, however, are that (3) Ms. Gjovik does not identify any specific

               6   Apple employee that engaged in misconduct, and (4) Ms. Gjovik has not sufficiently explained

              7    how any of the alleged interferences with her rights were done via threat, intimidation, or

               8   coercion. See Mot. at 19 ("Plaintiff alleges ... vague and conclusory examples of purported
              9    threats, coercion, and intimidation (see TAC ']['][l07-l0, 188-89) but fails to tie them to any

              10   purportedly interfered-with right, as such, they cannot ground a Bane Act claim.") (emphasis

              11   added). The Court agrees that more clarity is needed on these issues, and therefore grants the

              12   motion to dismiss, albeit with leave to amend.
              13           Because the Court is giving Ms. Gjovik leave to amend this claim, it notes that the issue of
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       u      14   respondeat superior is a complicated matter that she should also address should she choose to

              15   amend. Courts have recognized that respondeat superior can make a public entity vicariously
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       Q      16   liable for a Bane Act violation. See, e.g., Uganda Knapps v. City of Oakland, 647 F. Supp. 2d
              17   1129, 1168-69 (ND. Cal. 2009) (noting that, under California Government Code § 8l5.2(a), a city
       Z'     18   can be held "vicariously liable under the theory of respondeat superior" if the employee was

              19   "acting in the course and scope of employment"). There is no reason to think that respondeat
              20   superior would not also apply to private entities such as Apple. See Presbyterian Camp &
              21   Conference Centers, Inc. v. Superior Court, 12 Cal. 5th 493, 503 (2021) ("As a general rule,
              22   '[u]nless expressly provided, statutes should not be interpreted to alter the common law, and

              23   should be construed to avoid conflict with common law rules.") (internal quotation marks

              24   omitted). That being said, respondeat superior does not mean that an employer is automatically

              25   liable for all of its employee's acts.
              26           Under the general doctrine, "an employer is vicariously liable for the torts of its employees

              27   committed within the scope of the employment," and this is true even if the employee commits a

              28   willful, malicious, or even criminal tort and the employer has not authorized the employee to
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                   1    commit the tort. Lisa M. v. Henry Mayo Nev hall Memorial Hospital, 12 Cal. 4th 291, 296 (1995).
                    2   Furthermore, "California no longer follows the traditional rule that an employee's actions are

                   3    within the scope of employment only if motivated, in whole or part, by a desire to serve the

                    4   employer's interests." Id. at 297.
                   5           However, an employer will not be held liable for an "intentional tort that did not have a

                    6   causal nexus to the employee's work." Id. For instance, "'[i]fan employee inflicts an injury out
                   7    of personal malice, not engendered by the employment, the employer is not liable."' Id. at 298
                    8   (emphasis in original) .
                   9                   The nexus required for respondeat superior liability - that the tort be
                                       engendered by or arise from the work - is to be distinguished from
                   10                  "but for" causation. That the employment brought tortfeasor and
                                       victim together in time and place is not enough. We have used
                   11                  varied language to describe the nature of the required additional link
                                       (which, in theory, is the same for intentional and negligent torts): the
            cos    12                  incident leading to injury must be an "outgrowth" of the
      'S                               employment, the risk of tortious injury must be "'inherent in the
     062           13                  working environment"' or "'typical of or broadly incidental to the
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     '5 :                              enterprise [the employer] has undertaken."'
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                   14
     9O                                Looking at the matter with a slightly different focus, California
     Q O           15                  courts have also asked whether the tort was, in a general way,
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     <4                                foreseeable from the employee's duties. Respondeat superior
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            5      16                  liability should apply only to the types of injuries that "'as a practical
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                                       matter are sure to occur in the conduct of the employer's enterprise."'
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                   17                  The employment, in other words, must be such as predictably to
      Q      5-1
     D       O                         create the risk employees will commit intentional torts of the type
            z      18                  for which liability is sought.
                   19                  In what has proved an influential formulation, the court in Rodgers
                                       v. Kemper Constr. Co., supra, 50 Cal. App. 3d at page 618, held the
                   20                  tortious occurrence must be "a generally foreseeable consequence of
                                       the activity." In this usage, the court further explained,
                   21                  foreseeability "merely means that in the context of the particular
                                       enterprise an employee's conduct is not so unusual or startling that it
                   22                  would seem unfair to include the loss resulting from it among other
                                       costs of the employer's business."
                   23

                   24   Id. at 298-99, see also Alma W v. Oakland Unified Sch. Dist., 123 Cal. App. 3d 133, 142-43
                   25   (1981) (stating that "[t]he test is not whether it is foreseeable that one OI' more employees might at

                   26   some time act in such a way as to give rise to civil liability, but rather, whether the employee's act

                   27   is foreseeable in light of the duties the employee is hired to perform") (emphasis in original) .

                   28          Accordingly, if Ms. Gjovik does amend the Bane Act claim, she must allege specific facts
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                    1    to support a basis for respondeat superior liability - i.e. , that an intentional tort committed by an

                     2   Apple employee had a causal nexus to the employee's work.

                    3    H.       Violation of the Ralph Civil Rights Act (Count 7)

                     4            In Count 7, Ms. Gjovik asserts a claim for violation of the Ralph Civil Rights Act. The
                    5    relevant provision of the statute states as follows :

                     6                   All persons within the jurisdiction of this state have the right to be
                                         free from any violence, or intimidation by threat of violence,
                    7                    committed against their persons or property because of political
                                         affiliation, or on account of any characteristic listed or defined in
                     8                   subdivision (b) or (e) of Section 5 l, or position in a labor dispute, or
                                         because another person perceives them to have one or more of those
                    9                    characteristics. The identification in this subdivision of particular
                                         bases of discrimination is illustrative rather than restrictive.
                    10
                    11   Cal Civ Code § 51 .7(b)(1). Section 51(b) refers to the following characteristics: "sex, race, color,

                    12   religion, ancestry, national origin, disability, medical condition, genetic information, marital
       .9
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     062            13   status, sexual orientation, citizenship, primary language, or immigration status." Id. § 51(b).
     CJ:
     45    621
     .:*C.)         14   Section 51(e) also refers to the same. See id. § 51(e). According to Ms. Gjovik, Apple threatened
     be
     QE'            15   and committed violent acts against her based on her making labor-related complaints with
     on
     G)E
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           5        16   government agencies (e.g., the NLRB), her sex, her disabilities, her activism, and her membership
     G)
     .<:   -I-_<3   17   in a protected class of victims of environmental crime. See TAC 91 199-203 .
      Q    5-1
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           z        18            Apple's main argument in its motion to dismiss is that Ms. Gjovik has failed to state a

                    19   claim because she "does not provide any facts regarding what Apple supposedly did or said to

                    20   threaten violence or commit violence against her." Mot. at 19. As above, more clarity is needed,
                    21   and thus dismissal is warranted, although with leave to amend. As above, should Ms. Gjovik
                    22   decide to amend this claim, any amendment must address whether there is a basis for respondeat

                    23   superior liability. See, e.g., Beliveau v. Carers, 873 F. Supp. 1393, 1399 (CD. Cal. 1995)
                    24   (addressing respondeat superior liability with respect to a claim under the Ralph Civil Rights Act) .

                    25   I.       Violation of the California Whistleblower Act (Count 8)
                    26            In Count 8, Ms. Gjovik asserts a claim for violation of the California Whistleblower Act.

                    27   California Labor Code § 1102.5 provides in relevant part as follows:

                    28                   (b)     An employer, or any person acting on behalf of the
                                                                            34
                                                                                                              ERVI 161
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                                         employer, shall not retaliate against an employee for [1]
              1                          disclosing information, or because the employer believes that
                                         the employee disclosed or may disclose information, to a
               2                         government or law enforcement agency, to a person with
                                         authority over the employee or another employee who has
              3                          the authority to investigate, discover, or correct the violation
                                         or noncompliance, or for [2] providing information to, or
               4                         testifying before, any public body conducting an
                                         investigation, hearing, or inquiry, if the employee has
              5                          reasonable cause to believe that the information discloses a
                                         violation of state or federal statute, or a violation of or
               6                         noncompliance with a local, state, or federal rule or
                                         regulation, regardless of whether disclosing the information
              7                          is part of the employee's job duties.
               8                  (c)    An employer, or any person acting on behalf of the
                                         employer, shall not retaliate against an employee for refusing
              9                          to participate in an activity that would result in a violation of
                                         state or federal statute, or a violation of or noncompliance
              10                         with a local, state, or federal rule or regulation.
              11   Cal. Lab. Code § 11025. To establish a prima facie violation of § 1102.5, a plaintiff "must show
              12   (1) she engaged in protected activity, (2) her employer subjected her to an adverse employment
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     'S
     062      13   action, and (3) a causal link between the two." St. Myers v. Dignity Health, 44 Cal. App. 5th 301,
     CJ:
     ':54-4
         8    14   314 (2019).
     .2 O
     Q '5     15          In the TAC, Ms. Gjovik makes two main allegations in support of her § 1102.5 claim:
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              16   specifically, that Apple retaliated against her after she complained to various government agencies
      G) G)
     <4 JZ!   17   (e.g., the NLRB, the U.S. Department of Labor, the California Department of Labor, the California
     'E 4-2
        5-1
     D zO     18   DFEH, the EEOC, the EPA, the California EPA, etc.) about (1) the Gobbler application13 and (2)

              19   environmental and safety violations. (Although Ms. Gjovik also refers, in the TAC, to her refusal
              20   to participate in Apple's misconduct, see TAC 91211, that allegation is also related to her

              21   complaints about the Gobbler application and the environmental and safety violations.)

              22          As to the Gobbler application, Apple identifies two alleged deficiencies with the § 1102.5

              23   claim: (1) Ms. Gjovik does not sufficiently identify to whom she made her complaint, and (2) Ms .

              24   Gjovik has not sufficiently identified what state or federal laws Apple allegedly violated. The
              25   second argument is not persuasive. Ms. Gjovik has alleged that the Gobbler application violated
              26

              27
                   13 See TAC 91 106 (alleging that Apple "was illegally harvesting her biometrics through its face
              28   Gobbler app"), TAC 91242 (alleging that the Gobbler app "was taking photos of her while
                   undressed and using the bathroom and engaged in sexual activity").
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                 1    the right to privacy protected by the California Constitution. See TAC 91209. That Ms. Gjovik
                  2   also cites other statutes that may not be on point, see TAC 91209 (referring to California Labor

                 3    Code § 435 (recording employees in a restroom or locker room or room designated for changing)

                  4   and § 1101-02 (prohibiting certain employer conduct related to political activities or affiliations of

                 5    employees), is not dispositive since the § 1102.5 claim could be based on the California

                  6   Constitution. However, Apple's first argument has some merit: based on the language of the
                 7    statute and the fair notice requirements of the Federal Rules of Civil Procedure, Ms. Gjovik should

                  8   provide information about to whom she complained about the Gobbler application. Although Ms.

                 9    Gjovik has referred to various government agencies, it is not clear that she actually complained to

                 10   those agencies about the Gobbler application specifically as opposed to, e.g., environmental and

                 11   safety issues.
                 12             As for the environmental and safety violations, Apple's only contention is that, again, Ms.
     4- .3
     : a         13   Gjovik has failed to adequately identify what state or federal laws it allegedly violated. In the
     062
     CJ:
     '5    C21
     .Q C.)      14   TAC, Ms. Gjovik has referred to CERCLA, OSHA, the Resource Conservation and Recovery Act,
     4-2   4-4
     9O
     Q _2        15   and the Clean Air Act but she has not cited to any specific provisions within those statutes. The
     3 33
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           5     16   Court need not decide whether the failure to cite specific provisions from these statutes deprived
     -is E
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     'E
                 17   Apple of fair notice of the scope of Ms. Gjovik's claim. See Ling La v. San Mateo County Transit
     :) O
           z     18   Dist., No. 14-cv-01768-WHO, 2014 U.S. Dist. LEXIS 131316, at *18 (N.D. Cal. Sept. 16, 2014)

                 19   ("La's allegation that she disclosed conduct in violation of the Davis-Bacon Act, related federal

                 20   statutes, and related regulations is also insufficient. The point of notice pleading is to 'give the
                 21   defendant fair notice of what the claim is and the grounds upon which it rests. ' La's citation to a

                 22   whole statutory framework does not serve this purpose, in particular where La does not use her

                 23   opposition brief to clarify the specific statutes and regulations that were violated."). At the
                 24   hearing, Ms. Gjovik indicated that she had a list of provisions at hand, and, as the Court is already

                 25   giving Ms. Gjovik leave to amend other claims, she may supplement this claim by including the

                 26   specific provisions in the amended pleading.

                 27   J.        Retaliation for Filing Complaints in Violation of California Labor Code § 98.6 (Count 9)
                 28             In Count 9, Ms. Gjovik asserts a claim for violation of California Labor Code § 98.6. The
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              1    statute provides in relevant part as follows:
               2                   A person shall not discharge an employee or in any manner
                                   discriminate, retaliate, or take any adverse action against any
              3                    employee or applicant for employment because the employee or
                                   applicant engaged in any conduct delineated in this chapter
               4                   [covering the Division of Labor Standards Enforcement] including
                                                                                               7

                                   the conduct described in subdivision (k) of Section 96,[4] and
              5                    Cha5pter 5 (commencing with Section llol) of Part 3 of Division
                                   2,11 ] or because the employee or applicant for employment has filed
               6                   a bona fide complaint or claim or instituted or caused to be instituted
                                   any proceeding under or relating to their rights that are under the
              7                    jurisdiction of the Labor Commissioner, made a written or oral
                                   complaint that they are owed unpaid wages, or because the
               8                   employee has initiated any action or notice pursuant to Section
                                   2699, or has testified or is about to testify in a proceeding pursuant
              9                    to that section, or because of the exercise by the employee or
                                   applicant for employment on behalf of themselves or others of any
              10                   rights afforded them.
              11   Cal. Lab. Code § 98.6(a). As with a § 1102.5 claim, a prima facie case for a § 98.6 violation

              12   consists of the following showing: "(l) [the plaintiff] engaged in protected activity, (2) her
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     'S                                                                                                                 79
     062      13   employer subjected her to an adverse employment action, and (3) a causal link between the two.
     CJ:
     ':54-4
         8    14   So. Myers, 44 Cal. App. 5th at 314.
     .2 O
     Q '5     15           In the instant case, Ms. Gjovik's § 98.6 claim is predicated on the protections provided in
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     <4

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     -is E
              16   California Labor Code § 96(k), 232, and 2325.
      G) G)
     <4 JZ!   17                   As noted above, § 96(k) refers to "[c]1aims for loss of wages as the result of
     'E 4-2
        5-1
     D O
          z   18                   demotion, suspension, or discharge from employment for lawful conduct occurring

              19                   during nonworking hours away from the employer's premises." Cal. Lab. Code §
              20                   96(k), see also Grinzi v. San Diego Hospice Corp., 120 Cal. App. 4th 72, 85 (2004)

              21                   (stating that, "[b]y its plain language, .. 98.6, subdivision (a) limits the rights of
              22                   employers to discharge at-will employees for section 96, subdivision (k) conduct").

              23                   Section 232 provides that no employer may, inter alia, "[d]ischarge, formally
              24                   discipline, or otherwise discriminate against an employee who discloses the amount

              25

              26
                   14 California Labor Code § 96(k) refers to "[c]laims for loss of wages as the result of demotion,
              27   suspension, or discharge from employment for lawful conduct occurring during nonworking hours
                   away from the employer's premises." Cal. Lab. Code § 96(k).
              28
                   15 Chapter 5 relates to political affiliations.
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                    1                    of his or her wages." Id. § 232(c).
                     2                   Section 232.5 provides that no employer may, inter alia, "[d]ischarge, formally

                    3                    discipline, or otherwise discriminate against an employee who discloses

                     4                   information about the employer's working conditions." Id. § 232.5(c).
                    5            In the pending motion, Apple does not move to dismiss the § 98.6 claim in its entirety.

                     6   Rather, it takes issue with the claim only to the extent that Ms. Gjovik asserts that she was

                    7    retaliated against for engaging in "lawful conduct asserting 'recognized constitutional rights."'
                     8   TAC 91216 (alleging that "Gjovik engaged in lawful conduct asserting 'recognized constitutional

                    9    rights' and 'rights under the Labor Code' ... during nonworking hours - while she was on leave,
                    10   away from Apple's premises[,] Apple retaliated ... because of some of this protected conduct").
                    11   Apple argues that Ms. Gjovik has failed to allege any specific constitutional rights that were

                    12   violated. Apple adds that, to the extent the constitutional right claimed is the First Amendment or
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     062            13   comparable rights under the California Constitution, Ms. Gjovik cannot claim a violation because
     CJ:
     45    621
     .:*C.)         14   those rights provide protection vis-a-vis a state actor only, and not a private one. See, e.g., Grinzi,
     be
     QE'            15   120 Cal. App. 4th at 85 ("[T]o successfully establish a tortious discharge claim under this
     on
     G)E
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           5        16   provision of section 98.6, Grinzi must allege her discharge occurred because she asserted a
     G)
     .<:   -I-_<3   17   recognized constitutional right.. [But] the First Amendment free speech guarantees at issue are
      Q    5-1
           O
     D
           z        18   only recognized against government interference. Grinzi does not have a recognized constitutional

                    19   right protecting her against private acts implicating her employment under the First Amendment ..
                    20   ..") (emphasis in original), Yu v. Univ. olLa Verne, 196 Cal. App. 4th 779, 790 (2011) ("A
                    21   person's free speech rights under the federal and state constitutions are not infringed unless there

                    22   is state action.").
                    23           Apple's argument above is meritorious, thus, dismissal is justified to the extent Ms. Gjovik

                    24   is claiming lawful conduct involving the assertion of constitutional rights. To be sure, Ms. Gjovik
                    25   now refers, in her opposition brief, to a number of other rights under the California Constitution:

                    26   the right to privacy (art. I, § 1), the right to safety (art. 1, § 1), the right to be free of discrimination
                    27   (art. 1, §§ 8, 31), the right to be free from water pollution (art. X, § 2), and the right to be protected
                    28   as a victim of a crime (art. 1, § 28), some of which do not require state action in the same way as
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              1    the federal Constitution does. See Opp'n at 7. Those allegations, however, are not specified or
               2   otherwise fairly noticed in the TAC, and thus the Court does not consider them at this juncture.

              3    Ms. Gjovik has leave to amend the claim.
               4   K.      Breach of Implied Contract and Breach of the Implied Covenant of Good Faith and Fair
              5            Dealing (Count 12)

               6           In Count 12, Ms. Gjovik asserts both (1) a claim for breach of implied contract and (2) a

              7    claim for breach of the implied covenant of good faith and fair dealing. 16

               8           Regarding breach of implied contract, Ms. Gjovik admits at first that she and Apple

              9    entered into an express employment agreement ("signed [and] written") in 2015. TAC 11234.

              10   However, she then suggests that, at some point, the parties entered into an implied contract -

              11   specifically, she was "no longer an at-will employee and could only be fired by Apple for cause,

              12   as [she] had a reasonable belief, due to Apple's words or conduct, that she would only be

              13   discharged for good cause." TAC 11234, see also TAC 11235 (referring to "an implied contract
        go
       u      14   making her no longer an at-will employee"). Implicitly, Apple breached the implied contract
              15   because it fired her in bad faith, i. e., without good cause.
        v-4
              16           In addition to the above, Ms. Gjovik also seems to suggest that an implied contract was

              17   created because one of her superiors told her that he appreciated her willingness to speak the truth

              18   and that, if she continued to do so, "'good things will continue to follow.' This was a promise to
              19   Gjovik that if she reported unethical and unlawful conduct and held leaders to account, she would

              20   have continued employment at Apple." TAC 91235. Implicitly, Apple breached this implied
              21   contract because it fired her in response to her complaints about unethical and unlawful conduct.

              22           As for breach of the implied covenant of good faith and fair dealing, Ms. Gjovik alleges

              23   that "Apple deliberately undermined [her] ability to fulfill her contractual obligations, frustrating
              24   her ability to benefit from the agreement." TAC 11235. However, Ms. Gj ovik does not seem to

              25

              26
                   16 Ms. Gjovik seems to have shaped this claim based on comments made by Judge Seeborg in a
              27   different case involving Apple. See Banko v. Apple, 20 F. Supp. 3d 749 (N.D. Cal. 2013). Apple
                   has asked the Court to take judicial notice of certain filings in Banko, see Docket No. 61 (RJN) ,
              28   Ms. Gjovik has filed a conditional nonopposition. See Docket No. 65 (Opp'n at 3) (indicating that
                   there is no opposition so long as the Court takes into account additional filings made in Bunko).
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              1    include any other concrete factual allegations to flesh out this contention. The one possible
               2   allegation that might support a claim for breach of the implied covenant is that Apple fired Ms.

              3    Gjovik "shortly after her annual performance review was due, which would be accompanied by a

               4   performance bonus that she had already earned." TAC 11237.
              5           Apple moves to dismiss the claim for breach of contract on the basis that Ms. Gjovik has

               6   failed to allege any breach. In support, it provides a copy of the offer letter that Apple gave to Ms.
              7    Gjovik. Apple asks the Court to take judicial notice of the document. See RJN, Ex. B (offer
               8   letter). The Court does not take judicial notice of the offer letter given that Ms. Gjovik appears to

              9    challenge its authenticity. Admittedly, Ms. Gjovik may not be objecting in good faith here. For
              10   example, she asks who Ashley Henderson is (the name of the person on the offer letter), but

              11   presumably that was Ms. Gjovil<'s prior name.
              12          Even if the Court were to take judicial notice of the offer letter, however, that still would

              13   not favor Apple. The offer letter does state that "[y]our employment relationship with Apple will
        go
       u      14   be at will" and that, "[b]y signing this letter you agree that these are the only terms and conditions

              15   of your employment and acknowledge that you have not relied upon any other promises or
        W
       -v-4
       Q      16   representations, except those made in this letter." RJN, Ex. B (Offer Letter at 2). However, Ms.
              17   Gjovik alleges in the TAC that, after the offer letter, Apple made representations to her that
              18   created a new contract - an implied contract that she could only be terminated for cause.

              19   Similarly, Ms. Gjovik alleges that, after the offer letter, Apple represented that she would have
              20   continued employment if she continued to "tell the truth." of. Gun v. Bechtel Nat'I, Inc., 24 Cal.
              21   4th 317, 352 (2000) (noting that an "employer's personnel policies and practices may become

              22   implied-in-fact terms of the contract between employer and employee[,] [i]f that has occurred, the
              23   employer's failure to follow such policies when terminating an employee is a breach of the

              24   contract itself') (emphasis in original).

              25          That being said, there is a more fundamental problem with the claim for breach of implied

              26   contract: Ms. Gjovik does not identify what words or conduct Apple engaged in that gave rise to a

              27   reasonable belief that she could only be terminated for cause. Getting good performance reviews,
              28   bonuses, and promotions by themselves is not enough, otherwise, employers would never engage
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              1    in that conduct for fear of converting at-will employment to employment that can be terminated
               2   only for cause. See TAC 91234, see also Foley v. Interactive Data Corp., 47 Cal. 3d 654, 680
              3    (1988) (stating that, "[i]n the employment context, factors apart from consideration and express

               4   terms may be used to ascertain the existence and content of an employment agreement, including

              5    'the personnel policies or practices of the employer, the employee's longevity of service, actions or

               6   communications by the employer reflecting assurances of continued employment, and the

              7    practices of the industry in which the employee is engaged"'). To the extent Ms. Gjovik is relying
               8   on the statement from her superior that good things would happen if she continued to tell the truth,

              9    that is too vague a statement to constitute a promise. Compare Banko, 20 F. Supp. 3d at 759
              10   (holding that plaintiff had adequately alleged that "his employment agreement evolved to where

              11   he could only be fired for cause" - e.g., "Banko avers repeated oral assurances of job security and
              12   consistent promotions, salary increases and bonuses during the term of his employment that

              13   contributed to his reasonable expectation of discharge only for good cause") (emphasis added).
       <3     14          As for the claim for breach of the implied covenant, Apple argues that it is duplicative of

              15   the claim for breach of contract itself. But here, Apple does not seem to have taken into account
        W
       -v-4
       Q      16   the suggestion in the TAC (albeit, not a clear one) that Apple timed her firing her to deprive her of

              17   a performance bonus. See Gas, 24 Cal. 4th at 353 n.l8 (stating that "the covenant prevents a party
              18   from acting in bad faith to frustrate the contract's actual benefits" - e.g., "the covenant might be
              19   violated if termination of an at-will employee was a mere pretext to cheat the worker out of

              20   another contract benefit to which the employee was clearly entitled, such as compensation already

              21   earned") (emphasis in original).

              22          Accordingly, the Court dismisses the claim for breach of implied contract but allows the

              23   claim for breach of the implied covenant to proceed. The Court shall allow Ms. Gjovik to amend
              24   her claim for breach of implied contract but only if she can do so in good faith, consistent with her

              25   Rule 11 obligations.
              26   L.     Intentional Infliction of Emotional Distress (Count 13)
              27          In Count 13, Ms. Gjovik asserts a claim for intentional infliction of emotional distress

              28   ("HED").
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                    1                   A cause of action for intentional infliction of emotional distress
                                        exists when there is (1) extreme and outrageous conduct by the
                     2                  defendant with the intention of causing, or reckless disregard of the
                                        probability of causing, emotional distress, (2) the plaintiffs suffering
                    3                   severe or extreme emotional distress, and (3) actual and proximate
                                        causation of the emotional distress by the defendant's outrageous
                     4                  conduct. A defendant's conduct is "outrageous" when it is so
                                        extreme as to exceed all bounds of that usually tolerated in a
                    5                   civilized community. And the defendant's conduct must be intended
                                        to inflict injury or engaged in with the realization that injury will
                     6                  result.
                    7    Hughes v. Pair, 46 Cal. 4th 1035, 1050-51 (2009) (internal quotation marks omitted).17

                     8          The IIED claim is somewhat confusing. Ms. Gjovik starts out with a prefatory allegation
                    9    that Apple
                    10                  bugged [her] objects and home, sent her possessions to her in a box
                                        with broken glass and threatened it could contain a severed head, ...
                    11                  repeatedly threatened to "ruin" and "destroy" her, and even sent her
                                        emails pretending to be government employees threatening her to
                    12                  stop speaking about Apple's chemical leaks.
       .9
     'S E
     062            13   TAC ii 238 (emphasis omitted). However, she then does not seem to predicate her IIED claim on
     CJ:
     45    621
     .:*C.)         14   those allegations but rather spends the bulk of the claim talking about (1) her termination and
     be
     QE'            15   other employment-related retaliation, (2) the Gobbler application, (3) Apple's environmental
     on
     G)E
     3 "

     <71
           5        16   pollution, and (4) a retaliatory lawsuit which appears to have filed by Ms. Scarlett, not Apple. Her
     G)
     .<:   -I-_<3   17   opposition is consistent with this approach. The Court, accordingly, follows suit.
      Q    5-1
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     D
           z        18          As a result, much of the IIED claim (although not all) is problematic. For example, on (1),

                    19   Apple correctly argues that a termination or retaliation by itself is not enough to establish

                    20   outrageous conduct. California courts have held "[m]anaging personnel is not outrageous conduct

                    21   beyond the bounds of human decency, [and] [a] simple pleading of personnel management activity

                    22   is insufficient to support a claim of intentional infliction of emotional distress, even if improper

                    23   motivation is alleged." Janken v. GM Hughes Elecs., 46 Cal. App. 4th 55, 80 (1996), see also

                    24   Light v. Dep 't of Parks & Rec., 14 Cal. App. 5th 75, 101 (2017) (stating that "[a] retaliatory

                    25   motive alone is insufficient to sustain a claim for [IIED]"), Garcia v. W. Coast Dental Servs., No.

                    26

                    27
                         17 Ms. Gjovik indicates that her claim is based on not only California but also New York and
                    28   Massachusetts law. Because no party has argued that the law at issue matters, the Court focuses
                         on California law only.
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                   1    22SMCV00228, 2023 Cal. Super. LEXIS 51588, at *16 (L.A. Cty. Super. Ct. Aug. 2, 2023)

                    2   (noting that, "[i]n the employment context, a pleading of personnel management activity is

                   3    insufficient to support a claim of IIED, even if improper motivation, such as retaliation, is

                    4   alleged"). While IIED claims may be asserted where there is, e.g., race- or sex-based

                   5    discrimination, Ms. Gjovik has not alleged such discrimination in support of the IIED claim. See
                    6   Light, 14 Cal. App. 5th at lol (stating that plaintiff "may pursue a claim for [IIED] in the

                   7    employment context where the conduct at issue violates FEHA and also satisfies the elements of

                    8   the claim").
                   9            Apple also correctly as serfs that a common law claim based upon mere termination or

                   10   retaliation would be barred by workers' compensation exclusivity. This includes allegations of
                   11   whistleblower retaliation. See id. at 99 (noting that, even though it might seem that whistleblower

            cos    12   retaliation is not a risk inherent in the employment relationship, California courts have rejected the
      'S
     062           13   argument), see also Miklosy v. Regents of Univ. of Cal., 44 Cal. 4th 876, 903 (2008).
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                   14           As for (2) (pertaining to the Gobbler application), there is a statute-of-limitations problem.
     9O
     Q O           15   There is a two-year limitations period for IIED claims. See Cal. Code Civ. Proc. § 335.1
     on <4
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            5      16   (providing for a two-year limitations period for "[a]n action for assault, battery, or injury to, or for
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     G) G)
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        4-2
                   17   the death of, an individual caused by the wrongful act or neglect of another"). The TAC indicates
      Q      5-1
     D       O
            z      18   that Ms. Gjovik began complaining about the Gobbler application in August 2021, see TAC 919180-

                   19   81 - more than two years before she filed her original complaint in September 2023 .

                   20           As for (3) (relating to environmental pollution), there is a partial time bar. As discussed

                   21   above, Ms. Gjovik made complaints about the safety of Stewart l back in March 2021 (i. e., more

                   22   than two years before the original complaint was filed). See TAC 915 l (alleging that Ms. Gjovik

                   23   told Apple in March 2021 (i.e., well before September 2021) that she was concerned about the

                   24   safety of the Superfund site and that she believed "her fainting spell in 2019 in her office was due

                   25   to vapor intrusion"). Ms. Gjovik could still have a claim based on the Aria factory, at least, Apple
                   26   has not made a statute-of-limitations argument.
                   27          Finally, on (4) (retaliatory suit brought by Ms. Scarlett), it appears that the alleged

                   28   retaliatory lawsuit took place after Ms. Scarlett was no longer an Apple employee. See TAC 91 137
                                                                           43
                                                                                                            ERVI 170
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                       Case s'933%'v?843999Et&R€0962o'2?u5m9n'&tl§3"$a|'e7d11838/34J488444 of 49




                1    (alleging that Ms. Scarlett "supposedly quit Apple in late 2021"), TAC 91247 (alleging that the
                 2   "retaliatory litigation" was "filed in 2022"), see also SAC 91879 (alleging that "Appleseed, as an

                3    agent of Apple, filed retaliatory litigation against Gjovik in a Washington state court (including

                 4   evidence and testimony of the bogus FBI complaint, and testimony she also reported Gjovik to

                5    law enforcement)").18 That being the case, Ms. Gjovik cannot argue respondeat superior as a basis

                 6   to hold Apple liable. And the TAC does not contain any concrete allegations indicating that, post-

                7    employment, Ms. Scarlett was part of some kind of conspiracy with Apple.
                 8          Accordingly, the only partial claim for IIED that survives is based on Apple's conduct at
                9    the Aria factory (not time barred). The Court gives Ms. Gjovik leave to amend if she can do so in

                10   good faith.
                11   M.     Negligent Infliction of Emotional Distress (Count 14)

          cos   12          In Count 14, Ms. Gjovik asserts a claim for negligent infliction of emotional distress
     'S
                13   ("NIED"). Under California law, a claim for NIED is simply a claim for negligence, it is not an
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                14   independent tort. See Christensen v. Superior Cr., 54 Cal. 3d 868, 884 (1991). Thus, a claim for
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                15   NIED consists of the traditional negligence elements: duty, breach of duty, causation, and
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     U)   5     16   damages. See 8elen v. Ryan Seacrest Prods., LLC, 65 Cal. App. 5th 1145, 1165 (2021).
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     3 E G)
     -»-4 3     17          Here, Ms. Gjovik's NIED claim is predicated on the same facts asserted in support of the
      Q 5-1
     D zO       18   IIED claim. See TAC 11252 ("The plaintiff incorporates and restates the 13th Cause of Action for

                19   IIED [in the claim for NIED]."). Thus, it is not surprising that Apple has made one of the same

                20   challenges to the NIED claim that it made for the IIED claim i. e., that the claim is preempted by
                21   workers' compensation exclusivity.

                22          Apple also raises the contention that it cannot be held liable for a NIED claim because it

                23   had no duty to Ms. Gjovik. See Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 985 (1993)

                24   (noting that a "duty may be imposed by law, be assumed by the defendant, or exist by virtue of a

                25   special relationship", adding that, if the duty is assumed by the defendant, then the defendant must

                26

                27
                     18 Although Ms. Gjovik suggests that the Court should not consider the SAC because it has been
                28   superseded by the TAC, it is fair to consider allegations to the extent they provide context on the
                     TAC.
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                                                                                                       ERVI 171
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                        Case s'933%'v?843999Et&R€0962o'2?u5m9n'&tl§3"$a|'e7d11838/34J88% of 49




                 1    have "assumed a duty to plaintiff in which the emotional condition of the plaintiff is an object").

                  2   Apple argues, for instance, that it did not assume a duty to Ms. Gjovik in which her emotional

                 3    condition was an object. Ms. Gjovik does not clearly respond to this argument in her papers, and

                  4   thus the Court dismisses the NIED claim in its entirety. The Court shall give Ms. Gjovik leave to
                 5    amend, in amending, she must include nonconclusory, factual, and plausible allegations as to duty.
                  6   She must also bear in mind the Court's ruling above on workers' compensation exclusivity.
                 7    n.      Violation of California Business & Professions Code § 17200 (Count 15)

                  8           Finally, in Count 15, Ms. Gjovik asserts a claim for violation of California Business &

                 9    Professions Code § 17200. The claim seems to be based on three factual predicates: (1) Apple's

                 10   coercing employees to provide personal data for Apple's commercial use, such as with the

                 11   Gobbler application, see TAC 91255 (alleging that no consent was obtained or compensation

           cos   12   provided), (2) Apple's coercing employees to be a part of invasive studies, see TAC 91258, and (3)
      'S
       062       13   Apple's establishment of a health care clinic, called AC Wellness, which it then used improperly.
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                 14   See TAC 91259. (To be frank, the Court does not understand the allegations made with respect to
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     U)    5     16           Apple moves to dismiss the § 17200 claim on the basis that Ms. Gjovik lacks standing -
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     G)    G)
     -»-4 3      17   i.e., she has failed to allege that she lest money to Apple which Apple should be forced to
      Q    5-1
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           z     18   disgorge. See Cal. Bus. & Prof. Code § 17203 (providing that a "court may make such orders or

                 19   judgments ... as may be necessary to restore to any person in interest any money or property, real
                 20   or personal, which may have been acquired by means of such unfair competition"), see also

                 21   Shersher v. Superior Court, 154 Cal. App. 4th 1491, 1497-98 (2007) (noting that the California
                 22   Supreme Court has "held that the only remedy expressly authorized by section 17203 was

                 23   restitution to individuals who had an ownership interest in money paid to the defendants, there

                 24   was nothing, either in the express language of the statute or in its legislative history, to indicate

                 25   that the legislature intended to authorize a court to 'order a defendant to disgorge all profits to a

                 26   plaintiff who does not have an ownership interest in those profits"'). As an initial matter, the
                 27   Court bears in mind that Ms. Gjovik seeks not only disgorgement as a remedy but also injunctive

                 28   relief. See TAC 91260. Apple does not explain why she would not have standing to pursue
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                                                                                                          ERVI 172
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                     Case s'933%'v?843999Et&R€0962o'2?u5m9n'&tl§3"$a|'e7d11838/34J7             4% of 49




              1    injunctive relief. However, Apple otherwise makes a fair point on monetary relief, i. e., that Ms.

               2   Gjovik has not clearly alleged how she lost any money or property as a result of Apple's actions.

              3           The Court therefore grants in part and deny in part the motion to dismiss: Ms. Gjovik has

               4   standing to pursue injunctive relief but not monetary relief (based on the allegations in the TAC).

              5    The Court gives Ms. Gjovik leave to amend. If Ms. Gjovik chooses to amend, she should clarify

               6   her claim based on AC Wellness.

              7                                     III.         MOTION TO STRIKE

               8           In addition to a l2(b)(6) motion, Apple has filed a motion to strike pursuant to Federal
              9    Rules of Civil Procedure l2(f). Under Rule l2(f), a "court may strike from a pleading an
              10   insufficient defense or any redundant, immaterial, impertinent, or scandalous matter." Fed. R.
              11   Civ. P. l2(f). Apple moves to strike:
              12               (1) allegations that do not relate to the 15 claims asserted by Ms. Gjovik in the TAC ,

              13                   and
       <3     14               (2) allegations that relate to the claims that Apple is moving to dismiss (assuming that

              15                   the Court dismisses those claims).
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              16           The motion to strike based on (2) is essentially moot. As the Court is giving Ms. Gjovik to
              17   leave to amend on most claims (although not all), she will file a new pleading that supersedes the
       Z'     18   TAC.
              19           As for (1), Apple has identified about 20 paragraphs that it believes has no relevance to

              20   any of the 15 claims Ms. Gjovik has asserted. Although Apple's position is not without any merit,
              21   it is essentially premature. At this early juncture, it is hard to say that the allegations in those
              22   paragraphs are entirely irrelevant. Apple makes a fair point that the case should be streamlined to

              23   focus on the claims that really are potentially viable, however, if Apple is worried about far-

              24   reaching discovery, that can be addressed through meet and confers and (if necessary) motion

              25   practice. The Court forewarns both parties that it expects discovery to be conducted in good faith.

              26                                           Iv.     CONCLUSION

              27           For the foregoing reasons, the Court rules as follows :

              28               • Violation of RICO (Count l). The § l962(a) claim is dismissed with prejudice.
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                                                                                                        ERVI 173
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                        Case s'933%'v?843999Et&R€0962o'2?u5m9n'&tl§3"$a|'e7d11838/34J7488.348 of 49




                   1               The § l962(c) claim is dismissed with leave to amend. The § l962(d) claim is
                    2              dismissed with prejudice to the extent it is based on a § l962(a) theory. The §
                   3                l962(d) claim is dismissed with leave to amend to the extent it is based on a §

                    4               l962(c) theory.
                   5               Violation of SOX (Count 2). The claim is dismissed with prejudice.
                    6              Violation of the Dodd-Frank Act (Count 3). The claim is dismissed with prejudice.
                   7               Private Nuisance and Nuisance Per Se (Count 4). The claims based on Stewart l
                    8              are dismissed with prejudice. The per se claim based on the Aria factory is also
                   9               dismissed but with leave to amend. The "regular" claim based on the Aria factory
                   10              is not dismissed as Apple did not challenge it.
                   11           • Ultrahazardous Activities (Count 5). The claim related to the Aria factory is
            cos    12              dismissed but only in part. The claim related to Stewart l is dismissed - and with
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     062           13              prejudice because of the time bar.
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                   14              Violation of the Bane Civil Rights Act (Count 6). The claim is dismissed with
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     Q O           15              leave to amend.
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                                • Violation of the Ralph Civil Rights Act (Count 7). The claim is dismissed with
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                   17              leave to amend.
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     D       O
            z      18              Violation of the California Whistleblower Act (Count 8). The claim is dismissed
                   19              with leave to amend, and/or Ms. Gjovik may supplement the allegations in support

                   20              of the claim.

                   21              Retaliation for Filing Complaints in Violation of California Labor Code § 98.6

                   22              (Count 9). The claim is dismissed with leave to amend.
                   23              Breach of implied contract and breach of the implied covenant of good faith and

                   24              fair dealing (Count 12). The claim for breach of implied contract is dismissed with
                   25              leave to amend. The claim for breach of the implied covenant is allowed to
                   26              proceed.

                   27              Intentional infliction of emotional distress (Count 13). The claim is dismissed with
                   28              leave to amend. The only partial claim for IIED that survives at this juncture is
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                                                                                                     ERVI 174
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              1                   based on Apple's conduct at the Aria factory (not time barred).
               2                   Negligent infliction of emotional distress (Count 14). The claims is dismissed with

              3                    leave to amend.
               4                   Violation of California Business & Professions Code § 17200 (Count 15). The

              5                   claim is dismissed with leave to amend. Ms. Gjovik has standing to seek injunctive
               6                  relief but she has not alleged how she has standing for monetary relief.
              7            As for the motion to strike, the Court denies it but without prejudice.

               8           Ms. Gjovik shall file an amended complaint (again, within the page limits previously set

              9    by the Court) by June 17, 2024. Apple shall then file a response (whether an answer or another

              10   motion to dismiss) by July 15, 2024.

              11           Although the Court is giving Ms. Gjovik leave to amend on the bulk of the dismissed

              12   claims, it suggests that she use some discretion in deciding which claims to amend (as the Court is

              13   not requiring her to amend). As the Court indicated at the hearing, some claims can probably be
        go
       u      14   amended such that they would survive a l2(b)(6) challenge (assuming, as likely, that Apple
              15   responds to an amended pleading with another motion to dismiss). These claims are largely
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       Q      16   predicated on the theory that Apple retaliated against Ms. Gjovik for complaining about safety.

              17   On the other hand, there are also some claims that the Court views with skepticism. For these

              18   claims, the Court is not able to say at this juncture that they are futile, however, their viability

              19   appears problematic. It also is not clear that Ms. Gjovik needs them in her suit, Ms. Gjovik
              20   conceded as much by stating at the hearing that she does not intend to litigate all of her claims to a

              21   jury, should the case reach that stage). There are questions as to what these claims really add to

              22   her suit.
              23           At the hearing, Ms. Gjovik indicated that she was including these claims to ensure her

              24   ability to get broad discovery. But Apple is not contesting (at this point at least) two of her claims

              25   (Counts 10 and II), and these are two of her primary claims, thus, Ms. Gjovik's discovery
              26   concern seems to be unfounded or at least overstated. Furthermore, it is more than likely that, if

              27   Ms. Gjovik were to replead, e.g., her § 1962(c) claim or Bane and Ralph civil rights claims, Apple

              28   would respond with another motion to dismiss, which, in the long run, means that resolution on
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                                                                                                        ERVI 175
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              1    her primary claims would be delayed. Although Ms. Gjovik is free to litigate her case as she
               2   chooses (so long as she does so in good faith and in compliance with her Rule II obligations), it is

              3    not clear that, as a practical matter, the benefit, if any, is worth the burden (e.g., pleading a § 1962

               4   claim is not an easy task given, e.g., the multiple elements needed for a viable claim) .

              5           The Court sets an initial case management conference ("CMC") for July 16, 2024, at 1:30

               6   p.m. The parties shall file a joint CMC statement one week in advance.
              7           This order disposes of Docket Nos. 48, 49, and 64.

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              9           IT IS S0 ORDERED.
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              11   Dated: May 20, 2024

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              14                                                      United States District Judge
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               4                                   UNITED STATES DISTRICT COURT
              5                                   NORTHERN DISTRICT OF CALIFORNIA
               6

              7      ASHLEY M GJOVIK,                                    Case No. 23-cv-04597-EMC
               8                     Plaintiff,
                                                                         ORDER DENYING PLAINTIFF'S
              9               v.                                         MOTION FOR JUDICIAL NOTICE;
                                                                         AND DISMISSING PLAINTIFF'S
              10     APPLE INC.,                                         SECOND AMENDED COMPLAINT
              11                    Defendant.
                                                                         Docket Nos. 35, 37
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     5 .6     15          Currently pending before the Court is Plaintiff's motion for judicial notice. Having
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     m        16   considered the parties' papers, the Court finds this matter suitable for resolution without oral
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              17   argument. The motion for judicial notice is hereby DENIED without prejudice as moot.
    ET
    :) zO     18          At the time Plaintiff submitted her request for judicial notice, there was a pending motion

              19   to dismiss Plaintiff's first amended complaint ("FAC"). Plaintiff had filed an opposition to the

              20   motion but had also filed a second amended complaint ("SAC"). When Plaintiff filed her request

              21   for judicial notice, she stated that she was submitting it both (l) in support of her opposition to

              22   Defendant's motion to dismiss the FAC and (2) in support of her SAC .

              23          Because Plaintiff had filed a SAC, Defendant withdrew its motion to dismiss the FAC .

              24   This rendered the reason in (l) above moot. As for (2), Plaintiff did not need the mechanism of a

              25   request for judicial notice to support her SAC. She could have simply attached the exhibits at

              26   issue to her SAC. Moreover, once Defendant filed a motion to dismiss the SAC (as it now has

              27   done), she could have submitted a new request for judicial notice in support of her opposition to

              28   that motion. Accordingly, the Court denies the motion for judicial notice as moot .

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                     Case %%'¢%%3939L8M89'9o%%8§8FHW'8%3 =0Ei?§<92Z919338 of 4




             1            This leads the Court to Plaintiff's operative pleading, the SAC. This is the third pleading
              2   filed by Plaintiff.
             3                •   Her original complaint was more than 150 pages, contained 440 paragraphs, and

              4                   asserted ten causes of action.

             5                •   Her FAC was more than 330 pages, contained 1,121 paragraphs, and asserted

              6                   twelve causes of action.
             7                •   The operative SAC is more than 650 pages, contains 1,620 paragraphs, and asserts

              8                   twelve causes of action.

             9            Defendant has filed a motion to dismiss and a motion to strike with respect to the SAC.
             10   The Court does not adjudicate those motions because it sea sponte DISMISSES the SAC for
             11   failure to comply with Federal Rule of Civil Procedure 8. See In re Merrill Lynch & Co., Inc.

             12   Research Rpts. Sec. Litig., 218 F.R.D. 76, 77-78 (S.D.N.Y. 2003) (dismissing 98-page complaint
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    o        13   consisting of 367 paragraphs, noting that, "[w]hen a complaint is not short and plain, or its
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    .Qu           averments are not concise and direct, 'the district court has the power, on motion or sea sponte, to
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    5 .6     15   dismiss the complaint"') (quoting Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995)).
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    m        16           Rule 8(a) provides that "[a] pleading that states a claim for relief must contain: ... (2) a
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             17   short and plain statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ.
    ET
    :) zO    18   8(a)(2). Rule 8(d) provides that "[e]ach allegation must be simple, concise, and direct." Fed. R.
             19   Civ. P. 8(d)(l). "'Taken together, [these rules] underscore the emphasis placed on clarity and
             20   brevity by the federal pleading rules." In re Westinghouse Sec. Litig., 90 F.3d 696, 702 (3d Cir.
             21   1996). A complaint must "'be presented with clarity sufficient to avoid requiring a district court
             22   or opposing party to forever sift through its pages in search' of the nature of the plaintiff's claim."
             23   Glover v. FDIC, 698 F.3d 139, 147 (3d Cir. 2012) (quoting Jennings v. Emmy, 910 F.2d 1434,
             24   1436 (7th Cir. 1990)), see also United States ex Rel. Garst v. Lockheed-Martin Corp., 328 F.3d
             25   374, 378 (7th Cir. 2003) ("Rule 8(a) requires parties to make their pleadings straightforward, so
             26   that judges and adverse parties need not try to fish a gold coin from a bucket of mud. Federal
             27   judges have better things to do, and the substantial subsidy of litigation (court costs do not begin
             28   to cover the expense of the judiciary) should be targeted on those litigants who take the
                                                                     2                               ERVI 179
(180 of 182), Page 180 of 182
                      Case %%'¢%%3939L8M89'9o%%8§8FHW'8%3 =0'3?§&3§093913% of 4




              1    preliminary steps to assemble a comprehensible claim.").
               2          Plaintiff's SAC violates Rule 8. It is, as noted above, more than 650 pages and contains
              3    1,620 paragraphs. Moreover, if the Court were to deem the exhibits attached to Plaintiff's request
               4   for judicial notice as exhibits to the SAC, that would add another 1,500 pages (approximately) to

              5    her pleading. "While a complaint's excessive length alone is not determinative for a Rule 8(a)
               6   dismissal, its excessive length compounded by a lack of clarity should deem it unacceptable."
              7    Parker v. Learn the Skills Corp., No. 03-6936, 2004 U.S. Dist. LEXIS 21499, at *4-5 (E.D. Pa.

               8   Oct. 25, 2004). Here, Plaintiff delves into minute detail about her relationship with Defendant
              9    starting in 2015 (for some 300 pages). She then goes into each of her twelve claims, sometimes
              10   assuming knowledge of the 300 pages of background and other times providing even more detail.
              11   The pleading, as a result, is difficult to follow - one cannot see the forest through the trees. Cf

         .9   12   Jacob v. Trump, No. 21-cv-00261-JD, 2021 U.S. Dist. LEXIS 6894, *2-3 (N.D. Cal. Jan. 13,
     EE
     o        13   2021) (stating that "[t]he massive length of the complaint exponentially compounds its lack of
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    .Qu            clarity and readability"). The Court acknowledges that Defendant was able to craft a response to
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     5 .6     15   Plaintiff's SAC in spite of its density, but presumably, that is because has engaged with Plaintiff
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     m        16   over many years. The Court is not in the same position and thus does not have the same
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              17   advantage.
    ET
    :) zO     18          Although the Court is dismissing the SAC, it gives Plaintiff an opportunity to file a third
              19   amended complaint ("TAC"), one that complies with Rule 8. The Court recognizes that Plaintiff
              20   has a long history with Defendant and that some of her claims are complex (e.g., RICO).
              21   Nevertheless, this is not the kind of case that warrants a complaint hundreds of pages in length.

              22   Moreover, Plaintiff is not expected to try the entirety of her case in the complaint. The Court
              23   notes that even her original complaint - which was more than 150 pages and contained 440
              24   paragraphs - failed to comply with Rule 8. Accordingly, any amended complaint that Plaintiff
              25   files shall be no longer than 75 pages in length. Plaintiff also cannot use exhibits attached to the
              26   amended complaint as a means to bypass this page limit. The Court notes that Plaintiff appears to
              27   have a J.D. See SAC 91 12. That being the case, the Court is confident that Plaintiff can draft a
              28   complaint that contains the necessary details but that does not go into every nuance and aspect of
                                                                     3                               ERVI 180
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                     Case %%'¢%%3939L8M89'9o%%8§8FHW'8%3 ,0q?§g3p 83383\ of 4




             1    her case.

              2          For the reasons stated above, the Court (1) denies Plaintiff's motion for judicial notice and

             3    (2) dismisses her SAC but with leave to amend. Because the Court is dismissing the SAC,
              4   Defendant's motion to dismiss and motion to strike, see Docket Nos. 41-42 (motions), are denied

             5    as moot.

              6          Plaintiff has until February 27, 2024, to file her TAC. Defendant shall then have until
             7    March 26, 2024, to file a response, whether an answer or a motion(s).

              8          This order disposes of Docket Nos. 35, 37, 41, and 42.

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             10          IT IS S0 ORDERED .
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        .9   12   Dated: January 30, 2024
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                           Case: 25-2028, 05/09/2025, DktEntry: 17.1, Page 182 of 182




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